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    1                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
    2                             EASTERN DIVISION
    3   UNITED STATES OF AMERICA,                   )
                                                    )    Docket No. 19 CR 864
    4                         Plaintiff,            )
                                                    )    Chicago, Illinois
    5         v.                                    )    February 6, 2023
                                                    )    8:39 a.m.
    6   RISHI SHAH, SHRADHA AGARWAL,                )
        BRAD PURDY,                                 )
    7                                               )
                              Defendants.           )
    8
    9               TRANSCRIPT OF PROCEEDINGS - TRIAL VOLUME 5A
                 BEFORE THE HONORABLE THOMAS M. DURKIN, and a Jury
  10
  11    APPEARANCES:
  12
        For the Government:         MR. MATTHEW F. MADDEN
  13                                MR. SAURISH APPLEBY-BHATTACHARJEE
                                    Assistant U.S. Attorneys
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  15
  16                                MR. WILLIAM E. JOHNSTON
                                    MR. KYLE C. HANKEY
  17                                U.S. Department of Justice
                                    Criminal Division, Fraud Section
  18                                Washington, D.C. 20530
  19
  20
  21
  22                               ELIA E. CARRIÓN
                               Official Court Reporter
  23                        United States District Court
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    1   APPEARANCES (Continued:)
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        For Defendant
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  17    For Defendant
        Purdy:                      MR. THEODORE T. POULOS
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    1               THE COURT: Okay. One of our jurors, Juror No. 1,
    2   has indicated in a voicemail to Emily that he is ill, but
    3   possibly he could come in, but he wouldn't be here until about
    4   11:15. The parties have agreed that if he is well enough to
    5   come in, rather than lose him this early in the case, he would
    6   sit in the overflow courtroom to prevent whatever he has from
    7   spreading to someone else, where he could observe documents
    8   and the arguments.
    9               We're checking with him to see if, in fact, he's well
  10    enough to come in.
  11                The government agrees to that procedure if he is well
  12    enough to come in? We wouldn't start until about 11:15 when
  13    he came in.
  14                MR. MADDEN: Yes, Your Honor, as long as the defense
  15    all waive the right to challenge him participating remotely.
  16                THE COURT: Right. Let's hear first from defense
  17    counsel.
  18                Defendant Shah?
  19                MR. HUESTON: We agree, Your Honor.
  20                THE COURT: And Mr. Shah, I need to hear from him.
  21                MR. SHAH: I agree, Your Honor.
  22                THE COURT: Okay. For Ms. Agarwal?
  23                MS. BELL: We agree, Judge.
  24                THE COURT: And herself?
  25                MS. AGARWAL: Yes, Your Honor.
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    1               THE COURT: Okay.
    2               MR. POULOS: Team Purdy agrees as well.
    3               MR. PURDY: We agree.
    4               THE COURT: Okay. All right. All defendants
    5   individually have agreed through counsel and, by themselves,
    6   they've agreed. And we'll see what we can find out from our
    7   juror.
    8               In the meantime, I received a list of documents from
    9   the government which includes --
  10                And are these expected to be used for your next
  11    witness?
  12                MR. APPLEBY-BHATTACHARJEE: After Mr. Ketchum, yes,
  13    some of these documents are going to be used with the next
  14    three witnesses.
  15                THE COURT: Okay. There's a large number of
  16    exhibits, government exhibits, under 801(d)(2)(E) for
  17    admissibility which, other than the standing objection which
  18    is noted for all of them, they'll all be admitted.
  19           (Said exhibits admitted in evidence.)
  20                THE COURT: There's other exhibits called undisputed,
  21    and I take it --
  22                Is there any basis for objection to those? Or it's
  23    undisputed they come in?
  24                MR. APPLEBY-BHATTACHARJEE: We -- we had identified
  25    the proffered use for those exhibits. They are alternatively
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    1   offered for nonhearsay purposes. A number of them are
    2   business records. And based on the government's proffered
    3   use, there were no objections by the defense group to all the
    4   exhibits listed there.
    5               The only two exhibits -- there's one (d)(2)(E)
    6   exhibit that is disputed, and one other exhibit that is
    7   disputed which we're prepared to argue if the Court wishes to
    8   take further argument.
    9               THE COURT: Well, the (d)(2)(E) exhibit objection I
  10    believe was the -- let's go off the record.
  11           (Off-the-record discussion.)
  12                THE COURT: Back on the record.
  13                Everyone agreed that Emily can call the juror to see
  14    how he is doing and whether he would agree to come in to sit
  15    in the overflow courtroom.
  16                Okay. As to the two exhibits that were not agreed
  17    to, subject to the overall objection, the standing objection,
  18    one was a document from RJ Palmer. It's Government
  19    Exhibit 1093. And the objection as stated in the emails was
  20    it predates the -- the date when the defense agrees that
  21    the -- or believes that the conspiracy existed or that the
  22    joint venture existed.
  23                This is a document dated February of -- February 7,
  24    2014, I believe. Is that correct?
  25                MR. APPLEBY-BHATTACHARJEE: Your Honor, the date is
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    1   on the face of the invoice.
    2               THE COURT: Right.
    3               MS. CHOU: Your Honor, could I --
    4               THE COURT: Go ahead.
    5               MS. CHOU: So this falls into -- this is related to
    6   our standing objection and related to our trial brief. But
    7   because it was not categorized as a coconspirator statement,
    8   it wasn't captured in our standing objections because it is a
    9   separate business record. And so that's the reason why we
  10    lodged an objection. There isn't anything more than that to
  11    address.
  12                THE COURT: All right. Well, it's a business record.
  13    On the face of it, it appears to be a business record. I
  14    thought the objection was that it's early in the scheme, the
  15    alleged scheme --
  16           (Indiscernible crosstalk.)
  17                THE COURT: -- and you've lodged a standing objection
  18    to the -- your contention that the -- that scheme -- it's
  19    really two schemes in this case. I've overruled that in an
  20    oral ruling I gave at the final pretrial conference.
  21                And for the reasons given at the final pretrial
  22    conference, I find this to be within the overall scheme
  23    charged by the government, which started no earlier -- or at
  24    least as early as 2011, I believe. And this document falls
  25    well within that, so it'll be admitted over your objection.
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    1               MS. CHOU: Thank you, Your Honor.
    2               THE COURT: The other document was Defense
    3   Exhibit 3456, which the -- is a -- looks like an email or some
    4   type of a communication between David Ma and Brad Purdy.
    5               I'm not -- what's the nature of the communication?
    6   It looks like an email on the top, but it's more
    7   conversational in the body of it.
    8               MR. JOHNSTON: It's a chat. It's a record of a chat
    9   on Outcome's computer systems.
  10                THE COURT: Okay.
  11                MR. POULOS: Your Honor?
  12                THE COURT: Yeah?
  13                MR. POULOS: The nature of that objection is this:
  14    Prior to the pretrial conference, Judge, you looked me in the
  15    eye and said, if you intend to --
  16                THE COURT: Boy, that's a stark statement. Go ahead.
  17                MR. POULOS: But, Judge, we were -- we were talking,
  18    Your Honor, about, you know, what do we need to disclose? And
  19    you did say you don't have to disclose stuff for
  20    cross-examination.
  21                But it's one of these situations where, you know, it
  22    was likely I would want that document in the defense
  23    case-in-chief. I didn't know if they were going to call
  24    David Ma, you know, all that stuff.
  25                So, Judge, I disclosed a lot of defense exhibits,
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    1   and -- and this wasn't on -- this -- this document was -- was
    2   not on the government's exhibit list. And there was no
    3   indication they were going to use the defense exhibit until
    4   over the weekend. And so I objected to that, and I asked
    5   the -- I told them it's a cross exhibit.
    6               And I asked them not to discuss it with David Ma if
    7   they hadn't done so at that point. And so it's a situation
    8   of, you know, no good deed goes unpunished, Judge.
    9               So I do object to them using that, using that
  10    document. I object to them discussing it with David Ma in
  11    advance of his testimony as well.
  12                And -- and now further, Judge, I think I got a set of
  13    exhibits from the government last night where they've now
  14    taken this defense exhibit and marked it as a government
  15    exhibit.
  16                THE COURT: Response?
  17                MR. JOHNSTON: Your Honor, the government can use any
  18    document it wants provided in discovery. This document was
  19    provided by the government.
  20                If the Court cares to know, I actually independently
  21    found it and then started cross-referencing -- well, noticed
  22    that our paralegals had tagged it as a defense exhibit. And
  23    rather than just redesignate -- have the same document
  24    designated twice, we can -- I decided to just use the -- the
  25    one that's been tagged with the defense exhibit. But there's
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    1   no -- there's no dibs in federal trials, right?
    2               THE COURT: Well, yeah, I'm -- there's no reason they
    3   can't use it. It was something that the government produced,
    4   I assume, in discovery. Correct?
    5               MR. JOHNSTON: We did.
    6               THE COURT: Yeah. And the fact that you wanted to
    7   use it in defense, I'm -- Ma is testifying, correct?
    8               MR. JOHNSTON: He is, Your Honor.
    9               THE COURT: All right. Well, it's going to come in
  10    one way or the other, and the government can use it. So the
  11    objection is overruled.
  12                Okay. There are a number of defense exhibits that
  13    were going to be used on cross.
  14                Let's go off the record.
  15           (Off-the-record discussion.)
  16                THE COURT: Let's go on the record.
  17                Emily spoke to the juror. He said he's not up to a
  18    one-hour train ride. We would lose an entire day, if not
  19    more, because there's no telling when he's going to be better.
  20                So unless someone gives me an objection, a reason not
  21    to excuse him, I will excuse him.
  22                Anything from the government?
  23                MR. APPLEBY-BHATTACHARJEE: We don't object,
  24    Your Honor.
  25                THE COURT: Okay. Defense, do you need to talk for a
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    1    minute? I'll let you talk if you want.
    2            (Pause in the proceedings.)
    3               MR. BLEGEN: Defense as a group objects to him being
    4    excused. One, he is Juror No. 1. Two, if we lose a juror
    5    every week, we're going to run out of jurors. And -- and,
    6    you know, there might be some alternative way. We could see
    7    if the other jurors could come in on Friday, for example, this
    8    week.
    9               There might be another way to make up the time rather
   10    than losing Juror 1, who from my point of view has been one of
   11    the more attentive jurors during the trial and -- and,
   12    you know, we think he's a good juror for the defense.
   13               I don't know if that's a good reason from your point
   14    of view, but we didn't leave him on the jury as -- by
   15    accident.
   16               THE COURT: Nor did the government.
   17               MR. BLEGEN: Right.
   18               THE COURT: I am not prepared to lose a day of trial.
   19    We've got 18 people sitting back there expecting to go today.
   20    We have 18 people who have patterned their lives around Friday
   21    off. I have a number of matters Friday, not -- I'd move my --
   22    if I could do it, I'd move everything on Friday and I'd do it
   23    at 8:30 every morning this week to make up for the lost Friday
   24    time.
   25               But more importantly, we have 18 jurors who have --
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    1    are waiting back there to start in about five minutes. I just
    2    don't see -- and there's no telling when he's going to be
    3    better. We could lose a day today, and he could be sick
    4    tomorrow. The stomach flu that's running around now is --
    5    lasts a couple of days from what I've, unfortunately, heard
    6    about.
    7               So if I thought this was a personal emergency that
    8    was a one-day-for-sure problem, I might be more sympathetic to
    9    your position, Mr. Blegen. But we can't tell whether he's
   10    even going to be ready to come in tomorrow.
   11               Short of you agreeing to let him participate by
   12    phone, which I understand, given the nature of the cross, is
   13    document-heavy, all documents he would get back in the jury
   14    room, but absent your agreeing to let him participate by
   15    phone, I'm going to excuse him.
   16               Anything else? Or do you want to retalk that over
   17    too?
   18               MR. BLEGEN: It sounds like we do not want to talk
   19    about that further, Judge.
   20               THE COURT: All right.
   21               MR. BLEGEN: Thank you.
   22               THE COURT: All right. Then over objection, I'll
   23    excuse that juror.
   24               Anything else anyone wants to put on the record on
   25    that issue?
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    1               Okay. I'm going to have Emily contact him to excuse
    2    him, thank him for his service, but -- I'd do it myself, but I
    3    think we have some work to do before we bring in the jury.
    4               Okay. So Juror No. 1 will be excused. Juror No. 13
    5    will slide into the spot of serving on this jury.
    6               And before she calls, I want to make sure, nobody's
    7    inclined to let him participate by phone, correct? I fully
    8    understand why you wouldn't want to, but I want to make sure
    9    that is the position of all the defendants.
   10               MR. BLEGEN: Correct, Your Honor.
   11               THE COURT: Okay. All I need to hear is from one.
   12               MS. BELL: Your Honor, just one question. I'm
   13    assuming there's no easy way to get him some sort of device
   14    between now and, say, you know, within a couple of hours where
   15    he could view the exhibits remotely?
   16               THE COURT: I don't think so.
   17               MS. BELL: Okay.
   18               THE COURT: Not that I'm aware of. The -- well,
   19    let's -- let's double-check with our tech group and make sure
   20    there's no way to do this.
   21               As I said, we haven't done remote trials in this
   22    district. I know the Western District of Washington has and
   23    maybe some places in California have. We simply haven't.
   24               Off the record.
   25           (Off-the-record discussion.)
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    1               THE COURT: Back on the record.
    2               There were, I believe, eight exhibits that the
    3    defense wished to use. Exhibit 108 is a document that's a
    4    duplicate of -- Defense Exhibit 108 is a duplicate of
    5    Government 112, I believe.
    6               Is that correct?
    7               MR. HANKEY: Yes, Your Honor.
    8               THE COURT: Defense can use whatever exhibit they
    9    want that's with their number on it.
   10               So 108's admitted.
   11           (Said exhibit admitted in evidence.)
   12               THE COURT: The Desai plea agreement, 5255, why are
   13    you going to use that with Ketchum?
   14               MR. HUESTON: Your Honor, I don't intend to -- well,
   15    first of all, it will be coming into this trial, but I don't
   16    intend to walk him through all the provisions of that.
   17               In fact, I may not use it at all. I think it's
   18    important when we're describing -- to back up a little bit,
   19    Mr. Ketchum has been presented pretty much as just kind of
   20    strolling into the courtroom and wanting to tell the truth.
   21    And there's been this letter signed that gives him immunity.
   22    There's not much more than that in the record.
   23               So I do think this is very important for someone who
   24    gets a deal, that's meaningful to begin showing the jury the
   25    meaningfulness of that deal. And he's been described as the
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    1    pre-Ashik Desai by the government. And so, you know, I think
    2    he's aware that he is -- he faces that kind of exposure, but
    3    he fights and, you're aware, Mr. Desai's facing up to
    4    20 years, and here's his plea, and this is what he was doing.
    5               And then I move out of it. That's about the extent
    6    of it, Your Honor. I think that's fair play.
    7               THE COURT: Response?
    8               MR. HANKEY: Well, Your Honor, I mean, as far as we
    9    know -- first of all, he's never seen the Ashik Desai plea
   10    agreement. You know, the government's charging decisions here
   11    are not appropriate.
   12               It's certainly appropriate to cross-examine
   13    Mr. Ketchum on his immunity, but the decision to charge Desai
   14    and not Mr. Ketchum is not an appropriate line of cross. So
   15    we just don't see the intersection between the Desai plea
   16    agreement and Mr. Ketchum's testimony and his immunity.
   17               THE COURT: Well -- Mr. Ketchum's not in here,
   18    correct? I don't see him in here.
   19               All right. I'm assuming you're going to --
   20               Let's go off the record.
   21           (Off-the-record discussion.)
   22               THE COURT: Back on the record.
   23               I assume you're going to cross Ketchum and ask what
   24    he thought his exposure was criminally; how much time he could
   25    do in jail.
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    1               MR. HUESTON: Right.
    2               THE COURT: All right. And he'll answer that one way
    3    or the other. If he says he doesn't know, you can ask him if
    4    he knew what Desai was facing. If he says, I have no idea,
    5    then I'm not sure showing him the Desai plea agreement is
    6    relevant.
    7               If -- if he -- you can certainly ask, Any reason you
    8    think you'd have a different exposure than Desai? And if
    9    he -- I'm just struggling with the relevance of Desai's plea
   10    agreement itself.
   11               MR. HUESTON: Well, Your Honor, following that very
   12    type of cross -- and that is the kind of cross I'm going to
   13    do -- I think it's important if he says, Well, I don't know,
   14    it's -- this is partly why Your Honor has appropriately let
   15    some documents in that a particular witness wasn't on to
   16    provide, you know, the narrative context.
   17               The impeachment, the context now that the jury needs
   18    to start processing, I -- I really need to put Ketchum in
   19    context.
   20               THE COURT: Well, how about this? I have no problem
   21    with you saying, Did you know Desai was facing 20 years for
   22    his conduct?
   23               MR. HUESTON: Okay.
   24               THE COURT: You don't have to show him the plea
   25    agreement.
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    1               MR. HUESTON: Right.
    2               THE COURT: That's going to come in through Desai.
    3               MR. HUESTON: Yep.
    4               THE COURT: But you can ask him if he knew that.
    5    He'll either say yes or no.
    6               MR. HUESTON: Okay.
    7               THE COURT: But you've made your point, and a point
    8    that'll be reinforced later with --
    9               MR. HUESTON: That's fine.
   10               THE COURT: -- Desai.
   11               MR. HUESTON: And I'll live with.
   12               THE COURT: Okay.
   13               MR. BLEGEN: Judge, can I chime in on a closely
   14    related topic?
   15               THE COURT: Yeah.
   16               MR. BLEGEN: I saw some emails back and forth about
   17    the government objecting to Mr. Ketchum's immunity letter
   18    coming in as evidence, which I -- I'm not sure what position
   19    Mr. Shah ultimately took. But my position is that's the
   20    agreement between him and the government, and that should come
   21    in. It's much like a plea agreement.
   22               THE COURT: Are you objecting to the immunity letter
   23    coming in?
   24               MR. HANKEY: No, Your Honor. We can withdraw that.
   25               THE COURT: Okay. The Dan Collins website, I'm sure
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    1    he'd love to have it put forth to the world.
    2               MR. HUESTON: No, Your Honor, I said right here,
    3    we're not offering that exhibit.
    4               THE COURT: Okay.
    5               MR. HUESTON: We're not offering it.
    6               THE COURT: Good. Okay.
    7               MR. HANKEY: On that point, though, Your Honor, our
    8    understanding is that the defense plans to ask Mr. Ketchum
    9    about his representation and his choice of counsel, which we
   10    think is --
   11               THE COURT: In the what?
   12               MR. HANKEY: His representation in the investigation
   13    and his choice of counsel, which we think isn't an appropriate
   14    line of questioning. Our understanding is that they've marked
   15    this, Mr. Collins' bio, to refresh his memory about the fact
   16    that Mr. Collins is a white color criminal defense attorney.
   17               THE COURT: This is unremarkable. He's got an
   18    immunity agreement from the government. Of course he's going
   19    to hire a white collar criminal defense lawyer.
   20               And the defense just said they're not going to use
   21    it. If you intend to use it to refresh his memory in any way,
   22    then go to sidebar before you use it. But it seems as if the
   23    defense has represented they're not going to use it.
   24               So if they want to refresh his memory with it, it
   25    still doesn't go in front of the jury. It would be used to
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    1    refresh his memory. The fact that a person seeks out white
    2    collar criminal defense help, gets an immunity letter from the
    3    government, that's all relevant to his bias and what he
    4    perceived to be his exposure. So -- but they're going to use
    5    it to refresh memory, if anything.
    6               It's not going to be offered, correct?
    7               MR. HUESTON: Correct.
    8               THE COURT: Okay. There's an email chain discussion
    9    with Ketchum regarding truthfulness of Velazquez forwarding
   10    email chain discussion with Ketchum regarding truthfulness and
   11    emails to Purdy.
   12               And there is an objection by the government in using
   13    this? This is Defense Exhibit 10119.
   14               MR. HANKEY: Yes, Your Honor. Our objection is that
   15    this is extrinsic evidence of Ketchum's lack of truthfulness
   16    and should be excluded under 608(b).
   17               THE COURT: Well, he's on it, correct?
   18               MR. HUESTON: Yes.
   19               THE COURT: And I see that it's Ketchum to Velazquez
   20    to start with, with a -- on a chain where even Ketchum itself
   21    says: "I need to be clear in my emails to be sure there isn't
   22    any lack of communication or trust there."
   23               I don't understand why this -- since Ketchum is on
   24    it, this wouldn't be relevant to use for a party -- for a
   25    defendant to challenge his credibility.
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    1               MR. HANKEY: So, Your Honor, this -- the matter that
    2    he's discussing here with Ms. Velazquez, who's his boss,
    3    doesn't have any relevance to the underlying facts at trial.
    4               THE COURT: What's it about?
    5               MR. HANKEY: It relates to, as I understand it -- and
    6    I, of course, haven't talked to Mr. Ketchum about this -- but
    7    it relates to whether or not certain clinics had been
    8    scheduled for the receipt of some advertising.
    9               And it looks like, yet, Ms. Velazquez is saying that
   10    he dropped the ball and didn't do his job and then he tried to
   11    accuse a coworker of dropping the ball instead. This -- it
   12    doesn't really relate to anything that we covered with him on
   13    direct. Its only relevance is really in establishing that he
   14    minimized what he did or, you know, lied about what Mr. Kemp
   15    didn't do.
   16               And so for that reason, it's just -- it's only
   17    relevant to his truthfulness. It's extrinsic evidence of
   18    that. It should be excluded under 608(b). We wouldn't
   19    oppose, you know, them asking questions on cross about it.
   20    You know, but other than that, this string shouldn't come into
   21    evidence.
   22               THE COURT: All right. Final last word?
   23               MR. HUESTON: I'm sorry, last word to me?
   24               THE COURT: Yes.
   25               MR. HUESTON: Your Honor, this couldn't be more
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    1    relevant. Ketchum testified at trial, "I'm here to tell the
    2    truth." They have portrayed him during this very time period
    3    as being a trusted insider, entrusted, you know, with the
    4    darkest secrets. And this is a direct exchange with
    5    Mr. Ketchum with his supervisor about how he's not
    6    trustworthy.
    7               And we're not going to get into the specific
    8    underlying incident. It's the whole point that his supervisor
    9    is telling him, I find you not truthful and this isn't the
   10    first time. It's a general opinion of untruthfulness that
   11    absolutely comes in.
   12               And, remember, it goes to Mr. Purdy and his state of
   13    mind. He's one of the ones who has been charged here, as, you
   14    know, sitting there and trusting a guy like this with the
   15    darkest secrets. It couldn't be more impactful.
   16               THE COURT: Defense Exhibit 10119 will be admitted.
   17           (Said exhibit admitted in evidence.)
   18               THE COURT: I think under 608(b), it's allowed to be
   19    cross-examined about. If he doesn't remember it, since it's
   20    his own document, I'm going to allow it in.
   21               10120 is an email from Ketchum to Agarwal in
   22    September 2017: "Am I getting fired?"
   23               What's the objection to this?
   24               MR. HANKEY: Well, Your Honor, this -- frankly, we're
   25    not sure the relevance at all to this. I mean, it's just --
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    1    whether or not he's being fired in 2017 has nothing to do with
    2    his testimony about the conduct of the defendants' focus on
    3    2012 and 2013.
    4               THE COURT: Well, but he's testified that he was
    5    involved -- I thought he testified he was involved in criminal
    6    activity as long as he was at that company. Not as frequently
    7    toward the end, but he was still involved in it.
    8               Am I mistaken on what he said?
    9               MR. HANKEY: He testified that he -- he continued to
   10    observe the types of activities that occurred in 2012 and
   11    2013, and that he did encourage the defendants -- you know,
   12    when there were allegations raised, he kind of encouraged them
   13    by minimizing the allegations that were raised about the fraud
   14    that was continuing at the -- at the company.
   15               THE COURT: Yeah. 10120 is admitted. It goes to his
   16    bias; it goes to his credibility. And what he gave -- why he
   17    thought he was being fired in 2017, we'll just have to see
   18    what he says.
   19               I suspect you're not even sure, because you haven't
   20    had a chance to talk to him, on what the relevance of these
   21    emails are. But I'll hear a contemporaneous objection if it
   22    turns out he's -- what -- what he says about these has no
   23    relevance. I can always hear an objection at that point, and
   24    strike the testimony if it clearly has nothing to do with any
   25    issues in this case.
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    1               MR. HANKEY: Your Honor, if I may?
    2               THE COURT: Yes.
    3               MR. HANKEY: So we -- again, we're -- we don't know
    4    for sure because we haven't talked to him about these
    5    exhibits. But we think that, because of the timing, this text
    6    may relate to the two other exhibits that are at issue,
    7    10121 and 10122.
    8               And, you know, in sum, what appears to be happening
    9    here is that these exhibits relate to whether or not
   10    Mr. Ketchum is liked within the company, whether he's, you
   11    know, an employee that his coworkers like to work with.
   12    You know, I'm referring to a Voxer exchange between Mr. Shah
   13    and Ms. De Voto, who was in the --
   14               THE COURT: Yeah. Let me say this about that.
   15               There's a difference between emails Ketchum is on and
   16    emails between two people, Shah and De Voto, that Ketchum was
   17    not on where they talked about Ketchum. I have serious doubts
   18    as to the admissibility of these two Voxers.
   19               I'll certainly let defense argue about it. But,
   20    you know, the state of mind objection, which is the basis of
   21    this coming in, or a present sense impression, this all
   22    depends on if -- the state of mind exception under 803(3)
   23    allows for this admissibility. There's no hearsay.
   24               Anybody that writes an email, that is their state of
   25    mind when they write it. If that were the -- if that were the
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    1    rule, you write something and it's admissible because it
    2    reflects your state of mind, there would be no hearsay
    3    exception.
    4               A defense offering a -- in effect, a statement by
    5    Mr. Shah in a defense case is hearsay. If you were to offer
    6    it, the government, it's not hearsay, it's an admission.
    7               But a defense offering it, at least my impression --
    8    and I'll hear argument otherwise -- is that the state of mind
    9    exception typically deals with intent, plan, and motive. And
   10    Shah's state of mind on whether he thought Ketchum is an
   11    honest guy, at least through hearsay, seems like a reach to
   12    me.
   13               This is different than a direct communication between
   14    Ketchum and Agarwal or a -- which is the am-I-being-fired
   15    email. It's different than the -- Velazquez forwarding an
   16    email chain with Ketchum regarding truthfulness. Again,
   17    Ketchum's on those.
   18               But an email that's unrelated to Ketchum himself,
   19    other than talking about him, I'm not sure state of mind is an
   20    adequate basis to put those in on behalf of Shah, at least
   21    from the defense side. The government can do it.
   22               I'll hear argument from the defense, and then we're
   23    going to -- I don't know if we know any more about the ability
   24    to --
   25            (Pause in the proceedings.)
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    1               THE COURT: Let's see -- okay.
    2               Let's hear from defense on these last two, which are
    3    10121 and 10121.1 and then 10122 and 10122.1 and then 10123.
    4    It's three -- it's basically five exhibit numbers, all
    5    relating to two sets of Voxer interchanges.
    6               MR. HUESTON: Yeah.
    7               THE COURT: Go ahead.
    8               MR. HUESTON: Your Honor, just on the 10121, that is
    9    a Voxer that actually he literally says: "I just got off the
   10    phone. I just finished a conversation with Ketchum," and
   11    he -- and it's a conversation that he had with Ketchum.
   12               So there are two points here. One, if necessary, I'm
   13    going to say, "Well, Mr. Ketchum, does this refresh your
   14    recollection? You had this conversation. Is this what Shah
   15    said to you?" He can say, "No." I don't think anybody is
   16    going to object that I can do that.
   17               But secondly, Your Honor --
   18               THE COURT: Sure. As long as it's not shown to the
   19    jury.
   20               MR. HUESTON: Right.
   21               And then secondly, Your Honor, this is relevant state
   22    of mind of Mr. Shah. He's been presented, Mr. Ketchum, as
   23    somebody who has been trusted throughout by these guys,
   24    you know, held close in the circle.
   25               And here, contemporaneously in the time of the
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    1    alleged conspiracy, here's Mr. Shah saying, you know, I've
    2    just talked to this guy, I don't trust him. That is a
    3    powerful counterpunch and impeachment. That's the general
    4    thing.
    5               We can even just, you know, forget state of mind for
    6    a moment. That's just impeachment of this whole concept that
    7    he was, you know, held close in the huddle. And it makes, you
    8    know, absolutely no sense if that theory is true that, you
    9    know, they're internally at the time saying, you know, I don't
   10    trust this guy. You know, what are we going to do with him?
   11               It completely destroys that narrative. It's a very
   12    powerful impeachment.
   13               THE COURT: You can ask him about it. You can ask to
   14    refresh his memory with an email Ketchum had with -- or I'm
   15    sorry -- that Shah had with De Voto. But its separate
   16    admissibility is what I just spoke to, and I don't see it
   17    being admitted at this point.
   18               You can renew your request if -- at the appropriate
   19    time if Ketchum denies having such a conversation with Shah.
   20               MR. HUESTON: Okay. Thank you, Your Honor.
   21               THE COURT: All right. Anything else on exhibits? I
   22    think that covers them all.
   23               MR. APPLEBY-BHATTACHARJEE: Before the jury comes in,
   24    can I just preadmit the exhibits on the record?
   25               THE COURT: Yeah. What I'm going to suggest we do is
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    1    on all of the exhibits that I've either ruled on today or --
    2    on the government's side or you've -- they're being admitted
    3    undisputed, subject to the standing objection on coventurer
    4    statements, I'm going to simply ask you to docket it.
    5               And I've already admitted them, and I'll formally --
    6    remind me later, I'll formally admit them based on the docket
    7    number. But when you use them now, you no longer have to
    8    separately seek admission. Just go up to the witness and say,
    9    "I'm going to show you Government Exhibit 25. What does this
   10    show?" We're going to save a little time that way, and the
   11    objections are preserved.
   12               What I don't know -- there are separate objections
   13    for the other noncoventurer documents, which are -- you say
   14    they're undisputed, but there are objections?
   15               MR. APPLEBY-BHATTACHARJEE: So there's a subset of
   16    coventurer statements where the admissibility as a coventurer
   17    statement is not disputed other than the standing objection.
   18               THE COURT: Right.
   19               MR. APPLEBY-BHATTACHARJEE: There's an alternative
   20    basis offered for those documents where they're either being
   21    offered alternatively as business records or for their falsity
   22    rather than their truth.
   23               There's a limited subset of those where defense
   24    counsel disputes that the documents constitute business
   25    records. I don't think that's something we need to resolve
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    1    this morning. But it is something, for the sake of the
    2    record, moving forward, that we would like to have resolved at
    3    some point this week.
    4               THE COURT: All right. Well, the docket -- what you
    5    put on the docket may have to reflect the objections to the
    6    non-801(d)(2)(E) documents. And the docket -- what you put on
    7    the docket will memorialize those objections.
    8               MR. APPLEBY-BHATTACHARJEE: Yes, Your Honor. We will
    9    do that and also incorporate the Court's rulings. I think
   10    again, today, there are only two documents that were objected
   11    to that the Court has resolved the objection.
   12               THE COURT: Right.
   13               MR. APPLEBY-BHATTACHARJEE: We -- we will, in
   14    addition to listing out the exhibits that have been admitted
   15    today, we will flag in the docket entry those specific
   16    documents for which there are pending objections on alternate
   17    bases that we'll say will be ruled upon at another time.
   18               THE COURT: Okay.
   19               MS. CHOU: And, Your Honor, there is just one quick
   20    thing I'd like to put on the record.
   21               THE COURT: Sure.
   22               MS. CHOU: While we've addressed this with the
   23    government, and I understand that this will be remedied going
   24    forward -- sorry -- but there were -- there was at least one
   25    document that was added to last week's list that involves
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    1    Mr. Ketchum that probably should have been put in before his
    2    direct closed.
    3               And I did notice a document -- a newly disclosed -- a
    4    document on the newly disclosed exhibit list that also
    5    would -- would have been a Ketchum document.
    6               So we just ask that going forward, the government
    7    move all documents into evidence related to a witness before
    8    that witness gets off the stand on direct, because otherwise,
    9    it makes cross too much of a moving target.
   10               THE COURT: Sure. Well, was it admitted during his
   11    direct examination?
   12               MS. CHOU: It was not. That's the issue, is that it
   13    was not admitted and they are now seeking to admit it as part
   14    of their list for this week.
   15               THE COURT: Well, presumably on redirect they're
   16    going to use it. But you need to put in --
   17               So it's clear, all these documents being admitted are
   18    not going to the jury unless they're used with a witness.
   19    You're not going to dump in 100 documents that -- and I know
   20    no one's going to do this, but we are not going to just dump
   21    in a set of documents that the witness is not examined about.
   22               They're either examined in one way or the other or
   23    they're not going to be given to the jury, because that's not
   24    how you --
   25               MS. CHOU: That addresses our concern, then,
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    1    Your Honor, as long as documents aren't going to the jury that
    2    haven't been addressed.
    3               THE COURT: Yeah. No, if the government wants them
    4    to go back to the jury, use it on redirect if you have to.
    5               MR. APPLEBY-BHATTACHARJEE: Well, one thing I'll
    6    note, Your Honor, is that to date, we have shown certain
    7    summaries as demonstratives. We may be seeking the
    8    substantive admission of those demonstratives later as summary
    9    charts.
   10               There are also going to be summary charts that are
   11    admitted later in evidence. And some of the underlying
   12    documents on this list are the data points that are reflected
   13    in the summary charts.
   14               THE COURT: Well, if they are stipulated to as
   15    documents that are admitted and the parties stipulate they can
   16    go to the jury, that's fine. But I -- I'm back where I
   17    started: If they aren't used with a witness, unless there's
   18    an agreement, they're not going back to the jury.
   19               And if it's a document that you need to finish a
   20    summary chart you're going to seek the admission of, put it on
   21    redirect or recall Ketchum.
   22               MR. APPLEBY-BHATTACHARJEE: Yes, Your Honor.
   23               And I will note that I think that this concern that
   24    Ms. Chou has raised is going to be mixed moving forward. We
   25    had -- all the documents on the list that we discussed this
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    1    morning were disclosed, in addition to the documents that were
    2    moved into evidence live during Mr. Ketchum's testimony.
    3               Our intent was always to flag for preadmission the
    4    documents we intended to use, in this instance, with the
    5    government's first five witnesses. And moving forward, I
    6    think we -- we will be following the same protocol of
    7    identifying documents and the basis on which we seek their
    8    admission before witnesses take the stand.
    9               So I'm hoping that this is an academic concern moving
   10    forward.
   11               THE COURT: Okay.
   12               MR. POULOS: Your Honor, I -- I -- excuse me.
   13               THE COURT: Let's go off the record for a minute.
   14           (Off-the-record discussion.)
   15               THE COURT: Let's go on the record.
   16               Go ahead.
   17               MR. HANKEY: So last night, we received a
   18    supplemental list from the defense as to some additional
   19    exhibits that they added in good faith to their list.
   20               And one of those was Exhibit 195, which we didn't --
   21    we did not object to the defense admitting for its effect on
   22    the listener, which we believe would -- it certainly includes
   23    Mr. Purdy; it included the senior management team.
   24               It's an email that included the senior management
   25    team email address, which, you know, we believe include the
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    1    other defendants as well.
    2               In the email, Mr. Demas says at the very top of the
    3    email -- this is an April 7, 2013, email: "Hey, Brad.
    4    Pradaxa was sold on a weighted average of 1,819 screens
    5    (numbers stated in the contract)."
    6               We would object to this email being admitted for the
    7    truth. We'd ask for a limiting instruction when it's
    8    admitted. Our understanding is that the defense would like it
    9    to be admitted for the truth. And, you know, if the Court is
   10    entertaining that, we'd like to be heard on the reasons why we
   11    don't think that's appropriate.
   12               THE COURT: Are you offering it for its truth?
   13               MR. TODISCO: Yes, Your Honor. It's our position
   14    that --
   15               THE COURT: Well, before I -- what I'd like you to do
   16    is give me a copy of it. And we'll deal with it -- I'll look
   17    it over and we'll deal with it at our first break.
   18               It's not coming up before the first break, I assume.
   19               MR. TODISCO: It will not, correct.
   20               THE COURT: Okay. Great. Let me take a look at it.
   21    Yeah, sure. Thank you.
   22               Okay. Why don't we go to chambers, then.
   23           (Pause in the proceedings.)
   24               THE COURT: All right. Government 195 is going to be
   25    offered by the defense.
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    1               Is that -- by Defendant Shah, do you intend to offer
    2    it?
    3               MR. HUESTON: Yes, Your Honor.
    4               THE COURT: Okay. And defense wishes to offer it as
    5    substantive evidence, and you're objecting to its being
    6    offered for the truth.
    7               Why?
    8               MR. HANKEY: Your Honor, because it's -- it's
    9    hearsay. And the assertion is -- is false. And it's clearly
   10    false.
   11               We can show through another exhibit, Exhibit 263,
   12    that Mr. Shah, at least, understood some months later that it
   13    was not a weighted average campaign. And then, you know,
   14    we've seen the contract doesn't provide for weighted average
   15    deliveries.
   16               So while it's relevant to the intent of the
   17    defendants, the assertion itself shouldn't come in for the
   18    truth because of its lack of reliability.
   19               THE COURT: Well, why isn't -- what is the lack of
   20    reliability? It's a 2013 email from Demas to Purdy talking
   21    about Pradaxa's being sold on a weighted average. That may or
   22    may not be true, but isn't that the subject of additional
   23    evidence as opposed to --
   24               What's the reason this isn't, in effect, a business
   25    record anyway?
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    1               MR. HANKEY: Because it's a -- it's a straight
    2    comment in a string of emails, Your Honor. It's not something
    3    that's being, you know, generated pursuant to a regular
    4    process of the company. And again, even if it were -- if it
    5    did meet the elements of the business record section, it does
    6    lack reliability.
    7               And it -- we can kind of cover that if you like as
    8    well, Your Honor. But these assertions about weighted average
    9    campaigns, weighted average was an excuse, effectively, that
   10    these defendants and their coventurers would make any time
   11    that they realized that the -- their clients were about to see
   12    that they were under-delivering, and they would kind of go
   13    back to this weighted average understanding.
   14               THE COURT: But this is between Demas and Purdy,
   15    correct?
   16               MR. HANKEY: It is. I don't have it in front of me,
   17    Your Honor.
   18               THE COURT: Yeah, I'm sorry; you gave it to me.
   19               MR. HANKEY: Yeah.
   20               THE COURT: But it's between -- the top part, which I
   21    think is the part you're concerned about, is between Demas and
   22    Purdy, who are presumably two insiders. Isn't Demas -- was
   23    Demas one of the salespeople that you were trying to keep
   24    things away from? I didn't think so.
   25               MR. HANKEY: No, he wasn't.
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    1               THE COURT: All right. So it's two insiders, a
    2    defendant and Demas, who presumably has no reason to be hiding
    3    the truthfulness of the weighted average assertion from
    4    salespeople. I don't see where this is unreliable.
    5               I mean, it may be false. That's what you have to
    6    prove if that's the -- your theory of the case. But I don't
    7    think this document is -- well, I -- I'll reverse it. I think
    8    this is a business record. These are routine communications
    9    between insiders at the company about what the contract with
   10    Pradaxa was.
   11               So I believe it has a -- it's made at or near the
   12    time of the events. It -- you know, I think it's admissible
   13    as a business record. And Ketchum, he's CC'd. You can ask --
   14    the defense can ask Ketchum about this on cross. He's a CC on
   15    this thing.
   16               MR. HANKEY: Our concern, Your Honor, is that if this
   17    is a business record, then -- I mean, it just opens the
   18    floodgates on both sides, really, for the admissibility of
   19    just random email exchanges about the contracts and -- and
   20    events that we're discussing at trial.
   21               And it -- it really doesn't bear the type of
   22    systematic use of company records and -- and the like.
   23    There's no indicia here that Mr. Demas went and looked at the
   24    contract. Of course if he had, it wouldn't have shown that it
   25    was a weighted average contract.
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    1               THE COURT: It was or was not?
    2               MR. HANKEY: The contract was not a weighted average
    3    contract.
    4               THE COURT: Right. Okay.
    5               MR. TODISCO: And I can respond to that, Your Honor.
    6               THE COURT: Go ahead.
    7               MR. TODISCO: This is not just a straight comment
    8    about a contract. Mr. Demas was the CFO of Outcome at the
    9    time. And, in fact, Mr. Ketchum testified last week that
   10    Mr. Demas was responsible for contracting at Outcome.
   11               So this is squarely within the responsibilities of
   12    this high level employee who is speaking about areas within
   13    his direct knowledge and something that he would have been
   14    personally involved in. Moreover, Mr. Ketchum described these
   15    MS weekly reports that he sent out being part of his job
   16    responsibilities and something that he sent to senior
   17    management.
   18               So the whole record is directly within what these
   19    employees did on a day-to-day basis. And this would in no way
   20    open the door for, you know, just some off-the-cuff comment
   21    coming in. You know, "I think this, I think that." This is
   22    the person responsible for this area at Outcome explaining
   23    what he understood the contract to be and sending it not only
   24    to Mr. Purdy, but to the entire senior management team.
   25               And, of course, just a final point, whether or not
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    1    this is truthful or the truth is a separate question about
    2    whether the jury can consider it for the truth. And that's
    3    all we're asking for.
    4               MR. HANKEY: Your Honor, Mr. Demas --
    5               THE COURT: Go ahead.
    6               MR. HANKEY: -- they -- they could call Mr. Demas to
    7    testify to lay the necessary foundation if he can do it.
    8               If I may, too, just add a finer point on my comments
    9    about the lack of reliability for these types of statements.
   10    I'll refer the parties and the Court to exhibit -- Government
   11    Exhibit 263, which I can provide the Court a copy of.
   12               But in it, Ms. Agarwal -- this is August 6, 2013 --
   13    writes: "Reminder, the biggest issue here is that the list
   14    they have of 1,819 matches isn't the true list. Not even
   15    one-third of it was installed at the time." She's referring
   16    to Pradaxa, the client, and the list that they have.
   17               And then Mr. Shah responds to Ms. Agarwal and copies
   18    Mr. Desai: "Yep, this is a big deal, so we'll have to refresh
   19    it somehow and make sure they have the right list. If they
   20    insist on doing a study internally, we'll have to send it to
   21    them with dates of initial operation and just go to a" -- in
   22    quotes -- '"weighted average understanding.'"
   23               "We'll try to move away from that, but that's the
   24    only contingency plan I can think of. Let me know if you guys
   25    see other options."
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    1               And, Your Honor, I mean, it's our view that the
    2    defendants used these self-exculpatory comments about weighted
    3    average campaigns throughout the course of the conspiracy to
    4    kind of marshal -- circle the wagons around what their common
    5    narrative is going to be if they're caught in doing what
    6    they're doing, so --
    7               THE COURT: If those exhibits -- have you offered
    8    those, the one you just referred to?
    9               MR. HANKEY: Not yet, Your Honor, because it -- you
   10    know, it doesn't include Mr. Ketchum on it.
   11               THE COURT: But you will be?
   12               MR. HANKEY: Yes.
   13               THE COURT: As admissions by the defendant?
   14               MR. HANKEY: Yes.
   15               THE COURT: All right. But those -- is there an
   16    indication that Demas, who is the author of this, is saying
   17    that it's a weighted average because he's trying to somehow
   18    circle the wagons and set up a defense for any trial that may
   19    occur years later?
   20               MR. HANKEY: Well, I mean, Your Honor, he's just
   21    wrong. I mean, and that's -- you know, it's --
   22               THE COURT: Well, that's -- that's fine.
   23               And the -- and part of an admission of a business
   24    record, why it's admitted is because the regularity of the
   25    communication enhances the reliability of the truthfulness --
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    1    for truthfulness of the document.
    2               That's why a business record exists. They're routine
    3    practices and, therefore, there's no real reason to doubt the
    4    veracity of the document itself.
    5               When is this going to come up?
    6               MR. TODISCO: After lunch, presumably.
    7               THE COURT: Okay. Let me give it some more thought.
    8    I understand the government's position; I understand yours.
    9               And this goes back to an issue we raised at the
   10    beginning of trial about are emails business records or not.
   11    And I think I -- at that time, I think it's -- I told you I
   12    thought it was situational, depending on the timing, depending
   13    on who the people were on the email, depending on what the
   14    content of the email was.
   15               The mere fact they're wrong, frankly, I'm not sure,
   16    you know, that that is the sole determining factor.
   17               MR. HANKEY: Our view, Your Honor, is really just
   18    to -- the fact they're wrong underscores the -- our position
   19    that this -- these kinds of statements are really -- they're
   20    just self-exculpatory, circling the wagons types of statements
   21    they're making in emails, not for the purpose of getting
   22    everyone on the same page and, you know, informing the company
   23    of what the business records of the company show, but really
   24    for that other purpose.
   25               If it was -- if it was that Mr. Demas was
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    1    communicating with the records that the company showed, the
    2    contract doesn't show that it's a weighted average contract.
    3    And so it's -- that supports our view that that's the intent
    4    behind making this statement and other statements like it.
    5               MR. TODISCO: And, Your Honor, if I may respond.
    6               There's no email that I'm aware of or that the
    7    government has produced to show that Mr. Demas somehow ten
    8    years ago was laying a record to show that this was actually a
    9    weighted average campaign when he knew that it wasn't.
   10               So absent something like that, showing that this is a
   11    smoke screen, I mean, we are four years before issues come to
   12    light. The presumption is that this is something within
   13    Mr. Demas', the CFO's, responsibility. As Mr. Ketchum
   14    testified, Mr. Demas was responsible for contracting. And he
   15    is describing the contract that he wrote and that he entered
   16    into.
   17               THE COURT: Okay. All right. Well, I'll consider
   18    your arguments and let you know about its admissibility for
   19    the truth as opposed to for state of mind at lunchtime or
   20    before it's used in the afternoon.
   21               Okay. Off the record.
   22            (Off-the-record discussion.)
   23
   24
   25
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    1               THE COURT: Back on the record.
    2               We'll bring in the jury.
    3               And let's have your witness come in, please.
    4            (Jury in.)
    5               THE COURT: Please be seated, ladies and gentlemen.
    6               Thank you for being so patient. I believe we have it
    7    set up where the juror who was ill but able to still
    8    participate is both listening to the witness examination and
    9    in a position to see the witness and also see exhibits when
   10    they're displayed.
   11               Also, I ask that you not sit at that seat right over
   12    there because Louie would then be blocked, and it's important
   13    he see the courtroom in his position as court security
   14    officer.
   15               So, we'll go back to normal when our juror is better.
   16    Hopefully by tomorrow. And thank you all for being patient.
   17               Okay. You may continue.
   18               Sir, you're still under oath. Do you understand
   19    that?
   20               THE WITNESS: Yes, your Honor.
   21               THE COURT: All right.
   22               You may continue cross-examination.
   23               And we've had a method where the juror can
   24    communicate with Emily and my law clerk if there's any
   25    technical problems at his end. If we don't hear from
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    1    Mr. Santiago, Mr. Santiago, we're going to assume you hear
    2    everything. Same rules apply at home as they do here. No
    3    outside communication. Please obviously pay attention to the
    4    testimony and the exhibits, and we'll go from there.
    5               Proceed.
    6               MR. HUESTON: Thank you, your Honor.
    7          JASON KETCHUM, PLAINTIFF'S WITNESS, PREVIOUSLY SWORN
    8              CROSS-EXAMINATION ON BEHALF OF DEFENDANT SHAH
    9    BY MR. HUESTON:
   10    Q. Mr. Ketchum, you might recall we left off with the idea
   11    that context matters. And you agreed with that, right?
   12    A. Yes.
   13    Q. And it's been a long weekend, so let's just reorient
   14    quickly to where we were. Let's go to Government Exhibit 284.
   15               MR. HUESTON: Put that back up, please.
   16    BY MR. HUESTON:
   17    Q. And here it is. And you'll remember that we covered this,
   18    that, standing alone here spoke to RS on the Pradaxa list.
   19    Next sentence: In the end, we are open to being honest if
   20    it's caught. But given the lack of communication between
   21    research and brand teams, I think this will be highly
   22    unlikely.
   23               We covered that, right?
   24    A. Correct.
   25    Q. Sounds bad in isolation, you'd admit, right?
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                                   Ketchum - cross by Hueston
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    1    A. Yes.
    2    Q. Okay.
    3               Let's look at context. We started and we only had a
    4    few minutes. We went back beforehand to August 6th, 2013, to
    5    see what Mr. Shah was actually saying. So, let's go back to
    6    that Exhibit 263.
    7               And here, up at the top, he's saying to Ms. Agarwal
    8    and Desai in response to this issue -- look at the embedded
    9    part first: The biggest issue here is they have a list of
   10    1819 matches that isn't the true list.
   11               He responds: Yup, this is a big deal. So, we'll
   12    have to refresh it somehow and make sure they have the right
   13    list.
   14               That's what he says, right?
   15    A. Yes.
   16    Q. Okay. And let's see what happens after that.
   17               Let's go to DX 7532. And here, it's now a couple
   18    days later, August 8th, right?
   19    A. Yes.
   20    Q. All right.
   21               And if we go to the embedded e-mail, here's Mr. Desai
   22    talking to Rishi Shah and Bob Mons, right?
   23    A. I just see the e-mail from Ashik to Shradha.
   24    Q. That's at the top. Yeah. Let's --
   25    A. Oh, I see. Okay.
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                                   Ketchum - cross by Hueston
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    1    Q. Yeah, our bad. We showed you -- there's the embedded. It
    2    goes from Desai to Shah and Mons, right?
    3    A. Yes.
    4    Q. And before I get into the language of this, Pradaxa, that
    5    was sold by BI, right? That was the company?
    6    A. Yes.
    7    Q. Okay. So, let's see what Mr. Desai is doing after
    8    Mr. Shah said, let's disclose this.
    9               Hey Rishi, just got off the call with Greg at BI.
   10               Right? Do you see that?
   11    A. Yes.
   12    Q. And, then, down in the next paragraph: Their research
   13    lead Brett has required a list of physicians with starting
   14    dates of the CM campaign --
   15               That's ContextMedia, right?
   16    A. Yes.
   17    Q. -- as they will do a time alignment, so we are good from
   18    that end.
   19               Do you see that?
   20    A. Yes.
   21    Q. Okay.
   22               And, by the way --
   23               MR. HUESTON: We can put this document down.
   24    BY MR. HUESTON:
   25    Q. You understand generally this term "time alignment." That
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                                   Ketchum - cross by Hueston
                                                                                    1139

    1    means offices installed over time, right?
    2    A. That's correct.
    3    Q. So, not all at once, right?
    4    A. Correct.
    5    Q. Okay.
    6               Let's go on and see what happens after that. Let's
    7    go to Government Exhibit 275. We'll put that up. Same day.
    8    And Mr. Shah is writing back to Mr. Desai with you on it and
    9    Shradha Agarwal, right?
   10    A. Correct.
   11    Q. And he writes: Hey, Ashik, Jay.
   12               Do you see that at the top?
   13    A. I do.
   14    Q. Then down in the last paragraph: From speaking to Ashik
   15    this a.m., it sounds like we'll be okay giving them a list of
   16    physicians with dates of the program start and they'll do time
   17    alignment on their end.
   18               That's what he says, right?
   19    A. Correct.
   20    Q. All right.
   21               And, then, let's go now forward in time to just a
   22    couple days before that first e-mail. Now we go to Defense
   23    Exhibit 7562. And let's see what Mr. Desai is telling
   24    Mr. Shah here.
   25               Subject Re: BI meeting. Do you see that?
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                                   Ketchum - cross by Hueston
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    1    A. I do.
    2    Q. BI, maker of Pradaxa, right?
    3    A. Correct.
    4    Q. All right.
    5               Hey, Rishi --
    6               MR. HUESTON: Let's go into it.
    7               Now let's go to the third paragraph.
    8    BY MR. HUESTON:
    9    Q. To date, I told Bob I will have the prescriber list ready
   10    and he can mention it to Greg again next week --
   11               Do you see that?
   12    A. I do.
   13    Q. -- at which point I will send the file that afternoon.
   14               Right?
   15    A. I see that.
   16    Q. That's what he tells Mr. Shah, right?
   17    A. Correct.
   18    Q. Mr. Shah is on that e-mail, correct?
   19    A. Yes.
   20    Q. Okay.
   21               So, that -- let's go back now to the e-mail where we
   22    started, 284. Let's take a look at this e-mail. This is the
   23    e-mail where we started without context, right? Do you see
   24    it?
   25    A. I do.
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                                   Ketchum - cross by Hueston
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    1    Q. Notice at the top, this is from Mr. Desai to you, correct?
    2    A. Yes.
    3    Q. Do you see Mr. Shah on this e-mail?
    4    A. I do not.
    5    Q. Right. It's not sent to him, is it?
    6    A. Does not appear so.
    7    Q. And there's not any evidence this was forwarded to Mr.
    8    Shah, right?
    9    A. Doesn't look that way.
   10    Q. Right.
   11               And you're not here to tell the jury that Mr. Desai
   12    is a truth teller; are you, sir?
   13    A. No.
   14    Q. You understand that he's an admitted liar and fraudster,
   15    right?
   16    A. Yes.
   17    Q. And, in fact, you're aware that Mr. Desai has even said
   18    that he hid his fraud from Mr. Shah. Are you aware of that?
   19    A. I'm not.
   20    Q. Okay. We can put this aside.
   21               Now, in your exam over the course of two days with
   22    Mr. Hankey, you admitted to telling a lot of lies; is that
   23    fair?
   24    A. Yes.
   25    Q. Okay.
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                                   Ketchum - cross by Hueston
                                                                                    1142

    1               But you didn't talk about all the lies that you told
    2    while at Outcome Health, right?
    3    A. I can't speak to that.
    4    Q. Okay.
    5               And, in fact, sir, you've had trouble telling the
    6    truth your whole life, right?
    7    A. I don't -- I don't believe so.
    8    Q. Okay.
    9               Well, let's start with Outcome Health. Ten years
   10    ago, sir, your direct supervisor -- this is 2012, 2013 -- she
   11    had to plead with you to just please be honest. Do you
   12    remember that?
   13    A. I don't.
   14    Q. Okay.
   15               MR. HUESTON: Let's go to CX 10119.
   16    BY MR. HUESTON:
   17    Q. By the way, Silvia Velazquez, she was your supervisor in
   18    2013 or so, right? Do you remember --
   19    A. Yes.
   20    Q. -- that? Okay.
   21               And, so, let's put this up. And we're going to start
   22    at the embedded e-mail there. It's from you, Jason Ketchum,
   23    August 7th, 2013, to Silvia Velazquez. Do you see that?
   24    A. I do.
   25    Q. You start by saying, I appreciate the feedback, right?
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                                   Ketchum - cross by Hueston
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    1    A. I do.
    2    Q. Well, let's look at what she was telling you.
    3               MR. HANKEY: Object to the narrative.
    4               THE COURT: Just ask questions.
    5               MR. HUESTON: Yeah.
    6    BY MR. HUESTON:
    7    Q. Let's go down to the bottom of two e-mails at Page 3 going
    8    into Page 4. And we can see that Ms. Velazquez is relaying a
    9    request from a client about when her, quote, customization is
   10    going to go live.
   11               Do you see that?
   12    A. I do.
   13    Q. Okay.
   14               And Ms. Velazquez notes that the client had sent the
   15    customizations to you and was chasing an answer from multiple
   16    people at Outcome Health. Do you see that?
   17    A. I do.
   18    Q. All right.
   19               And, then, we go to the middle of Page 3. Middle of
   20    Page 3 you claim, quote, they were already done. TK --
   21               That's Travis Kemp, by the way, right?
   22    A. Correct.
   23    Q. -- TK scheduled them. They should show on their screen
   24    tomorrow. I was working on them this week.
   25               Do you see that language?
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    1    A. I do.
    2    Q. But now following up the next two e-mails above, let's go
    3    to Page 2 when Ms. Vasquez e-mails Mr. Kemp to confirm he'd
    4    already scheduled the videos.
    5               MR. HUESTON: Let's pull that up.
    6    BY MR. HUESTON:
    7    Q. He says that he just received one of the videos earlier
    8    that day and that for the others, you had not yet entered the
    9    media changes.
   10               Do you see that?
   11    A. I do.
   12    Q. Okay.
   13               And, then, we go up one more e-mail. And even though
   14    you had started the e-mail chain by claiming the videos were
   15    already done earlier in the week, you now change your story to
   16    say they're done now, right, sir?
   17    A. Yes, it appears that.
   18    Q. Okay.
   19    A. Yes.
   20    Q. And now let's go to the top of Page 2, Ms. Velazquez's
   21    response. And she writes: Okay. This morning, the way you
   22    phrased the e-mail made it seem like you did them prior and
   23    were just waiting for slacker Travis to upload them.
   24               Do you see that language?
   25    A. I do.
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    1    Q. Whereas what I think really happened is that you forgot
    2    about them and did them after I sent you the e-mail at 8:45
    3    a.m.
    4               Do you see that?
    5    A. I do.
    6    Q. And you would admit she's saying that you lied and tried
    7    to blame Mr. Kemp for your own mistake, right, sir?
    8    A. That's what it looks like.
    9    Q. Okay.
   10               And, then, she goes on and says: We all make
   11    mistakes and it's okay if you forgot, as long as you tell me
   12    so I could have helped you and we could have gotten them done
   13    together. Or heck, I could have just done them myself,
   14    honestly.
   15               And, then, she says: Please just be honest with me.
   16               That's what she says, right?
   17    A. Correct.
   18    Q. And she goes on and says: I would appreciate it and we
   19    would have a better working relationship this way. I hope you
   20    take this as constructive criticism.
   21               So, you see, your supervisor is telling you, sir,
   22    that she's concerned and needs to help you accept
   23    responsibility for your own actions, right?
   24    A. Correct.
   25    Q. All right.
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    1               And, then, if we go up one paragraph, she goes on and
    2    she says: I'm not sure if you were aware of this, but the way
    3    you phrase e-mails sometimes makes it seem like you are hiding
    4    something by not fully telling the truth.
    5               See that?
    6    A. I do.
    7    Q. So, your boss feels the need to tell you it's important
    8    not to hide things, right?
    9    A. Yes.
   10    Q. And to tell the whole truth, correct, sir?
   11    A. Uh-huh, yes.
   12    Q. And she continues: This isn't the first time you do this,
   13    so I feel like it's my responsibility to tell you as a friend
   14    and colleague, especially since I've heard similar comments
   15    from other people and I don't want anyone thinking negatively
   16    of you.
   17               Did I read that correctly?
   18    A. Yes, sir.
   19    Q. So, it wasn't the first time; was it, Mr. Ketchum?
   20    A. I can't speak to that.
   21    Q. You were being told that. That's what she said, right?
   22    A. I was being told that, yes.
   23    Q. Okay.
   24               MR. HUESTON: So, we can put that down.
   25    BY MR. HUESTON:
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    1    Q. Now, you're aware, sir, that the government has alleged
    2    that you worked closely with Mr. Shah and Agarwal to further a
    3    fraud scheme, right? You understand that?
    4    A. Yes.
    5    Q. And during the government's opening, sir, the jury was
    6    told that you had gained their trust and that you were only --
    7               MR. HANKEY: Objection, your Honor.
    8    BY MR. HUESTON:
    9    Q. -- one of four or five people --
   10               MR. HANKEY: Objection.
   11    BY MR. HUESTON:
   12    Q. -- entrusted with dark secrets behind the success of the
   13    company --
   14               THE COURT: Sustained.
   15    BY MR. HUESTON:
   16    Q. -- at the time of the fraud.
   17               THE COURT: Sustained.
   18               MR. HUESTON: Okay.
   19    BY MR. HUESTON:
   20    Q. Are you aware -- well, sir, do you believe that you're one
   21    of only four or five people entrusted with dark secrets behind
   22    the success of the company?
   23               MR. HANKEY: Object to form.
   24               THE COURT: He can answer, if he can.
   25    BY THE WITNESS:
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    1    A. I can't speak to that.
    2    BY MR. HUESTON:
    3    Q. Well, do you think you were in a trusted circle of four or
    4    five people at Outcome Health that were entrusted with dark
    5    secrets?
    6    A. I --
    7    Q. Does that sound right?
    8    A. I have -- I have no idea. I really can't speak to that.
    9    Q. Well, you don't feel that fits you or that might fit you?
   10    A. I don't feel that fits me.
   11    Q. Okay. Thank you.
   12               And let's see, frankly, if you were entrusted by --
   13               MR. HANKEY: Objection. Narrative.
   14               THE COURT: Please just ask questions.
   15               MR. HUESTON: Let's go to CX 10120. Let's put that
   16    up.
   17    BY MR. HUESTON:
   18    Q. This is a text from you to Ms. Agarwal on September 8th --
   19    28th, 2017. Do you see that?
   20    A. Yes.
   21    Q. And you ask, am I getting fired? Do you see that?
   22    A. I do.
   23    Q. And let's go to Pages 2 to 3. If we look at the next
   24    three texts all from you, you say: Rishi just added a
   25    one-to-one to my calendar for the end of the day today.
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    1               Do you see that?
    2    A. Yes.
    3    Q. And what does one-to-one mean?
    4    A. One-on-one conversation.
    5    Q. Okay.
    6               And, then --
    7               MR. HUESTON: Next text.
    8    BY MR. HUESTON:
    9    Q. Then you wrote: I'd rather it came from you, right?
   10    A. Yes.
   11               MR. HUESTON: And, then, next text.
   12    BY MR. HUESTON:
   13    Q. I'm freaking out quite a bit, right?
   14    A. Yes.
   15    Q. And let's see Ms. Agarwal's response. Quote, Page 4, she
   16    writes: Jason, I'm in New York City today. No. We do need
   17    to have a candid conversation about where you want your career
   18    to grow and whether that opportunity is still here or one of
   19    our portfolio companies or elsewhere.
   20               That's what she writes, right?
   21    A. Yes.
   22    Q. And you recall what was communicated at that candid
   23    conversation with leadership? Do you remember what was said?
   24    A. I don't.
   25    Q. Okay.
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    1               Well, let me see if I can refresh your recollection.
    2               MR. HANKEY: Your Honor, we'd object to hearsay.
    3               THE COURT: Well, first is to see if he can refresh
    4    his recollection.
    5    BY MR. HUESTON:
    6    Q. So, let me show you -- and we'll just put this up for
    7    attorney and your eyes only --
    8               THE COURT: And this is obscured from the remote
    9    juror, too; is that correct?
   10               MS. DOMINIAK: Yes, your Honor.
   11               THE COURT: If you've got a hard copy, you may just
   12    want to show it to him.
   13               MR. HUESTON: Yes. Let me see if I can grab a clean
   14    hard copy.
   15               With permission, may I approach?
   16               THE COURT: Go ahead.
   17           (Document tendered.)
   18    BY MR. HUESTON:
   19    Q. And, Mr. Ketchum, I put in front of you a document and
   20    I've underlined the language I'd like to review to see if it
   21    refreshes your recollection that that was a point of
   22    discussion with you.
   23    A. I don't recall that.
   24    Q. Okay. You can give me that back.
   25    A. You said just read the underlined copy?
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    1    Q. Yeah.
    2               By the way, Mr. Ketchum, I don't think this was
    3    mentioned on direct, but in 2018, you actually deleted all
    4    your Voxers, right?
    5    A. Oh, I don't recall that.
    6    Q. Okay. We'll get back to that.
    7               MR. HANKEY: Object to the narrative, your Honor.
    8               THE COURT: I think just asking questions is fine.
    9    None of these narratives are all that prejudicial. But
   10    nonetheless, the proper form is to ask questions. Don't need
   11    introductory comments before a new paragraph starts.
   12    BY MR. HUESTON:
   13    Q. Now, on direct -- well, let's go to GX 1124. And this is
   14    a February 23rd, 2017, e-mail from you to Ms. Agarwal, forward
   15    feedback.
   16               Do you see that?
   17    A. Yes.
   18    Q. And you're forwarding a message you sent to Mr. Shah,
   19    right?
   20    A. Yes.
   21    Q. All right.
   22               And let's go to Page 2. And I want to go to
   23    "Employee Voice and Career Satisfaction" section. Do you see
   24    that?
   25    A. Yes.
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    1    Q. And your recommendation includes that, quote: We aren't a
    2    multi-thousand-person business yet, and part of our secret
    3    sauce has always been our ability to make employees feel
    4    comfortable in sharing their thoughts. I've even been on the
    5    negative end of that when I had employees raising concerns
    6    about my leadership, but it was and is the best thing for the
    7    business and I'm glad it happened.
    8               Do you see that?
    9    A. Yes.
   10    Q. So, this is you writing this, right?
   11    A. Yes.
   12    Q. So, even from your own perspective, sir, you did
   13    understand that you had been moved from a prior role due to
   14    people raising concerns about you, right?
   15    A. Yes.
   16    Q. Okay.
   17               Now, earlier we saw the text of Ms. Agarwal where you
   18    asked if you were getting fired, right?
   19    A. Yes.
   20    Q. She wasn't the first person you messaged while at Outcome
   21    Health asking if you were getting fired, right, sir?
   22    A. Probably not.
   23    Q. And with all the complaints about you, you'd admit maybe
   24    you were getting a little paranoid about getting fired; is
   25    that fair?
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                                   Ketchum - cross by Hueston
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    1               MR. HANKEY: Objection. Relevance.
    2               THE COURT: Overruled.
    3    BY THE WITNESS:
    4    A. I can't speak to that.
    5    BY MR. HUESTON:
    6    Q. Okay. Let's go to CX 10123. And you see this is an
    7    e-mail from Travis Kemp to Mr. Shah and Ms. Agarwal, subject
    8    Jason, right?
    9    A. Yes.
   10    Q. Do you see that?
   11               And we can see below that Mr. Kemp pasted a chat with
   12    you into the e-mail. Do you see that?
   13    A. Yes.
   14    Q. And the top two -- it's a little fuzzy. Let's see if we
   15    can read it. The top two messages from you say: So, did you
   16    figure out any good info in the meeting yesterday? Am I
   17    getting sacked?
   18               Do you see that?
   19    A. I do.
   20    Q. Again, just assumed you had done something worthy of
   21    getting fired, right?
   22    A. No. Not necessarily.
   23    Q. You just thought you'd ask?
   24               THE COURT REPORTER: I'm sorry?
   25               THE WITNESS: I said no, not necessarily.
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    1    BY MR. HUESTON:
    2    Q. Not necessarily.
    3               You just --
    4               THE COURT: Try and keep the mic close. I know when
    5    you look at the screen --
    6               THE WITNESS: Sorry, your Honor.
    7               THE COURT: -- your head is away from the mic. So,
    8    try and move them where you can do both.
    9               THE WITNESS: Sorry.
   10               THE COURT: Go ahead.
   11    BY MR. HUESTON:
   12    Q. So, you just asked, am I getting sacked?
   13    A. I don't remember the context of the conversation, but --
   14    Q. Okay.
   15               But you don't doubt that's you asking, am I getting
   16    sacked, right?
   17    A. That's me.
   18    Q. And this is a separate time from the one I showed you
   19    earlier, right?
   20    A. Yes.
   21    Q. And, then, let's see what Mr. Kemp writes above.
   22               Rishi, Shradha, Jason has been all over me asking why
   23    Matt and I were held back yesterday and he wasn't invited.
   24    Might be a good idea to address sooner than later. I can tell
   25    he is not all mentally there right now.
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    1               Did I read that correctly?
    2    A. Looks that way, yes.
    3    Q. Now let's go to CX 10124. And this is an e-mail from
    4    Mr. Shah to Mr. Kemp and Jim Demas, subject JK. That's your
    5    initials, right?
    6    A. Yes.
    7    Q. And it's about you, but you're not on this e-mail chain,
    8    right?
    9    A. Correct.
   10    Q. And this is 2012, right, for date orientation?
   11    A. Correct.
   12    Q. And this is, from what you describe, the supposed height
   13    of your fraud with Mr. Shah, right?
   14    A. I -- I suppose.
   15    Q. Okay.
   16               Right. When you claim that you were Mr. Shah's
   17    confidante and co-conspirator, right?
   18               THE WITNESS: There's a weird echo.
   19               THE COURT: Yeah, there's an echo. I don't know if
   20    we can --
   21           (Brief pause.)
   22               THE COURT: All right. Good time to stand up and
   23    stretch.
   24               I think the plan is, ladies and gentlemen, we're
   25    going to go straight through to lunch. If you need to take a
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    1    break for the restroom, though, just raise your hand, we'll
    2    take a short break. Otherwise, we'll try and go straight
    3    through to lunchtime, 12:15, 12:30, depending on when there's
    4    a natural time to break.
    5               Mr. Ketchum, why don't you say something, see if we
    6    hear that echo again.
    7               THE WITNESS: Hello.
    8               THE COURT: Also, anything from mine?
    9               How about --
   10               MR. HUESTON: Yes. Testing, testing.
   11               THE WITNESS: There's still a little bit of feedback.
   12               THE COURT: There's still a little bit, but it's not
   13    too disruptive. We'll have somebody work on it. But in the
   14    meantime, let's see if we can keep going. And if it erupts
   15    again, we'll stop.
   16               You may continue.
   17               MR. HUESTON: All right.
   18    BY MR. HUESTON:
   19    Q. And let's go to the bottom of Page 2 to Mr. Shah's
   20    original e-mail.
   21               MR. HUESTON: Put that up. There we go.
   22    BY MR. HUESTON:
   23    Q. And Mr. Shah wrote: I talked to Jason this evening and
   24    he's ready for the full assault tomorrow. TK --
   25               That's Travis Kemp, right?
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    1    A. Yes.
    2    Q. -- I'd urge you to be comprehensive, specific and fully
    3    transparent. You should be aggressive and make it clear what
    4    mistakes it is Jason keeps on making so he has a chance to
    5    demonstrate he can fix this.
    6               Do you see that?
    7    A. I do.
    8    Q. You would agree, sir, that the e-mail reflects you're not
    9    a confidante; you're a problematic employee that Mr. Shah had
   10    to trust others to step in and address, right?
   11               MR. HANKEY: Objection. Could we go to sidebar, your
   12    Honor?
   13               THE COURT: Sure.
   14           (Proceedings had at sidebar:)
   15               THE COURT: I'm assuming the remote juror cannot hear
   16    us at sidebar.
   17               If you happen to hear me, Mr. Santiago, please e-mail
   18    Emily and Sydney immediately. But we're going to assume you
   19    can't hear us.
   20               So, go ahead.
   21               MR. HANKEY: Thank you, your Honor.
   22               Your Honor, this is an e-mail that Mr. Ketchum is not
   23    on.
   24               THE COURT: I know.
   25               MR. HANKEY: There shouldn't be questions about it.
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    1               And, honestly, your Honor, I thought this setup was
    2    such that if a witness is going to be asked about -- or if a
    3    document the witness is not on is going to be published, the
    4    witness is going to read it into the record. That was the
    5    order of operation that we used. Here, this is much different
    6    with Mr. Hueston reading the e-mail and then asking questions
    7    about it.
    8               MR. HUESTON: Well, first of all, it's my exam. And
    9    I've never had a rule where I couldn't read what I want read
   10    into the record. So, that's how I want to proceed with my
   11    exam, and it will make it flow more smoothly. So, that's
   12    Point Number One.
   13               THE COURT: Go ahead. What's Point Number Two?
   14               MR. HUESTON: I'm not sure what the other objection
   15    is here. I should -- I think it's, gee, I can't ask him a
   16    question about this. I can ask him and I can say, okay,
   17    setting aside this document, you would agree -- this is
   18    cross-examination about a concept of impeachment, and I
   19    absolutely should be able to ask that.
   20               THE COURT: Well, the topic.
   21               And the document is in evidence, correct?
   22               MR. HUESTON: Yes.
   23               THE COURT: There was no objection from the
   24    government?
   25               MR. HUESTON: Correct.
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    1               MR. HANKEY: Correct.
    2               THE COURT: Well, it's in evidence.
    3               But if you're asking him questions about what people
    4    meant in an e-mail he's not on, I'll sustain the objection.
    5    But there's no problem displaying it since it's in evidence,
    6    and no problem saying what other people said and seeing if he
    7    agrees with it --
    8               MR. HUESTON: That's right.
    9               THE COURT: -- as long as it's in evidence.
   10               Now, I think that is still consistent -- I'll hear
   11    argument at lunchtime with the ruling I made on the document
   12    you had the witness simply read. But using a document that's
   13    in evidence to orientate a witness to a subject or a
   14    conversation, seeing if he agrees or disagrees with it, since
   15    the document is in evidence, I don't see a problem with that.
   16               Again, I'll hear -- if you believe this is
   17    inconsistent with the ruling I made when you put your document
   18    in, I'll hear argument on that at lunchtime.
   19               MR. HUESTON: Yeah. And one other difference with
   20    this document, it's about him. So, he should be able to talk
   21    about whether he agrees or this is right, and that's what I've
   22    asked him.
   23               THE COURT: All right. Objection overruled. As long
   24    as the exhibit is in evidence.
   25           (Proceedings had in open court:)
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    1               THE COURT: All right. Proceed.
    2    BY MR. HUESTON:
    3    Q. Okay, Mr. Ketchum, let me ask the question, again. So,
    4    you'd agree you're not a confidante here; you're a problematic
    5    employee that Mr. Shah had to trust others to step in and
    6    address, right? That's what this shows?
    7    A. I disagree with the sentiment. Employees oftentimes get
    8    coaching from supervisors.
    9    Q. And is it your testimony, sir, that employees were often
   10    asking at Outcome Health whether they were going to get fired?
   11    A. I have no idea what other --
   12    Q. Okay.
   13    A. -- people were doing.
   14    Q. All right.
   15               So, let's go to Mr. Kemp's response here. Mr. Kemp
   16    writes: Sounds good.
   17               Do you see that?
   18    A. Yes.
   19    Q. And, then, down below, Mr. Kemp writes: Sounds good,
   20    Rishi. Guns a blazing.
   21               Right? See that?
   22    A. Yes.
   23    Q. I spoke to Matt a little last night, and I know that he
   24    has some opinion, as well, that he would like to share with
   25    you, as well.
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    1               You know Matt Garms, right?
    2    A. Yes.
    3    Q. And, sir, guns blazing, you understand here Mr. Shah was
    4    okay with Mr. Kemp going guns blazing. That's what this
    5    indicates, right?
    6               MR. HANKEY: Objection, your Honor. Asking to
    7    interpret.
    8               THE COURT: Sustained.
    9               MR. HUESTON: Okay.
   10    BY MR. HUESTON:
   11    Q. Two e-mails up, let's go there, Mr. Kemp writes: Correct,
   12    yeah, I didn't get into it with him --
   13               That's Garms, right?
   14    A. Yes.
   15    Q. -- too deeply. But I know he has made comments in the
   16    past that would be valuable data points.
   17               Right?
   18    A. Yes.
   19    Q. And, sir, let's go to another e-mail, CX 8570. This is a
   20    July 12th e-mail from Mr. Demas to Mr. Shah and Ms. Agarwal,
   21    subject Jason.
   22               Do you see that?
   23    A. Yes.
   24    Q. And let's look at what Mr. Demas writes here: TK, Joe and
   25    Roberto all expressed frustration with Jason. Apparently, his
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    1    lack of attention to detail and poor documentation have
    2    resulted in repeated errors.
    3               Do you see that?
    4    A. Yes.
    5    Q. Travis also told me that Jason often takes the easy path
    6    when it comes to troubleshooting, i.e., quick to schedule work
    7    orders. Travis has had several talks with Jason and has
    8    spoken with Silvia, but now feels the need to escalate the
    9    issue to SMT.
   10               Right?
   11    A. Yes.
   12    Q. Okay.
   13               And, sir, you know SMT means, what?
   14    A. Senior management team.
   15               MR. HANKEY: Objection.
   16    BY MR. HUESTON:
   17    Q. Apart from the --
   18               THE COURT: Well --
   19    BY MR. HUESTON:
   20    Q. -- document, you know what SMT --
   21               THE COURT: Overruled.
   22               MR. HUESTON: Yes.
   23    BY MR. HUESTON:
   24    Q. Go ahead, you can answer. What does that mean?
   25    A. Senior management team.
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    1    Q. Okay.
    2               And we talked about Travis Kemp. You know Joe Nace
    3    (phonetic)?
    4    A. Yes.
    5    Q. And Roberto Meza?
    6    A. Yes.
    7    Q. Who were they?
    8    A. Employees at Outcome Health.
    9    Q. Okay.
   10               So, let's go to DX 3057. And this is an e-mail from
   11    Ms. Agarwal to the senior management team, SMT. Do you see
   12    that?
   13    A. Yes.
   14    Q. Why don't you read the subject line.
   15    A. Another example of unreliable, inaccurate data from JK.
   16    Q. Okay.
   17               And this is 2013, right? March of 2013?
   18    A. Yes.
   19    Q. This is still the period where you're involved -- you're
   20    at the height of your involvement in the fraud, by your
   21    testimony, right? Fair statement?
   22    A. Based on the e-mails that I was shown during my testimony,
   23    yes.
   24    Q. Okay.
   25               And, by the way, senior management team, SMT, just
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    1    apart from this document, you're not part of that listserv,
    2    right?
    3    A. No.
    4    Q. You're not part of the senior management team?
    5    A. No.
    6    Q. Okay.
    7               And, now, to the leaders, the senior management team,
    8    Ms. Agarwal cuts and pastes a chat -- let's look at that --
    9    where you'd be provided information about the match on Qsymia.
   10    Do you see that?
   11    A. Yes.
   12    Q. Okay.
   13               Now, you would agree by looking at this that Ms.
   14    Agarwal in this instance, she's not conspiring to cook up data
   15    with you; she's actually pissed that you can't even get her
   16    reliable numbers, right, sir?
   17               MR. HANKEY: Objection, your Honor.
   18    BY MR. HUESTON:
   19    Q. You're on the e-mail, right, sir?
   20               MR. HANKEY: Asking to interpret.
   21               THE COURT: I understand.
   22               But is Mr. Ketchum on this?
   23               MR. HUESTON: Not on the e-mail. I misspoke.
   24               THE COURT: All right.
   25               But the body of this, is this a conversation with Mr.
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    1    Ketchum and --
    2               MR. HUESTON: Yes.
    3               THE COURT: -- Ms. Agarwal?
    4               MR. HUESTON: Yes, it is.
    5               THE COURT: All right.
    6               He can speak to what's on these.
    7               Off the record.
    8           (Discussion held off the record.)
    9               THE COURT: Back on the record.
   10               Go ahead.
   11    BY MR. HUESTON:
   12    Q. You would agree in this text message with you, she's
   13    pissed you can't even get her reliable numbers, right, sir?
   14    A. I can't speak to if she's mad.
   15    Q. Okay.
   16               She's reporting concerns to a group of people, right?
   17    It's entitled, another example of unreliable, inaccurate data
   18    from you, right? That's what the e-mail indicates?
   19    A. That's what the subject says, yes.
   20    Q. Okay.
   21               Let's go to CX 10125. And this is a February 26th,
   22    2012, e-mail from Ms. Velazquez. That's your supervisor,
   23    right?
   24    A. Yes.
   25    Q. To Mr. Shah, Ms. Agarwal, Mr. Demas, Mr. Garms, Mr. Kemp,
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    1    and others, right?
    2    A. Yes.
    3    Q. And she says: Hello, team. February 26th, 2012, right?
    4    Let's look at where she says, hello, team.
    5               Do you see that?
    6    A. Yes.
    7    Q. And looking above -- you're not part of what she's calling
    8    team there, right?
    9    A. Correct.
   10    Q. And Ms. Velazquez includes personnel notes. So, let's go
   11    to that, the Jason entry.
   12               And the Jason entry says, quote: I'm working with
   13    Jason right now to get better at thoroughly logging member
   14    calls. From a NetOps standpoint MIAs, I know it's something
   15    that Travis has noticed, as well, and we are both pointing it
   16    out to him when we catch it so that he can continue to
   17    improve. At this point, it's similar to Chris's situation. I
   18    feel he gets too excited sometimes that he forgets the
   19    importance and impact of details.
   20               Do you see that?
   21    A. Yes.
   22    Q. Okay. Let's go to CX 10126. And 10126, you can see this
   23    is another e-mail on the senior management team listserv,
   24    right, April 28th, 2012?
   25    A. Yes.
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    1    Q. And midway down the page, there's a header note noting
    2    highlights of quarterly performance review meetings.
    3               Do you see that?
    4    A. Yes.
    5    Q. And this quarterly performance review meetings, you would
    6    agree this is being circulated -- if you look at the top,
    7    you're not part of that group that's privy to that right?
    8    A. Correct.
    9    Q. Okay. And let's see your review at the bottom.
   10               In Jason's review, I stressed the need for him to
   11    slow down and focus on the details. In addition, I informed
   12    him that he will be pulled from anything that I find is a
   13    distraction if he cannot get the basic tasks down because --
   14    if he cannot get the basic tasks down because he can't get
   15    himself to focus.
   16               Do you see that?
   17    A. Yes.
   18    Q. Jason did a horrible job last quarter of staying on top of
   19    his installation and account management cases that were tough.
   20    If an office did not respond to his happy-go-lucky attitude,
   21    he would push it off his priority and task list.
   22               Did I read that correctly?
   23    A. Yes.
   24    Q. Okay.
   25               You would agree, sir, the description of you there,
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    1    setting aside this document, that's not a description of
    2    someone that would want to be included in some kind of
    3    hundred-million-dollar fraud scheme, right, sir?
    4               MR. HANKEY: Objection.
    5               THE COURT: Sustained.
    6    BY MR. HUESTON:
    7    Q. Let's go to another document, CX 10127. Now we're at
    8    April 25th, 2013. And this is an e-mail between Mr. Purdy and
    9    Mr. Shah. Do you see that?
   10    A. Yes.
   11    Q. And, by the way, unlike the other e-mails, there are
   12    just Mr. Purdy and Mr. Shah on this, right? No one else?
   13    A. Correct.
   14    Q. And let's go down to the first page. Mr. Shah writes:
   15    Any early signs on Jason?
   16               MR. HUESTON: Let's see if we can pull that out.
   17    There we are.
   18    BY MR. HUESTON:
   19    Q. As you point out, I think he can be good at times on
   20    personnel-related issues, and he seems to really thrive in and
   21    enjoy those mentoring situations. However, his inability to
   22    subsequently confront the problem directly hampered him there.
   23               Do you see that?
   24    A. Yes.
   25    Q. Good sometimes but unable to confront real problems; is
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    1    that right?
    2               MR. HANKEY: Objection.
    3               THE COURT: Sustained.
    4    BY MR. HUESTON:
    5    Q. Mr. Purdy responds --
    6               MR. HUESTON: Let's go to his response.
    7    BY MR. HUESTON:
    8    Q. -- Jason is definitely an interesting case. As you
    9    surmised, he is pretty good in mentoring situation and
   10    resolving team conflicts early. He has lost a bit of
   11    credibility with Julie because of his errors but was able to
   12    work through the situation well.
   13               Do you see that?
   14    A. Yes.
   15    Q. And this is a reference to lost bit of credibility with
   16    Julie. You see the name Julie?
   17    A. Yes.
   18    Q. And you know that's Julie Gorbery?
   19    A. Who?
   20    Q. Gorbery. Julie Gorbery. Not ringing a bell?
   21    A. No, sir.
   22    Q. Okay.
   23               Let's move to, then that said, he definitely has dug
   24    a bad hole with TK and MG in particular. There have been
   25    quite a few cases that popped up from Elena Clinics he took
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    1    over in particular. We have discussed these and I had three
    2    very stern conversations about all these issues. I didn't go
    3    as far as calling him a liar, but TK and MG firmly believe he
    4    makes things up, under-executes, and tries to frame things to
    5    look good. I think the truth is somewhat in the middle, to be
    6    honest.
    7               Do you see that?
    8    A. Yes.
    9    Q. All right.
   10               And let's -- and Mr. Purdy then responds saying
   11    you're an interesting case, right? Do you see that?
   12               MR. HUESTON: See if we can pull that out.
   13    BY MR. HUESTON:
   14    Q. Jason is definitely -- it's the first embedded e-mail.
   15    And Mr. Purdy responds calling you an interesting case, right?
   16    A. Yes.
   17    Q. And he mentions stern conversations, right, with you?
   18    A. Yes.
   19    Q. And making things up, under-executes and tries to frame
   20    things to look good.
   21               Do you see that?
   22    A. I see that.
   23    Q. And, then, let's look at Mr. Shah's answer above: I think
   24    you/me/JH should talk about this soon/today. JD caught up
   25    with TK/MG, and it seems they are extremely wary of JK and his
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    1    actions. Would be good to walk through what we think is the
    2    best way forward.
    3               Do you see that?
    4    A. Yes.
    5    Q. And, sir, you're aware at this time, document aside, that
    6    people had concerns about your work at this time, right?
    7    A. I see that in the e-mails.
    8    Q. Okay.
    9               In fact, people were wary of you, right?
   10               MR. HANKEY: Objection to the characterization.
   11               MR. HUESTON: Document aside.
   12               THE COURT: Again, if he's aware that that was the
   13    perception of people, he can so state. If he's not, he should
   14    say he doesn't recall it or that's not true.
   15    BY THE WITNESS:
   16    A. I don't recall other than reading this e-mail.
   17    BY MR. HUESTON:
   18    Q. Okay.
   19               Let's go to DX 3054. It's a February 28th, 2013,
   20    e-mail from Mr. Demas --
   21               By the way, that was the CFO at the time, right?
   22    A. Yes.
   23    Q. -- to Ms. Agarwal and Mr. Shah now about a request from
   24    Walgreens. Do you see that?
   25    A. Yes.
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    1    Q. Now, let's go midway down the page. And Ms. Agarwal
    2    summarizing a request from Walgreens for a count of physician
    3    offices, quote-unquote, within ten miles of their store
    4    locations.
    5               Do you see that?
    6    A. Sorry, it kind of zoomed in and out very quickly.
    7               I see that.
    8    Q. All right.
    9               And if you look down further, you can see you used
   10    actually 15 miles for your search radius, right?
   11    A. Yes, it looks that way.
   12    Q. Okay.
   13               And, then, you can see below --
   14               MR. HUESTON: Let's go back up.
   15    BY MR. HUESTON:
   16    Q. -- you didn't respond, right? You didn't respond to this
   17    when Ms. Agarwal brought it up.
   18               My bad. I made a mistake. I'll rerun it at ten
   19    miles like the client asked, right?
   20    A. Looks that way.
   21    Q. Okay.
   22               THE COURT: Go off the record for one minute.
   23           (Discussion held off the record.)
   24               THE COURT: Back on the record.
   25               MR. HUESTON: Thank you.
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    1    BY MR. HUESTON:
    2    Q. And, so, just going back to this, you said 15, but the way
    3    they are clustered so closely, the numbers don't change.
    4    That's what you said, right?
    5    A. Looks that way, yes.
    6    Q. So, you weren't taking responsibility there in that e-mail
    7    for making a mistake, right?
    8    A. I can't speak to that.
    9    Q. Okay.
   10               Let's see what Ms. Agarwal says. She forwards this
   11    to Mr. Shah and Mr. Demas. Do you see that?
   12    A. Yes.
   13    Q. And she writes, quote: I'm looking forward to AD taking
   14    over.
   15               Right?
   16    A. Yes.
   17    Q. And you understand that's a reference to Ashik Desai?
   18    A. Yes.
   19    Q. And, sir, she explains, quote: In the midst of the mess
   20    yesterday and today with TH, not having reliable data should
   21    be the least of our worries, and then the attitude of
   22    justifying it is not good.
   23               Do you see that?
   24    A. I do.
   25    Q. And, then, she writes: I was on a call with Eric of
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    1    Androderm and had to rerun a lot of their follow-up questions
    2    on my own because JK wasn't accurate. He said most docs who
    3    matched Androderm in low deciles were very high decile -- very
    4    high-market deciles. Truth was it was 50/50.
    5               Do you see that?
    6    A. I do.
    7    Q. And you understand she was complaining about you to a
    8    client, right?
    9               MR. HANKEY: Objection.
   10               THE COURT: Sustained.
   11    BY MR. HUESTON:
   12    Q. Separate from this document --
   13               MR. HANKEY: Your Honor, can we go to sidebar,
   14    please?
   15               THE COURT: Sure.
   16           (Proceedings had at sidebar:)
   17               THE COURT: Go ahead.
   18               MR. HANKEY: Your Honor, that's the third or fourth
   19    objection like that that we've -- that's been sustained and,
   20    honestly, with the questioning, that the testimony is
   21    essentially getting out there through the question.
   22               THE COURT: Well, he's reading documents where people
   23    are talking behind his back about bad performance by him.
   24    That's fine. Documents are in evidence. He can publish them
   25    any way he wants. Publish them through this witness is fine.
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    1    The objectionable part is saying -- is referring to that as,
    2    so people were saying X or Y.
    3               MR. HANKEY: That's our objection, your Honor.
    4               THE COURT: Yeah.
    5               No, I mean, your point is being made, Mr. Hueston,
    6    but I think getting into the substance of the e-mail when
    7    they've been objecting, I've sustained the objections. So --
    8               MR. HUESTON: I am trying -- I am listening, and I've
    9    tried to say, now separate from this document, and I put out
   10    the proposition. That's fair game.
   11               THE COURT: Yes, but if you -- I think the way to do
   12    it is, did you know any of this? I'm not going to tell you
   13    how to ask a question, of course.
   14               MR. HUESTON: All right.
   15               THE COURT: But I think the non-objectionable part
   16    is, did you know anything about people talking about your
   17    performance?
   18               MR. HUESTON: Sure. Okay.
   19               THE COURT: Let's try and keep it to that and move it
   20    along. Your point has been made. People objected to his
   21    performance and --
   22               MR. HUESTON: Yep.
   23               THE COURT: -- apparently weren't telling him or at
   24    least he doesn't remember it.
   25               MR. HUESTON: Almost done with the module.
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    1               THE COURT: All right.
    2           (Proceedings had in open court:)
    3               THE COURT: Remember to keep your mics far away from
    4    the -- or your headphones away from the mics.
    5               Okay. Proceed.
    6    BY MR. HUESTON:
    7    Q. So, I'm just going to ask you, Mr. Ketchum, were you aware
    8    that Ms. Agarwal and people at the top levels of the company
    9    were even complaining to clients about your issues?
   10    A. No.
   11    Q. Not aware of that. Okay.
   12               And let's go to the top e-mail, Mr. Demas' response.
   13    And he writes: Agreed. Working closer with JK, I've come to
   14    the conclusion he is a pleaser, my own term.
   15               Do you see that?
   16    A. Yes.
   17    Q. He's more focused on gaining favor with people than he is
   18    on the accuracy or solutions.
   19               Do you see that?
   20    A. I do.
   21    Q. I'm finding he's reluctant to be the bad guy.
   22               Right, sir?
   23    A. I see that.
   24    Q. Okay. So, we can put that aside.
   25               So, we've just looked at e-mails involving a number
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    1    of former Outcome Health employees, right?
    2    A. Yes.
    3    Q. Included your former supervisor Silvia Velazquez?
    4    A. Yes.
    5    Q. Yes?
    6               Matt Garms?
    7    A. Yes.
    8    Q. Roberto Meza?
    9    A. Yes.
   10    Q. Travis Kemp?
   11    A. Yes.
   12    Q. Joe Nace?
   13    A. Yes.
   14    Q. Julie last name unknown?
   15    A. Yes.
   16    Q. All right.
   17               Jayanth Surakanti was on some of these, right?
   18    A. Yes.
   19    Q. And, sir, you'll recall -- you were on some of these
   20    e-mail chains -- these people were making efforts to try to
   21    improve your work, to keep you honest, to get you more
   22    accurate, right?
   23    A. Yes.
   24               MR. HANKEY: Asked and answered, your Honor.
   25               THE COURT: Overruled. He answered the question.
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    1    BY MR. HUESTON:
    2    Q. And you answered "Yes," right?
    3    A. Yes.
    4    Q. Thank you. Let's put that one -- we're done with that
    5    module.
    6               Now, Mr. Ketchum, I just want to table set a little
    7    bit here. We've never met before, right?
    8    A. Correct.
    9    Q. The defense lawyers have not had a chance to speak with
   10    you before today, right?
   11    A. Correct.
   12    Q. But you would agree the government, including most of the
   13    attorneys sitting here today, they've met with you in one form
   14    or the other at least 15 or so times, right?
   15    A. I don't recall the number, but yes.
   16    Q. Okay. Sounds about right?
   17    A. Probably, yeah.
   18    Q. And after those meetings, sir, you're aware that about one
   19    week ago on Monday night after trial ended for the day, the
   20    government filed a motion asking the Court to enter an order
   21    granting you formal statutory immunity. You're aware of that,
   22    right?
   23    A. Yes.
   24    Q. All right.
   25               And that was right before you started testimony,
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    1    right?
    2    A. Yes.
    3    Q. Okay.
    4               Now, prior to that request for formal immunity, you
    5    actually already had an immunity deal, right?
    6    A. Yes.
    7    Q. Yeah. You and the government signed an immunity letter
    8    agreement in June of 2019, right?
    9    A. Yes. I believe that was the timing.
   10    Q. Okay. And that's GX 1026.
   11               MR. HUESTON: And let's just put that up to Page 2.
   12    BY MR. HUESTON:
   13    Q. That's the cover page of that immunity letter, right?
   14    A. Yes.
   15    Q. And that's your signature there at the bottom, right?
   16    A. Yes.
   17    Q. And you understood, sir, under that prior letter
   18    agreement, if you showed up and gave complete, accurate,
   19    truthful testimony, then none of the information you'd give to
   20    the government could be used against you, right?
   21    A. Yes.
   22    Q. Now, despite having that in place, from the formal
   23    statutory immunity that went in last Monday, in that
   24    application your counsel informed the government that you
   25    still plan to invoke the Fifth Amendment right to not
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    1    incriminate yourself if you were called to testify, right?
    2    A. Yes, I believe so.
    3    Q. Let's just take a look to make sure we're on the same
    4    page. CX 10116. And we'll just go to Paragraph 1 of this.
    5    And it states: The United States has subpoenaed Jason Ketchum
    6    to testify at the trial in this matter. Although Mr. Ketchum
    7    has previously indicated a willingness to testify at trial
    8    without immunity, his counsel has indicated that Mr. Ketchum,
    9    following advice of counsel, is likely to invoke his Fifth
   10    Amendment right not to incriminate himself if called to
   11    testify.
   12               Right?
   13    A. Yes.
   14    Q. Okay.
   15               So, it was too risky for you to go forward and
   16    testify without this formal court order of immunity. That was
   17    your understanding, right?
   18    A. I was just following advice of counsel.
   19    Q. Okay.
   20               And with this statutory immunity, you do understand
   21    that now nothing you say can be used against you, not only by
   22    the U.S. Attorney's Office here in Chicago, but all federal
   23    prosecutors in states across the country. You know that,
   24    right?
   25    A. I believe that -- yes, I believe so.
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    1    Q. Right.
    2               That's the ultimate get out of jail free card?
    3               MR. HANKEY: Objection.
    4    BY MR. HUESTON:
    5    Q. You agree, right, sir?
    6               THE COURT: Sustained.
    7    BY MR. HUESTON:
    8    Q. And before you even testified, sir, you knew that a broad
    9    grant of immunity was going to be important to you because
   10    you've admitted, right, at this trial to participating in
   11    crimes, right?
   12    A. Yes.
   13    Q. And, by the way, sir, let's put this immunity agreement in
   14    perspective. Sir, you understood that your crimes potentially
   15    could call for charges with upwards of 20 years of
   16    imprisonment, right, sir? You understood that?
   17    A. Actually, I -- I don't. I didn't.
   18    Q. Okay.
   19               You were not required to plead guilty to a crime,
   20    right, sir?
   21    A. Correct.
   22    Q. Okay.
   23               And you are aware that Mr. Desai pled guilty to a
   24    crime, right?
   25    A. Yes.
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    1    Q. Okay.
    2               And, sir, you were not -- in your immunity agreement,
    3    just so we're clear here, you're not pleading guilty to
    4    something that calls for a ten-year potential term of
    5    imprisonment, right?
    6               MR. HANKEY: Objection. Asked and answered.
    7               THE COURT: Overruled.
    8    BY MR. HUESTON:
    9    Q. Right, sir?
   10    A. I'm sorry, what was the question?
   11    Q. You're not asked to plead to something calling for a
   12    ten-year period of imprisonment, right?
   13    A. Correct.
   14    Q. Not even a five-year period of imprisonment, right?
   15    A. Correct.
   16    Q. Or even one year, right?
   17    A. Correct.
   18    Q. Mr. Desai, you understand, did not get an immunity
   19    agreement, right, sir?
   20    A. I -- I don't know what Mr. Desai got.
   21    Q. Okay.
   22               You understand -- I think in your testimony you said
   23    you taught Mr. Desai certain things about fraud, right?
   24    A. No, I didn't say that.
   25    Q. Oh, okay.
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    1               Were you involved -- just so I can understand, did
    2    you try to tutor Mr. Desai on how to commit fraud in any way
    3    at Outcome Health?
    4    A. No.
    5    Q. All right.
    6               So, then fair to say -- I just like to use this
    7    analogy -- from what you know, it's apples and oranges between
    8    you and Mr. Desai; is that fair?
    9    A. I can't speak to that.
   10    Q. Okay.
   11               But if I represent to you that Mr. Desai might be
   12    facing 20 years of imprisonment, that's certainly apples and
   13    oranges versus --
   14               MR. HANKEY: Objection.
   15    BY MR. HUESTON:
   16    Q. -- what you potentially face --
   17               THE COURT: Sustained.
   18    BY MR. HUESTON:
   19    Q. -- right, sir?
   20               THE COURT: Sustained.
   21    BY MR. HUESTON:
   22    Q. You face zero time if you are adjudged by the government
   23    to give truthful testimony, right?
   24    A. Yes.
   25               THE WITNESS: Sorry, there's a lot of feedback.
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    1    Sorry, your Honor.
    2               THE COURT: We're working on it.
    3               Anyone have their headphones near their microphones?
    4    If you do, just move them away.
    5               Did you hear the question and give an answer to it?
    6               THE WITNESS: I actually don't -- I don't remember if
    7    I did or not. Maybe repeat the question. Sorry.
    8               THE COURT: It said, "You face zero time if you're
    9    adjudged by the government to give truthful testimony," and he
   10    answered, "Yes."
   11               MR. HUESTON: Yes. Okay.
   12               THE COURT: All right. Go ahead.
   13    BY MR. HUESTON:
   14    Q. You'd agree, sir, there's a world of difference between
   15    having to plead guilty to a crime and actually not having to
   16    plead guilty at all? You would agree with me there, right?
   17    A. Yes, sir.
   18    Q. And that was important to you that you didn't have to
   19    plead guilty to a crime, right?
   20    A. I believe so, yes.
   21    Q. In fact, if the government judges your testimony to be
   22    truthful, you'd still have your job as chief innovator at a
   23    tech incubator, right?
   24               MR. HANKEY: Objection.
   25               THE COURT: Overruled.
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    1    BY THE WITNESS:
    2    A. Yes.
    3    BY MR. HUESTON:
    4    Q. Yeah, because that's the job you have now, right?
    5    A. Not an incubator, but yes.
    6    Q. You get to keep your job, right? You won't have to be
    7    separated from your family, wife or child, right?
    8    A. Correct.
    9    Q. Or embarrass your family potentially by having to plead
   10    guilty to a federal crime, right? You're spared that?
   11    A. Correct.
   12    Q. Let's now move to the 15 or so sessions you had with the
   13    government before this trial.
   14               Now, you recall that you first appeared for an
   15    in-person interview at the U.S. Attorney's Office around
   16    August of 2018. Do you remember that?
   17    A. Yes.
   18    Q. Okay.
   19               And at that initial meeting, do you recall --
   20    actually, let's go to Demo Slide 1 and put this up.
   21               MR. HANKEY: Your Honor, I don't know that we've seen
   22    this yet. If not, we'd like to see it first before it's
   23    displayed.
   24               THE COURT: Do you have a hard copy you can show the
   25    government?
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    1               MR. HUESTON: Yeah.
    2               Let's put this down, please.
    3               THE COURT: Let's take it off the screen, please.
    4    Defense counsel -- thank you.
    5               MR. HUESTON: Sorry. Thought we -- thought I
    6    disclosed it.
    7           (Brief pause.)
    8               MR. HANKEY: May we have a sidebar, your Honor?
    9               THE COURT: All right.
   10           (Proceedings had at sidebar:)
   11               THE COURT: Go ahead.
   12               MR. HANKEY: Does the Court have a copy of these
   13    slides?
   14               THE COURT: I don't.
   15               MR. HANKEY: Okay. Well --
   16               THE COURT: Are these just slides indicating who is
   17    at meetings?
   18               MR. HUESTON: Exactly. And, then, later -- let me
   19    finish. So, yes, that's all I'm going to establish. If he
   20    doesn't remember, I'll show him the 302 to refresh his
   21    recollection. I'm sure he's going to say, yep, that's who was
   22    there.
   23               THE COURT: Right.
   24               MR. HUESTON: And the date. That's it.
   25               Now, later I do -- and if he doesn't remember, I
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    1    won't show the slide.
    2               But he makes statements in some of these sessions,
    3    and if he doesn't remember, I'm going to refresh his
    4    recollection. I'm guessing he's going to say, yep, I believe
    5    this is what I said. I'm going to put some of those into
    6    slides later on those dates.
    7               THE COURT: What's the objection?
    8               MR. HANKEY: So, first of all, as to the attendees,
    9    his attorneys listed on the slides, we don't understand why
   10    that's relevant.
   11               THE COURT: Because he was there. I mean --
   12               MR. HUESTON: Correct.
   13               THE COURT: -- I think any session with the
   14    government in prep, it's unprivileged. He's not a client.
   15    You don't have a client really in any sense when you prep
   16    witnesses. And anybody who's attending a prep session, from
   17    the witness to the attorneys to the defense lawyer, is fair
   18    game to point out. Now, most people do it orally, but it's
   19    effective -- probably more effective -- to do it in this
   20    manner. There's nothing objectionable about that.
   21               MR. HANKEY: The bigger issue, your Honor, is that
   22    the slides contain summaries of representations that were made
   23    by him during the meeting. That's hearsay. He hasn't -- no
   24    foundation for prior inconsistent statement has been made yet.
   25               THE COURT: Response?
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    1               MR. HUESTON: Well, I'm not putting that slide up
    2    first.
    3               THE COURT: Right.
    4               MR. HUESTON: Those are later slides.
    5               THE COURT: You're simply going to ask him, did you
    6    say this at that session?
    7               MR. HUESTON: Yeah.
    8               THE COURT: If he acknowledges it, you can put it on
    9    the demonstrative screen. If he denies it, then you try and
   10    refresh his recollection with anything you want, including the
   11    302. If he still denies it and says, I don't remember saying
   12    it, at that point you'll be allowed to put in that, presumably
   13    by way of stipulation or by calling the FBI agent out of order
   14    right after this witness is off the stand, to perfect the
   15    impeachment.
   16               That's the procedure that should be followed. So,
   17    we'll take it a step at a time. But these initial ones about
   18    who's at the meeting are perfectly permissible.
   19               MR. HANKEY: Yes, your Honor.
   20               THE COURT: Objection overruled.
   21           (Proceedings had in open court:)
   22               THE COURT: All right. Please proceed.
   23               MR. HUESTON: Okay.
   24               So, let's go put up Demonstrative No. 1.
   25    BY MR. HUESTON:
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    1    Q. And I realize this is a ways ago, and happy to show you a
    2    report of interview to refresh your recollection. But does
    3    this sound right to you at that first meeting, there was FBI
    4    Special Agent Mark Stakem and government attorneys Mr. Hankey,
    5    Mr. Johnston and Mr. Adam -- Mr. Madden?
    6    A. Yes.
    7    Q. Okay. Very good.
    8               So, at this initial meeting, Mr. Ketchum, you recall
    9    being shown and asked about a number of documents relating to
   10    your time at Outcome Health, right?
   11    A. Yes.
   12    Q. Okay.
   13               And you didn't have a lawyer at that first meeting,
   14    right?
   15    A. No.
   16    Q. And the information you provided at this initial meeting,
   17    you would agree it was pretty different from what you'd say
   18    later to the government; is that fair?
   19    A. Can't speak to that.
   20    Q. Okay.
   21               Well, you understand, sir, that one of the issues you
   22    were asked about on direct is whether Mr. Shah and Ms. Agarwal
   23    disclosed to clients that sales figures included projections.
   24    Remember that?
   25    A. Yes.
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    1    Q. And -- but when you first appeared for an interview, Mr.
    2    Ketchum, you told the government and the FBI agent that it was
    3    your understanding that Mr. Shah, Ms. Agarwal did communicate
    4    separate growth in installation numbers.
    5               Do you remember that?
    6    A. I do.
    7    Q. Okay.
    8               So, let's go to Demonstrative Slide No. 2. And
    9    that's what I just stated and you said "Yes" to, right? That
   10    you said that you believe that Shah and Agarwal communicated
   11    to pharmas that Outcome Health was providing the pharmas two
   12    numbers, one installed, one growth, right?
   13    A. Yes.
   14    Q. All right.
   15               Now, let's -- let me ask you, sir, something happened
   16    in that first meeting where you showed up voluntarily without
   17    an attorney that made you feel uncomfortable, right?
   18    A. Yes.
   19    Q. You didn't leave the meeting feeling the same way as when
   20    you entered it, right? Is that fair?
   21    A. I can't really speak to that, but --
   22    Q. Okay.
   23               You left the meeting feeling uncomfortable?
   24    A. Yes.
   25    Q. So, after that meeting, you went out and hired a white
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    1    collar criminal defense attorney, right?
    2    A. No. That wasn't the --
    3    Q. All right.
    4    A. -- order of operation.
    5    Q. You hired Daniel Collins?
    6    A. I did.
    7    Q. Okay.
    8               He's a lawyer?
    9    A. Yes.
   10    Q. All right.
   11               And, then, with your lawyer, right, you then next met
   12    with the government in December 2018, right? Actually, you
   13    were there with two attorneys at the time. Do you remember
   14    that? Dan Collins and Christina Chapin?
   15    A. Yes, I recall.
   16    Q. Sounds about right?
   17    A. Yes.
   18    Q. And let's put up Demo 3 on the second meeting. And you
   19    recall that's around December 13th, 2018, right?
   20    A. Yes.
   21    Q. And you recall, again, FBI agent Special Agent Mark
   22    Stakem, right?
   23    A. Yes.
   24    Q. And, again, the government attorneys, Mr. Hankey,
   25    Mr. Johnston, Mr. Madden, and Dan Collins, your counsel,
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    1    right?
    2    A. Yes.
    3    Q. All right.
    4               MR. HUESTON: We can put that down.
    5    BY MR. HUESTON:
    6    Q. At this time, before you showed up for that second meeting
    7    in December 2018, you had gotten an agreement that the
    8    government would generally not be able to use your statements
    9    at that meeting against you, right?
   10    A. Yes.
   11    Q. That's called a proffer. You understand that, right?
   12    A. I don't know what it was called, but that was what I
   13    understood.
   14    Q. Okay.
   15               Yeah, let's forget the term. But you understood
   16    that, basically, the rules are tell us everything you know and
   17    we won't use it against you, right?
   18    A. Yes.
   19    Q. Okay.
   20               And we'll consider a deal, right?
   21    A. I don't know about the last part, but --
   22    Q. All right. All right.
   23               And you did understand at that time, by that time,
   24    that the government was conducting a criminal investigation,
   25    right?
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    1    A. Yes.
    2    Q. And you would admit at that time as you were thinking
    3    about all this, you thought about, you know, boy, if I get
    4    indicted, that would really impact my career, my family. You
    5    thought about that, right?
    6    A. Sure, yes.
    7    Q. Now, at that -- starting at that proffer session, sir,
    8    with knowledge that there's a criminal investigation, you
    9    recall that your story that you were telling the government
   10    began to change. Do you remember that?
   11    A. I recall being shown e-mails and talking through the
   12    e-mails that were being shown to me.
   13    Q. That caused you to change your testimony and story?
   14    A. No. There was just more e-mails that were shown. And
   15    when I was explaining what the e-mails were showing, it
   16    became -- I was just telling the truth of what was being shown
   17    in the e-mails.
   18    Q. Okay. Well, let's go through these sessions.
   19               So, I'm going to ask you first about ROI slide decks.
   20    Return on investment in slide decks. Do you remember
   21    testifying that on direct?
   22    A. Yes.
   23    Q. And do you recall, sir, that when you were first asked
   24    about those criteria and the edits Mr. Shah made to the ROI
   25    slide decks, you said that Mr. Shah made changes based on
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                                   Ketchum - cross by Hueston
                                                                                    1194

    1    logic he believed was more correct, and that he told you his
    2    rationale at the time.
    3               Do you remember that?
    4    A. Yes.
    5               MR. HANKEY: Objection as to date.
    6               THE COURT: Yeah, why don't we make it specific to a
    7    time.
    8               MR. HUESTON: Okay.
    9               THE COURT: If there is a specificity you can put in
   10    the question.
   11               MR. HUESTON: Sure.
   12    BY MR. HUESTON:
   13    Q. That was actually at your second meeting. So, the answer
   14    to that was "Yes," right?
   15    A. Yes.
   16    Q. And you recall that was at your second meeting there at
   17    the proffer, right?
   18    A. I don't recall the meeting, but I do recall saying that.
   19    Q. Okay.
   20    A. Something to that effect.
   21    Q. Well, let's see if we -- just to make sure that we are
   22    certain here, let's go to 5655 just for identification
   23    purposes. And --
   24               MR. HANKEY: Your Honor, this should be to the
   25    witness --
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                                   Ketchum - cross by Hueston
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     1               THE COURT: Yes.
     2               MR. HANKEY: -- right?
     3               THE COURT: Take it off the screen for the jurors.
     4               MR. HUESTON: For identification meant just for the
     5    witness. Apologies.
     6               THE COURT: Can you show it just to the witness or do
     7    I need to switch it here?
     8               MS. DOMINIAK: Your Honor, I can play through remote
     9    witness, but I need you to blank the screen for jurors.
   10                THE COURT: All right. I'll do that.
   11                MS. DOMINIAK: Thank you.
   12                THE COURT: You can show it to the witness.
   13                MR. HUESTON: Sure.
   14                THE COURT: And you're blanking it to the remote
   15     juror, correct?
   16                MS. DOMINIAK: I am, your Honor.
   17                THE COURT: All right. Thank you.
   18     BY MR. HUESTON:
   19     Q. Okay. And, sir, you see down on the bottom there,
   20     investigation on 12-13-2018, right?
   21     A. Yes.
   22     Q. Okay.
   23                And just to reorient, you remembered that as the time
   24     of your second meeting, this proffer meeting, right?
   25     A. Yes.
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                                   Ketchum - cross by Hueston
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     1    Q. Okay.
     2               And, then, why don't we flip quickly to a reference
     3    to Tabs 51, 52, 53, 54, 55, which is on Page 13.
     4               MR. HUESTON: One more.
     5    BY MR. HUESTON:
     6    Q. And just take a look at that and read it and just tell me
     7    if this refreshes your recollection, yeah, this is when you
     8    said what we just covered.
     9    A. Can I have a moment to read it?
   10     Q. Yeah. Yeah. That's the idea.
   11     A. Okay. Sorry.
   12                THE COURT: While he's reading it, ladies and
   13     gentlemen, what's going on here is the witness is -- Mr.
   14     Hueston is seeing if he can refresh the witness' recollection
   15     showing him a document that otherwise is inadmissible in
   16     evidence. But this is to see if his memory is refreshed; and,
   17     if it is, he can testify from a refreshed memory.
   18                If this seems confusing, blame the British. This is
   19     all based on British law that started many centuries ago. But
   20     these are the rules of evidence and we need to follow the
   21     rules. So, that's what's going on right now.
   22           (Brief pause.)
   23     BY MR. HUESTON:
   24     Q. Okay. So, question, does this refresh your recollection
   25     that what you said you discussed, it's right here, right?
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                                   Ketchum - cross by Hueston
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     1    A. Yes.
     2    Q. Okay. Great.
     3               So, that's at that second meeting, the proffer?
     4    A. Yes.
     5    Q. Great. Great.
     6               THE COURT: All right. You can take the --
     7               MR. HUESTON: We can take that down now.
     8               THE COURT: -- exhibit off now. Put the screen back
     9    up for the jury.
   10                MR. HUESTON: Very good.
   11                THE COURT: And make sure the remote juror has a full
   12     screen now, too, please.
   13     BY MR. HUESTON:
   14     Q. And, again, just to set the table, this is the second
   15     meeting. Now, you know, you're there with a proffer, right?
   16     A. Yes.
   17     Q. And that -- this is the time where you're supposed to be
   18     totally honest and telling the complete truth, right?
   19     A. Yes.
   20     Q. And when you were explicitly asked about these ROI
   21     filters -- you just looked at your testimony there, your
   22     summary -- not a peep about any wrongdoing from Mr. Shah or
   23     Ms. Agarwal on that, right?
   24     A. Not in the segment -- the segment that you showed me, no.
   25     Q. Okay.
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                                   Ketchum - cross by Hueston
                                                                                     1198

     1               So, let's now go to the next meeting. You met with
     2    the government a third time around May of 2019. Does that
     3    sound about right?
     4    A. I can't speak to the timeline, but if that's the date on
     5    the note, then --
     6    Q. Okay. For purposes of moving this along, let me represent
     7    that that's right.
     8    A. Okay.
     9    Q. Let's put up Demo 6, and let me see if this helps you
   10     orient here on the third meeting.
   11                And, so, the third meeting on May 2nd, 2019, again,
   12     same people attending with yourself, right?
   13     A. Yes.
   14     Q. Mr. Stakem, government attorneys, and your attorney
   15     Mr. Collins, right?
   16     A. Yes.
   17                THE COURT: If this gets to be too much, we'll have
   18     the tech person come up. I think he's on his way anyway to
   19     see if we can fix this. But otherwise, we're going to try and
   20     --
   21                MR. HUESTON: Okay. Right.
   22                THE COURT: -- power through to the lunch break if we
   23     can.
   24                MR. HUESTON: Yeah.
   25                THE COURT: It's getting worse.
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                                   Ketchum - cross by Hueston
                                                                                     1199

     1    BY MR. HUESTON:
     2    Q. Sir, at this meeting, you were, again, asked about return
     3    on investment, and at this time, you said you didn't think it
     4    had anything to do with device shortfalls when you were at
     5    Outcome Health. Do you remember that testimony?
     6    A. I don't.
     7    Q. Let me see if I can refresh your recollection.
     8               MR. HANKEY: Objection to the reference to it being
     9    testimony.
   10                THE COURT: Well, let's see if his memory is
   11     refreshed. He can affirm the predicate of the question.
   12                MR. HUESTON: Yes.
   13                So, let's go to -- and this is just for the witness
   14     and attorneys -- 5656.
   15     BY MR. HUESTON:
   16     Q. And we're going to go to Page 9. And I'm going to
   17     highlight a sentence, and I'll ask you to read it and see if
   18     that refreshes your recollection that you said this at this
   19     time.
   20                MR. HUESTON: Let's highlight it. Let's underscore
   21     the last sentence.
   22     BY MR. HUESTON:
   23     Q. Does that refresh your recollection that that's one of the
   24     statements you made in that interview with the government?
   25     A. I -- I don't recall making that statement, but I do see it
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                                   Ketchum - cross by Hueston
                                                                                     1200

     1    here.
     2    Q. Okay.
     3               MR. HUESTON: At this time, we'd ask for a government
     4    stipulation to simply read this in as a summary recorded by
     5    Special Agent Mark Stakem.
     6               THE COURT: Any objection to that?
     7               MR. HANKEY: Could we go to sidebar, your Honor?
     8               THE COURT: All right.
     9            (Proceedings had at sidebar:)
   10                THE COURT: All right. Go ahead.
   11                MR. HANKEY: Your Honor, we would agree to stipulate
   12     after the testimony, but we're not going to do it during the
   13     testimony.
   14                THE COURT: I'll give you the same leeway on defense.
   15     It's completely ineffective and, I think, not helpful to the
   16     jury, which is my only concern -- not that it's helpful to the
   17     defense or the government; it's not helpful to the jury -- to
   18     hear impeachment even at the end of what may be an all-day
   19     cross-examination. You want to stipulate to it now, fine. I
   20     can't force you to stipulate. But I may -- I don't want to be
   21     in a position where I interrupt his testimony and we call
   22     Mr. Stakem --
   23                Is he in the courtroom?
   24                MR. HANKEY: He's present, yes, your Honor.
   25                THE COURT: Present.
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                                   Ketchum - cross by Hueston
                                                                                     1201

     1               -- have him come up right now and read his 302.
     2               That's the alternative. And I'll interrupt this
     3    right now.
     4               So, please stipulate because -- and I'll give you the
     5    same opportunity when it's on the defense side. But we're
     6    fighting about a fact that's not in dispute. This is what the
     7    -- he said to the agent, unless the agent is the first agent
     8    in my experience to disavow something said in a 302.
     9               I know this may seem unconventional, but this is the
   10     rule I told you, at least in general -- maybe not interrupting
   11     the testimony, but I didn't anticipate testimony this long.
   12     And I'm concerned the jury will not understand impeachment
   13     that occurs after a witness is off the stand when he may be
   14     another day or day-and-a-half before he's off.
   15                MR. HANKEY: Your Honor, may I take a moment to
   16     consult?
   17                THE COURT: Go ahead. Please do.
   18           (Brief pause.)
   19                MR. HANKEY: Okay, your Honor. We'll agree to it,
   20     although we'll just note that we do believe this is a change
   21     to the process in the middle.
   22                THE COURT: Well, in general, I think it's the same
   23     process, but it -- and perhaps I am changing it on the fly
   24     here, but I'm recognizing that the -- doing this at the end of
   25     a witness' testimony is simply not nearly as helpful to the
Case: 1:19-cr-00864 Document #: 586 Filed: 11/29/23 Page 107 of 293 PageID #:13759
                                   Ketchum - cross by Hueston
                                                                                     1202

     1    jury as doing it in the middle. And a simple stipulation that
     2    this is what he said -- he's not denying it. All he's saying
     3    is he doesn't remember it.
     4               And if you stipulate to it, that's going forward,
     5    this is not a -- well, I'll let you evaluate the impeachment
     6    value, et cetera. But he's just saying he doesn't remember
     7    it. And for an agent to come in and say he does remember it
     8    or this is what he said is a simple thing that could be done
     9    and should be done and is allowed to be done. Because the law
   10     is that if a person doesn't recall it, that's as if he's
   11     saying -- that's a denial and you can perfect impeachment
   12     through such a process.
   13                I'm just -- I believe under -- I believe it's -- I'll
   14     give you the Federal Rule of Evidence cite that I can control
   15     the order of the presentation of evidence for the convenience
   16     of the jurors. In fact, I am going to get the rule cite. I
   17     believe it is 60- -- I apologize here. If anyone can find the
   18     one that deals with the order of cross-examination, I'll be in
   19     your debt.
   20                MR. HANKEY: 611, your Honor.
   21                THE COURT: Thank you.
   22                Under 611, I can control the mode of direct and
   23     cross-examinations to avoid wasting time and make procedures
   24     for determining the truth effective. And under that rule, I'm
   25     asking you to stipulate to this. Otherwise, because I can't
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                                   Ketchum - cross by Hueston
                                                                                     1203

     1    force a stipulation, I'll do what I said: We'll interrupt Mr.
     2    Ketchum's testimony; we'll call the agent; he will say what
     3    was said in that interview, which I hope you don't want to do.
     4    But that's the alternative.
     5               MR. HANKEY: We'll agree to it reluctantly, your
     6    Honor.
     7               THE COURT: Over objection. That's fine. I
     8    understand. But that's the basis for my ruling.
     9               Okay. How do you want to proceed? Do you want to
   10     just, Mr. --
   11                MR. HUESTON: I will simply ask if the government is
   12     prepared to stipulate that the following was recorded by
   13     special agent statement, quote, and that's it.
   14                THE COURT: Yeah, all right.
   15                And that's how we'll do it unless you have another
   16     procedure for that, that part of it.
   17                MR. HANKEY: We can do that for now. If we have
   18     something else to offer at lunch, we'll let you know.
   19                THE COURT: Sure. A different way of stating it, but
   20     the same effect is going to happen?
   21                MR. HANKEY: Yes.
   22                THE COURT: Okay. Thank you.
   23           (Proceedings had in open court:)
   24                THE COURT: All right. Proceed.
   25                MR. HUESTON: Is the government prepared to stipulate
Case: 1:19-cr-00864 Document #: 586 Filed: 11/29/23 Page 109 of 293 PageID #:13761
                                   Ketchum - cross by Hueston
                                                                                     1204

     1    that Special Agent Stakem wrote down and recorded in this
     2    interview with Mr. Ketchum: "Around this time, Ketchum didn't
     3    think OH failing to deliver on ROI had to do with device
     4    shortfalls"?
     5               MR. HANKEY: Your Honor, we'd ask that we stipulate
     6    to the whole paragraph, for rule of completeness.
     7               THE COURT: Go ahead. Read in the whole paragraph.
     8               MR. HUESTON: Sure.
     9               THE COURT: And the idea of recording -- there's not
   10     tape recordings. These are sit-down interviews where the
   11     agents take notes. And this is his record of the meeting when
   12     he has his notes typed up.
   13                And, yeah, go ahead with the full paragraph, please.
   14                MR. HUESTON: Ketchum shared specifics of the
   15     Glassdoor post with an OH interviewer or the OH candidate
   16     after the candidate raised issues of possible fraud at OH.
   17     Ketchum didn't remember the OH interviewer's name or the OH
   18     candidate. Around this time, Ketchum didn't think OH failing
   19     to deliver on ROI had to do with device shortfalls.
   20                MR. HANKEY: The government so stipulates.
   21                THE COURT: All right. Proceed.
   22                MR. HUESTON: So, let's go to Demo 7, please.
   23                THE COURT: Take that off. Okay.
   24                MR. HUESTON: Yeah. And let's just go to
   25     Demonstrative 7 with the quote.
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                                   Ketchum - cross by Hueston
                                                                                     1205

     1    BY MR. HUESTON:
     2    Q. And that's what -- Ketchum didn't think OH failing to
     3    deliver on ROI had to do with device shortfalls? That's what
     4    I just read, right, sir?
     5    A. Yes.
     6    Q. Okay.
     7               Now, again in the May 2019 meeting, you were
     8    accompanied, as we covered, right, with your attorney, right?
     9    A. Yes.
   10     Q. And, then, after that third meeting in May of 2019, your
   11     attorney indicated to the government that you had information
   12     about your time at Outcome Health that tended to incriminate
   13     you. Do you remember roughly that happening?
   14     A. Yes.
   15     Q. Okay.
   16                And it's at that time you ended up getting your first
   17     immunity agreement that we talked about earlier? Around that
   18     time, the letter immunity agreement?
   19     A. Okay.
   20     Q. All right.
   21                And, sir, we touched on this earlier, but I just want
   22     to make sure it's clear. One of the important terms -- let's
   23     go to GX 1026, which is that letter immunity deal. One of the
   24     important terms is that -- if we get to this, at Pages 1 to
   25     2 -- if the government determines you have not fully complied
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                                   Ketchum - cross by Hueston
                                                                                     1206

     1    with the agreement, then the statements you made can be used
     2    as evidence in criminal prosecution against you, right?
     3    A. Yes.
     4    Q. You understood that?
     5    A. Yes.
     6    Q. So, you understood that you don't get a say in that
     7    determination, the government determines that, right?
     8    A. Yes.
     9    Q. The Judge doesn't determine that. It's the government,
   10     right?
   11     A. Yes.
   12     Q. Government, and government alone, right?
   13     A. It's my understanding.
   14     Q. And you understand that if you change your story, sir, you
   15     risk losing your deal and you may be subject to prosecution,
   16     right?
   17     A. I was just reading through e-mails, sir.
   18     Q. Just in terms of what -- you know, your possible exposure,
   19     if you, in fact, change your story, make a false statement,
   20     you could be prosecuted for making a false statement, right?
   21     A. Yes.
   22     Q. All right.
   23                Now, after receiving this immunity deal on around
   24     July 2019 -- 23rd, 2019, you met for a fourth time with the
   25     government, right?
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                                   Ketchum - cross by Hueston
                                                                                     1207

     1    A. Yes.
     2    Q. And, so, let's just put up Demo 8. And you recall the
     3    fourth meeting July 23rd, 2019, there was an agent -- FBI
     4    agent there, Christopher Santangelo and basically the same
     5    attorneys from the government and your attorney, right?
     6    A. Yes.
     7    Q. Okay.
     8               And by that time you had your letter immunity
     9    agreement, right?
   10     A. Yes.
   11     Q. All right.
   12                Now, two days later, you met for a fifth time to
   13     testify as a witness for the government before the grand jury,
   14     right?
   15     A. Yes.
   16     Q. All right.
   17                And let's go to Demo 9. And at that grand jury,
   18     there was the FBI agent there and Mr. Hankey, Mr. Johnston,
   19     Mr. Madden, right?
   20     A. Yes.
   21     Q. And you had your immunity deal at that time, right?
   22     A. Yes.
   23     Q. Now --
   24                MR. HUESTON: We can put that down.
   25     BY MR. HUESTON:
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     1    Q. You remember when you appeared before the grand jury, you
     2    read the text of a written statement that the government wrote
     3    for you, right?
     4    A. It was written together, but yes.
     5    Q. Okay.
     6               And, sir, in that text that was written, you would
     7    agree that what you said was drifting more and more away from
     8    what you said in the earlier sessions with the government,
     9    right?
   10     A. I'm not sure I agree to that.
   11     Q. Okay.
   12                Let's go to one example. Earlier we discussed how
   13     when you were first asked about applying filters to get a
   14     return on investment, you said that Mr. Shah was making
   15     changes based on logic he thought was more correct, right?
   16     Remember --
   17     A. Sure.
   18     Q. Okay.
   19                And as we covered, you don't recall saying a peep in
   20     those earlier sessions about wrongdoing on the ROI by Mr. Shah
   21     through those early sessions, right?
   22     A. Not from what you've shown me today, no.
   23     Q. Okay.
   24                But, sir, before the grand jury, you read the script
   25     that said you actually believe that Mr. Shah's criteria had
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     1    the effect of raising return on investment, right?
     2    A. Yes, that's true.
     3    Q. And a brand-new theory showing up for you in a script
     4    written by the government, right?
     5               MR. HANKEY: Objection. Characterization.
     6               THE COURT: Sustained.
     7    BY MR. HUESTON:
     8    Q. First time that you had been mentioning this up through
     9    those recorded interviews, right, sir?
   10     A. I can't speak to that, but --
   11     Q. Okay.
   12                Well, let's go to another example. You said in your
   13     third interview -- we covered this just earlier -- that there
   14     was no connection between device shortfalls and ROI, right?
   15     A. I believe it said I believed at the time there was none.
   16     Q. Okay.
   17                But then just before the grand jury, then for the
   18     first time you said there was a connection, right?
   19     A. I'd have to see what was said specifically at the grand
   20     jury.
   21     Q. Yeah, I'm going to show you that. But let me see if I
   22     can -- if you'll remember this.
   23                Do you recall saying you knew that ROI studies left
   24     out offices without devices, quote, to make the client believe
   25     they got what they paid for? Do you remember saying that?
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     1    Sound about right?
     2    A. Yes.
     3    Q. Okay.
     4               So, let's go to Demo 12. And, sir, on the left --
     5    this is what we covered in your fifth meeting, which was with
     6    the grand jury -- those are the people that were present. At
     7    that time, you had your immunity agreement, right?
     8    A. Yes.
     9    Q. And there's the statement that was written by the
   10     government, right?
   11     A. Yes.
   12     Q. And, then, you stated: I also knew -- statement written,
   13     I think you said, by the government and you had some input on
   14     that, right?
   15     A. Yes.
   16     Q. Okay.
   17                And, then, at the bottom, as we covered, I also knew
   18     that the purpose of creating the list for IMS in this manner
   19     was to make clients believe that they were getting what they
   20     paid for, right?
   21     A. Yes.
   22     Q. That's what you said.
   23                But in contrast, in the third meeting that we just
   24     covered, as we just read in from the agent's notes of
   25     interview, that you didn't think OH failing to deliver on ROI
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     1    had to do with device shortfalls, right?
     2    A. That is what it said --
     3    Q. Okay.
     4    A. -- from the note in the third meeting, yes.
     5               THE COURT REPORTER: I'm sorry, sir, I didn't hear
     6    that.
     7               THE WITNESS: Sorry. That is what the note from the
     8    third meeting said.
     9    BY MR. HUESTON:
   10     Q. We can put that aside.
   11                Now, again, as we covered in your first interview
   12     when you came in, you told the FBI you believe that Mr. Shah
   13     and Ms. Agarwal disclosed projections to clients. Remember?
   14     A. Yes, I recall that at the time.
   15     Q. Okay.
   16                And after you got your immunity deal, you told the
   17     grand jury that clients were led to believe that all screens
   18     in a list match were installed as of the date of the list
   19     match and that projections were not disclosed, right, sir?
   20     A. I think there's some context that's being left out of the
   21     communication.
   22     Q. Well, I'm just asking you do you recall saying that before
   23     the grand jury?
   24     A. Yes.
   25     Q. Okay. That's all I wanted.
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     1               So, let's go to Demo 13 and look side by side between
     2    those two things.
     3               So, again, now after you got your immunity deal
     4    before the grand jury, you stated: They wanted clients to
     5    believe that Outcome had a higher number of doctors' offices
     6    and devices installed as of the date of the list match than
     7    Outcome really had.
     8               In your first meeting, almost a year before that, you
     9    said, as we had reviewed: Ketchum believed Shah and Agarwal
   10     communicates to pharmas that Outcome Health was providing the
   11     pharmas two numbers, one installed, one growth.
   12                Right, sir?
   13     A. Shown a lot of e-mails between those two --
   14     Q. Okay.
   15     A. -- time periods.
   16     Q. Just covering what we've -- I'm just summarizing what
   17     we've just covered, right?
   18     A. Yes.
   19     Q. Okay.
   20                MR. HUESTON: We can put that down.
   21     BY MR. HUESTON:
   22     Q. Now, you continued to meet with the government even after
   23     that grand jury testimony, right?
   24     A. Yes.
   25                THE COURT: Can I talk to the attorneys at sidebar
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     1    for a moment.
     2            (Proceedings had at sidebar:)
     3               THE COURT: There's been many references now to grand
     4    jury. I think jurors need to know this is not a second trial.
     5    If you're willing to let me at least say the grand jury is a
     6    body the government uses, a group of people where the
     7    government has witnesses come in to testify, either read --
     8    well, testify; I'll leave at that -- but it's not a separate
     9    trial, there was no earlier trial in this case.
   10                I won't talk about their indictment function, just
   11     that they are a group of people that hears testimony under
   12     oath.
   13                Any objection to that by the government?
   14                MR. HANKEY: None from the government.
   15                THE COURT: Defense?
   16                MR. HUESTON: No.
   17                MS. BELL: No objection, your Honor.
   18                MR. POULOS: No, your Honor.
   19                THE COURT: Okay. Very good.
   20             (Proceedings had in open court:)
   21                THE COURT: Ladies and gentlemen, you've heard a lot
   22     about grand jury. I can assure you there was no earlier trial
   23     before a jury. A grand jury is simply a group of people,
   24     group of citizens like yourselves brought in to allow the
   25     government to do investigations where people come in and
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     1    testify under oath. That's all it is. That's the mechanism.
     2    And it's not as if there was another earlier trial in this
     3    case. So, if you're unfamiliar with the term "grand jury," I
     4    wanted to give you that definition.
     5               Please proceed.
     6               MR. HUESTON: Thank you.
     7    BY MR. HUESTON:
     8    Q. Okay. Let's see if we can move through the other meetings
     9    quickly here. Let's go to Demo 14.
   10                You remember you kept meeting with the government
   11     afterwards, right?
   12     A. Yes.
   13     Q. All right.
   14                So, let's put up Demo 14. You recall this is roughly
   15     September, September 28th, 2022. Again, basically the same
   16     people there, FBI agent Special Agent Mark Stakem, DOJ
   17     attorneys Mr. Hankey, Mr. Johnston, Mr. Madden, and your
   18     counsel is there, right?
   19     A. Yes.
   20     Q. And you still had your immunity deal at that time, right?
   21     A. Yes.
   22                MR. HUESTON: So, we can put that down.
   23     BY MR. HUESTON:
   24     Q. There was then a seventh meeting on November 15th, 2022.
   25     So, we're getting pretty -- just a couple of months ago or so,
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     1    right?
     2    A. Yes.
     3    Q. Let's pull that up. That's Demo 15. And let's just
     4    quickly review. That's November 15th, 2022. And does this
     5    roughly accord with your memory? This was with FBI agent
     6    Special Agent Santangelo, DOJ attorneys Mr. Hankey, Mr.
     7    Madden, and you had your counsel there, too, with your grant
     8    of immunity, right?
     9    A. Yes.
   10     Q. Okay.
   11                And, then, let's go to Demo 16. There was yet
   12     another meeting you had with the government around December
   13     2nd, 2022. It was less than a couple months ago. Or December
   14     1st, I guess. Do you see that?
   15     A. Yes.
   16     Q. And, again, Special Agent Santangelo, DOJ attorneys
   17     Mr. Hankey, Mr. Madden, and you had counsel there, as well,
   18     right?
   19     A. Yes.
   20     Q. Still under your immunity deal, right?
   21     A. Yes.
   22     Q. And, then, Demo 17, a tenth time, couple days before New
   23     Year's Eve. Do you remember having to trek downtown on the
   24     eve of New Year's Eve?
   25     A. Yes.
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     1    Q. Yeah.
     2               MR. HUESTON: And let's pull that up. That's going
     3    to be Demo 17.
     4    BY MR. HUESTON:
     5    Q. Okay. And this says December 2, but I think it should say
     6    December 30th. You remember that, right? Oh, there we are.
     7    There's the tenth meeting.
     8               Do you see that?
     9    A. Yes.
   10     Q. And does that appear to be right? FBI Special Agent
   11     Stakem, basically the same folks from DOJ and your counsel?
   12     We added Mr. Appleby-Bhattacharjee here, right?
   13     A. Yes.
   14     Q. And, then, let's go to the next demonstrative, the
   15     eleventh meeting. This is on January 19th, right?
   16                THE COURT: It says January 9th.
   17                MR. HUESTON: I'm sorry, it does. It should say
   18     January 19th. There we go.
   19     BY MR. HUESTON:
   20     Q. And you recall that's just less than two weeks ago, right?
   21     A. Yes.
   22     Q. And this time there's a different agent there, Special
   23     Agent Johnsrud, right?
   24     A. Yes.
   25     Q. And it looks like the same set of DOJ attorneys as last
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     1    time, as well as your attorney, right?
     2    A. Yes.
     3    Q. Okay.
     4               And we'll quickly flip through the others. There was
     5    a thirteenth time after that, right, sir? I think it was the
     6    20th, a day later?
     7    A. Yes.
     8    Q. And, again, same folks there, once again, from the
     9    government, the FBI, and your counsel, right? Another session
   10     you had with the government, right?
   11     A. Yes.
   12     Q. Okay.
   13                And, then, the thirteenth meeting, this is on January
   14     27th. That's -- I think it's about Friday. I'm losing track
   15     of the dates, but I think that's two Fridays ago, right?
   16     A. I'm not sure about the day of the week, but yes.
   17     Q. Okay.
   18                And, again, an FBI agent, couple of the DOJ
   19     attorneys, and your counsel, right?
   20     A. Yes.
   21     Q. Then there was another meeting -- fifteenth one, right --
   22     on January 29th. That was on a Sunday. Do you remember
   23     having to come in on a Sunday?
   24     A. I don't actually, but if it's -- the date's the date,
   25     then --
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     1    Q. Okay. It sounds about right, though, right?
     2    A. Yes.
     3    Q. So, by the end of this process --
     4               MR. HUESTON: We can take this down.
     5    BY MR. HUESTON:
     6    Q. It took a lot of time to go through all those meetings?
     7    A. Yes.
     8    Q. By the end of this process, 15 times you trekked in
     9    downtown to look at documents with the FBI, right?
   10     A. Yes.
   11     Q. And, sir, during that testimony, you said you looked at
   12     documents and you responded; is that right?
   13     A. Yes.
   14     Q. Yeah.
   15                And you saw the characterization that Outcome Health
   16     had of you -- or Mr. Demas -- that you were viewed to be a
   17     pleaser. Do you remember that?
   18     A. I saw that.
   19     Q. And do you view yourself to be a pleaser?
   20     A. I'm not sure.
   21     Q. You weren't trying to be a pleaser with the government
   22     through all those sessions; is that your testimony?
   23     A. The government basically just walked through e-mails with
   24     me.
   25     Q. Okay.
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     1               Let's go through -- we're going to go through each of
     2    the specific campaigns you testified about, but I do want to
     3    start with one quick example. And this was -- this is about
     4    weighted average growth for Novo Nordisk. Do you remember
     5    being asked about that by the government in one of those
     6    recent prep sessions a little over a week ago?
     7    A. Yes.
     8    Q. Okay.
     9               And the government showed you then -- let's talk
   10     about what they showed you in these sessions to prepare you
   11     for your testimony. They showed you what's now marked as
   12     Government Exhibit 142, which I'll pull up now. There it is.
   13     And asked in that session about Mr. Shah's comment that when
   14     the Novo match was negotiated with the client, Mr. Shah had
   15     been using weighted-average numbers.
   16                Do you remember being asked about that?
   17     A. Yes.
   18     Q. Okay.
   19                And what you did, you assumed that Mr. Shah was
   20     lying, right?
   21     A. I can't speak to that.
   22     Q. Do you recall telling the FBI in that meeting -- well, let
   23     me see if I can put this up to refresh your recollection.
   24                MR. HUESTON: We'll go, to refresh recollection, DX
   25     5731 at Page 2, just for the witness and attorneys only,
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     1    please.
     2    BY MR. HUESTON:
     3    Q. And I'll have you look at that language and ask if this
     4    refreshes your recollection and the words captured.
     5          (Brief pause.)
     6    BY THE WITNESS:
     7    A. Okay.
     8    BY MR. HUESTON:
     9    Q. Okay. Does that refresh your recollection? Sound about
   10     right?
   11     A. Yes.
   12     Q. Okay.
   13                MR. HUESTON: So, I'm going to go ahead and now
   14     publish this, your Honor, and --
   15                MR. HANKEY: Wait.
   16                THE COURT: No --
   17                MR. HANKEY: Your Honor, objection.
   18                THE COURT: No. He can testify to his refreshed
   19     recollection.
   20                MR. HUESTON: Okay.
   21     BY MR. HUESTON:
   22     Q. So --
   23                THE COURT: You're not going to publish this
   24     document.
   25                MR. HUESTON: Okay. That's fine.
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     1    BY MR. HUESTON:
     2    Q. And so --
     3               THE COURT: You can take the document off the screen,
     4    please.
     5               MR. HUESTON: Yeah.
     6    BY MR. HUESTON:
     7    Q. And, sir, now what do you remember saying about that?
     8    A. That just because it was -- something was stated in an
     9    e-mail that a campaign was a weighted average. If it wasn't
   10     communicated to the client where it wasn't indicated in the
   11     contract that it was a weighted average, then you wouldn't
   12     know if it was or wasn't a weighted average, but that Rishi
   13     Shah was my boss, so did what he said.
   14     BY MR. HUESTON:
   15     Q. Right.
   16                And that it refreshed your recollection in that you
   17     don't remember Mr. Shah speaking with Novo about this being a
   18     weighted-average campaign, right?
   19     A. Correct.
   20     Q. Okay.
   21                Now, sir, that's what you remember by looking at that
   22     document and that document alone, right?
   23     A. Yes.
   24     Q. And I'm not sure who was pulling documents for you at that
   25     meeting, but let's go to --
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     1               MR. HANKEY: Objection to the narrative.
     2    BY MR. HUESTON:
     3    Q. -- GX 143.
     4               THE COURT: Please ask questions.
     5               MR. HUESTON: Okay.
     6               THE COURT: The narrative is stricken.
     7               MR. HUESTON: All right.
     8    BY MR. HUESTON:
     9    Q. Let's go to GX 143 and pull that up.
   10                And, sir, you don't recall being shown this document
   11     in that session, right, sir?
   12     A. Can I take a quick moment to review?
   13     Q. Sure.
   14                MR. HANKEY: Your Honor, could we have a sidebar,
   15     please?
   16                THE COURT: All right.
   17           (Proceedings had at sidebar:)
   18                THE COURT: Go ahead.
   19                MR. HANKEY: I'm not really sure where this is going.
   20     This document wasn't -- doesn't have Mr. Ketchum on it.
   21                THE COURT: Was this introduced in your case?
   22                MR. HANKEY: I can't see it anywhere, but it didn't
   23     look like it was.
   24                THE COURT: Does defense know?
   25                MR. HUESTON: I don't think so. It's a marked
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     1    government exhibit and this is --
     2               THE COURT: Is this in evidence, is the question.
     3               MR. HUESTON: Yes, it is.
     4               THE COURT: You offered it in the defense case?
     5               MR. HUESTON: Right.
     6               THE COURT: All right.
     7               He's not on it. So, you can ask him to read it. And
     8    if there's questions prompted from that, you can.
     9               MR. HUESTON: That's fine. That's fine.
   10                THE COURT: That's the procedure we did earlier.
   11                MR. HUESTON: That's right.
   12                MR. HANKEY: Right, but the question he was asking is
   13     whether he was shown the document during the meeting --
   14                THE COURT: Oh, yeah.
   15                MR. HANKEY: -- with the government.
   16                MR. HUESTON: Your Honor, can I answer?
   17                THE COURT: Go ahead.
   18                MR. HUESTON: I can -- I have to be able to answer
   19     that because what he's basically testifying is, and he's
   20     trying to convey to the jury, that his testimony naturally
   21     evolved from documents shown to him in those sessions with the
   22     FBI. It's important for me to say, well, here's one you
   23     didn't get shown and it shows something different. It
   24     properly suggests to the jury context matters. That's a very
   25     important point for us.
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     1               MR. HANKEY: Your Honor, may I respond?
     2               THE COURT: Yes.
     3               MR. HANKEY: I'm not even sure how this is -- any of
     4    this is inconsistent with the witness' prior testimony. It
     5    just -- I'm not sure how we ended up going down this rabbit
     6    hole to begin with.
     7               THE COURT: Well, is the -- I don't have it in front
     8    of me. Is it inconsistent with testimony he gave, this
     9    exhibit?
   10                MR. HUESTON: Yeah. It's inconsistent with what he
   11     just summarized. He told the FBI that, I don't think Mr. Shah
   12     told the client. And this e-mail is next in sequence,
   13     literally the next exhibit listed on their list, that shows he
   14     did tell the client. So, I'm going to just read that in, and
   15     then I'm done with this module.
   16                MR. HANKEY: It's a document that he's never seen
   17     before that is inconsistent with what he told the government
   18     before in a meeting outside of court.
   19                THE COURT: Right.
   20                MR. HANKEY: None of that is inconsistent with his
   21     testimony in trial. So --
   22                THE COURT: Well -- but no. If he said something
   23     inconsistent in a previous meeting with the government, that's
   24     fair game. How he got here, it's not necessarily -- every one
   25     of his prior statements, if they switch in subtle or not
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     1    subtle ways, is proper area for cross-examination. It's a
     2    prior inconsistent statement.
     3               MR. HANKEY: I agree with that, your Honor, but this
     4    e-mail doesn't have -- it's not Mr. Ketchum's e-mail, and he's
     5    not on it. So, it's not a prior inconsistent statement of Mr.
     6    Ketchum.
     7               THE COURT: All right. It's a subtle difference.
     8               You are just going to ask him to read it and then ask
     9    if he told the government something earlier different than
   10     what he said in court or earlier than what he said in a prior
   11     session, and then you said you're done with this, correct?
   12                MR. HUESTON: I believe I'm just about done, yes. I
   13     don't think I have any other documents on it, yes.
   14                THE COURT: All right.
   15                MR. BLEGEN: Judge, I'm sorry, can I interject for a
   16     moment? This is Pat Blegen.
   17                THE COURT: You just won, so I don't know if you want
   18     to interject.
   19                MR. BLEGEN: Well, I guess this being only the last
   20     question on this topic. The reason is I have this, of course,
   21     in my --
   22                THE COURT: Sure.
   23                MR. BLEGEN: -- cross-examination, as well.
   24                So, the issue is Mr. Ketchum said that if it was a
   25     weighted-average contract, it would be in the contract in his
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     1    testimony. What Mr. Hueston is doing now -- and I'll -- may
     2    or may not do, depending on how he finishes it -- is that
     3    that's not the case because there were external discussions
     4    about weighted average, which this e-mail proves.
     5               And it is one of the goose-and-gander things that we
     6    agreed to previously where even if he's not on an e-mail, he
     7    can be shown the e-mail and then, I believe, could correctly,
     8    properly be asked, does this now change your view that
     9    weighted average had to be written in the contract for it to
   10     be understood by the parties.
   11                That's the point, I think, that's being made here;
   12     and, if it isn't, that's the point I will make on cross if you
   13     let me.
   14                THE COURT: We'll talk in 15 minutes at lunchtime
   15     about that in greater detail. The limited questions that
   16     Mr. Hueston said he's going to ask on this we'll proceed with.
   17     And, then, if there's going to be additional questions like
   18     that, Mr. Blegen, we'll talk about that during the lunch break
   19     so we're not keeping the jury waiting.
   20                Go ahead and finish this document.
   21            (Proceedings had in open court:)
   22                THE COURT: All right.
   23     BY MR. HUESTON:
   24     Q. Okay. Let's proceed with Exhibit 143. You can see that,
   25     sir?
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     1    A. Yes.
     2    Q. Okay.
     3               Now, let's look at what is being said here. If we
     4    look down below, Mr. Shah is reminding the Novo client that
     5    this is a weighted-average campaign. Do you see that?
     6    A. Yes.
     7    Q. And you don't recall seeing this in that prep session when
     8    you gave that earlier testimony, right?
     9    A. I don't recall seeing this, no.
   10     Q. Instead, sir, by seeing the earlier document but not this,
   11     you were left with the misimpression that Mr. Shah had lied
   12     when all you needed to do is see that Mr. Shah had been saying
   13     what he was saying right here in this document, right?
   14     A. So, the -- I do have a little bit of clarification. I'm a
   15     little confused on something. The Novo campaign that was from
   16     my testimony, I don't recall if it's related to this 2013
   17     campaign or an earlier one.
   18     Q. Okay. Fair enough.
   19                But you do recognize that this is a communication --
   20     Paul Stevenson is the client rep, right?
   21     A. Yes.
   22     Q. At Novodisk, right?
   23     A. Yes.
   24     Q. And written there below from Mr. Shah is, quote: You are
   25     correct, but our weighted average is 1800 for the 2013 Novo
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     1    program, disclosed expressly by Mr. Shah, correct?
     2    A. Yes, I see that.
     3    Q. And you would agree, sir, again, context matters, right?
     4    A. Yes.
     5    Q. All right. You can put that aside.
     6               Let's talk a little more about those ROI reports.
     7    Return on investment, right?
     8    A. Yes.
     9    Q. Okay.
   10                And, now, just again to set the stage here, Outcome
   11     generally used a third-party company called IMS to conduct the
   12     ROI or return on investment analysis, right?
   13     A. Yes.
   14     Q. And I think you testified that one of your
   15     responsibilities at Outcome was to assemble the list of
   16     physicians to send to IMS, right?
   17     A. Yes.
   18     Q. And, again, to reorient on some of the topics covered last
   19     week, the list of physicians that you'd send to IMS were those
   20     that were exposed to Outcome ads. That list was called the
   21     test group?
   22     A. Yes.
   23     Q. Okay.
   24                And you explained that IMS compares the test group to
   25     a group of control doctors, right?
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     1    A. Yes.
     2    Q. Okay.
     3               And the control doctors are physicians that IMS comes
     4    up with that did not receive the Outcome programming, right?
     5    A. Yes.
     6    Q. That's the idea, right?
     7    A. Yes.
     8    Q. To figure out if an ad -- playing an ad has an effect.
     9    Well, let's test doctors who are seeing the ad and whether
   10     they're prescribing more versus doctors who are not seeing it,
   11     right?
   12     A. Yes, that's right.
   13     Q. Okay.
   14                That's the general idea?
   15     A. Yes.
   16     Q. And, again, for clarification, I think you explained that
   17     when IMS measures the difference in prescriptions written by
   18     the test group of doctors on the one hand and the control
   19     group on the other, right, that's how they measure the
   20     difference?
   21     A. Yes.
   22     Q. Now, also for context, you've admitted you're not a data
   23     guy, right?
   24     A. No.
   25     Q. Bachelor of Arts degree in business administration and
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     1    economics, right?
     2    A. Minor in economics, but --
     3    Q. A minor. Okay.
     4    A. Just want to be --
     5    Q. Gotcha.
     6               You don't have a degree in statistics, right?
     7    A. No. No.
     8               Sorry. I think I'm far from the mic. Sorry.
     9    Q. Yeah.
   10                You don't have a degree in mathematical analysis,
   11     right?
   12     A. No.
   13     Q. Or a degree in epidemiology, right?
   14     A. No.
   15     Q. And you've never conducted a longitudinal cohort study,
   16     right?
   17     A. No.
   18     Q. Now -- but you've testified that the filters or the
   19     criteria that Outcome applied to the test groups amounted to
   20     cherry-picking. Is that a fair summary of what you testified
   21     to?
   22     A. Yes.
   23     Q. And I believe you testified that those criteria
   24     constituted cherry-picking because they made it more likely
   25     the ROI study would have a positive result, right?
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     1    A. Yes. And we saw some e-mails to that effect, too.
     2    Q. Well, let me ask you about that. We didn't see an e-mail
     3    with the term "cherry-picking" in it, did we?
     4    A. No, we did not.
     5    Q. And, in fact, you can't recall one e-mail ever where
     6    anybody was saying, let's do cherry-picking, or used the term
     7    "cherry-picking," right?
     8    A. No.
     9    Q. And during your direct exam, you'll recall you didn't
   10     testify about a single document where Ms. Agarwal or Mr. Shah
   11     actually told you to cherry-pick the offices that were top
   12     performers based on having lots of sales, right?
   13     A. Not the phrase cherry-picking but the effect of it --
   14     Q. Okay. We'll --
   15     A. -- yes.
   16     Q. -- get into that.
   17                So, you've never actually run the numbers, sir, to
   18     see how these different filters would have impacted IMS's
   19     calculations, have you?
   20     A. No.
   21     Q. And, by the way, at trial you testified that Mr. Shah
   22     taught you how to apply those filters, right?
   23     A. Yes.
   24     Q. But, in fact, isn't it true you also learned how to apply
   25     these filters, you've thought, very possibly from your boss
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     1    Silvia Vasquez, for instance, right?
     2    A. I don't recall that.
     3    Q. You don't recall stating that possibly Travis Kemp and
     4    Silvia Velazquez --
     5    A. I understand. I understand. Sorry. I was a little
     6    confused on your line of questioning.
     7               Yes.
     8    Q. Yes.
     9               And, sir, let's start now with the example -- one
   10     example -- of the criteria that you claimed on direct was
   11     deceptive. I think you testified that Outcome sometimes
   12     removed from the test group doctors who may not have received
   13     the full campaign, right?
   14     A. Yes.
   15     Q. Okay.
   16                And I just want to pause here and ask you, if the
   17     goal is to know whether Outcome's ads are working, then you
   18     would agree you need to study doctors who actually saw the
   19     ads, right? That's a common sense idea that you'd agree with,
   20     right?
   21     A. It would depend on the approach. So, we'd have to see the
   22     statement of work and the communication between Outcome Health
   23     and the client to understand that context.
   24     Q. Well, you knew that clients understood that these IMS
   25     studies were only measuring physicians currently utilizing
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     1    Outcome's advertising, right?
     2    A. Yes.
     3    Q. And let's go to CX 10061. And --
     4               MR. HUESTON: That's not right. Let's go to -- it
     5    should be a September 27th, 2012, e-mail. Sorry. Take that
     6    down.
     7               Okay. Here we are. 106 -- 10061.
     8    BY MR. HUESTON:
     9    Q. This is a September 27th, 2012, e-mail from Mr. Mons to
   10     you, Mr. Shah and Ms. Agarwal. Do you see that?
   11     A. Yes.
   12     Q. And the subject is preparation for October 1st
   13     teleconference with Vivus Qsymia, right?
   14     A. Yes.
   15     Q. And if we look at the agenda items, you can see one of the
   16     agenda items is to -- we'll highlight this year -- achieve
   17     consensus on ROI metrics and protocol, right?
   18                Let's -- specifically, let's go to the language, my
   19     hope for this call is to have Mike and Ellen say to Jean-Luc
   20     they have met with us regarding ROI metrics and all agreed on
   21     measurement protocol.
   22                Do you see that?
   23     A. Yes.
   24     Q. And what we can see is Mr. Mons on this e-mail, if we look
   25     at the e-mail, he's attaching a draft deck, right?
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     1               MR. HUESTON: Let's go to the top.
     2    BY MR. HUESTON:
     3    Q. Do you see the draft deck?
     4    A. Yes.
     5    Q. And it's a draft deck that if you look at the first line,
     6    Hi, guys, we have a call with Vivus on Monday. I need your
     7    help. Like we did with Francie at Amgen last month, we have a
     8    similar mission with a different drug.
     9               Do you see that?
   10     A. Yes.
   11     Q. You understand he's attaching a deck that was based on a
   12     presentation used with Amgen, right?
   13     A. It appears that way, yes.
   14     Q. Yeah.
   15                And if we go to Page 11 of this deck, let's see --
   16     let's take a look at what's being shown on the client side.
   17     There's a slide on IMS Health Study and Benchmark.
   18                Do you see that?
   19     A. Yes.
   20     Q. And let's go to the second bullet. IMS used a test group
   21     of physicians currently utilizing ContextMedia in-office
   22     digital programming.
   23                Do you see that language?
   24     A. Yes.
   25     Q. So, again, sir, the point of the IMS study as it's
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     1    presented here was to see if Outcome's ads were working,
     2    right?
     3    A. I believe there's context missing here.
     4    Q. Well, I'm just asking you about that.
     5               This indicates that, in fact, IMS is using a test
     6    group of physicians currently utilizing ContextMedia in-office
     7    digital programming, right?
     8    A. The bullet before it indicates that there's more to it,
     9    though.
   10     Q. Well, let's just answer this question first. That's what
   11     it says, right?
   12     A. Yeah, that's what it says.
   13     Q. Okay.
   14                Then there's another bullet above that, right?
   15     A. Yes.
   16     Q. And that one says: ContextMedia Health Partners with IMS
   17     Health to measure the effectiveness of its condition-specific,
   18     point-of-care marketing prescribing behavior.
   19                I read that correctly, right?
   20     A. Yes.
   21     Q. Okay.
   22                And, sir, this is a deck that was used, you just
   23     said, for Amgen, right?
   24     A. I don't know if it actually was used for Amgen, but it
   25     indicated like it may --
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     1    Q. Okay.
     2    A. -- have been, yes.
     3    Q. Okay.
     4               Let's look at another example. Let's go to CX 10166.
     5    10166.
     6          (Brief pause.)
     7               MR. HUESTON: That one appears to be missing, your
     8    Honor. So, maybe this is a good time to break for lunch.
     9               THE COURT: That's fine. It's likely in the cloud.
   10           (Laughter.)
   11                MR. HUESTON: Right.
   12                THE COURT: We will take an hour break for lunch.
   13                Mr. Santiago, you can mute your screen and also take
   14     a break the same time as the jury. We'll be back in an hour.
   15     Please don't discuss the case with yourselves or anyone else.
   16     And keep an open mind. There's more evidence to hear.
   17                Thank you.
   18           (Jury out.)
   19                THE COURT: Sir, you're on cross-examination. Please
   20     don't discuss your testimony with anyone. Come back in one
   21     hour, please.
   22                THE WITNESS: Yes, sir.
   23                THE COURT: Okay. I hope our juror --
   24                Mr. Santiago, please make sure you mute your screen.
   25                Anything we need to discuss at this time?
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     1               MR. HUESTON: No, your Honor.
     2               MR. BLEGEN: Judge, did you want to discuss the issue
     3    you said we'd hold till lunch now or -- I mean, it won't come
     4    up with me till, you know, tomorrow, but --
     5               THE COURT: Let's wait on it then, because possibly
     6    our juror will be back and we won't have to worry about feeds
     7    and things like that. Okay.
     8               Mr. Madden?
     9               MR. MADDEN: Your Honor, we don't have to do it now.
   10     The next witness is going to testify remotely. The defendants
   11     have agreed to it. We've got their waiver. So, either now
   12     or, you know, at the end of the day or tomorrow morning if we
   13     could just go over the waiver.
   14                THE COURT: Let's do that either later today or first
   15     thing tomorrow morning.
   16                MR. MADDEN: Sounds good.
   17                THE COURT: Anything else?
   18            (No response.)
   19                THE COURT: All right. See you in an hour. Thank
   20     you.
   21            (Recess taken at 12:20 o'clock p.m., until 1:20 o'clock
   22     p.m., of the same afternoon.)
   23
   24
   25
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     1                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
     2                              EASTERN DIVISION
     3    UNITED STATES OF AMERICA,                 )
                                                    )    Docket No. 19 CR 864
     4                         Plaintiff,           )
                                                    )    Chicago, Illinois
     5          v.                                  )    February 6, 2023
                                                    )    1:29 p.m.
     6                                              )
          RISHI SHAH, SHRADHA AGARWAL,              )
     7    BRAD PURDY,                               )
                                                    )
     8                         Defendants.          )
     9
                     TRANSCRIPT OF PROCEEDINGS - TRIAL VOLUME 5B
   10             BEFORE THE HONORABLE THOMAS M. DURKIN, and a Jury
   11
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   12
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     1          (Proceedings heard in open court; jury out:)
     2               THE COURT: All right. Let's go on the record.
     3               I want to confirm again the intention of the parties.
     4    I noted earlier, much of it was off the record so I want to
     5    put it on the record, one of the jurors was ill, couldn't come
     6    in, but was in a position where he could follow the trial,
     7    both the witness testimony and exhibits, and have it displayed
     8    on his computer at home.
     9               There's nothing wrong with that as long as the
   10     parties all agreed. I want to get on the record again the
   11     consent of all parties to this procedure. We've spoken to the
   12     juror at lunch time. He was hearing everything fine, seeing
   13     all the exhibits that were up there, saw the witness, so
   14     there's no problem with that.
   15                He is not hearing this right now. His audio is off.
   16     So I want to consent -- make sure this is consented to by the
   17     parties.
   18                Government agrees to this procedure?
   19                MR. HANKEY: We do for today, Your Honor.
   20                THE COURT: Okay. And I'll note, too, the juror had
   21     said he's feeling better and he expects to be in tomorrow.
   22                Okay, defense?
   23                MR. HUESTON: Yes, Your Honor.
   24                THE COURT: Can I hear from your client?
   25                DEFENDANT SHAH: Yes, Your Honor.
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     1               THE COURT: All right. From Ms. Agarwal?
     2               MR. BLEGEN: Yes, with the same understanding that
     3    even if it comes up in the future, we may have a different
     4    position with a different juror or something else.
     5               THE COURT: Well, it worked today. And I want to
     6    hear from your client that she agrees.
     7               DEFENDANT AGARWAL: Yes, Your Honor.
     8               THE COURT: Okay.
     9               MR. POULOS: Yes, Your Honor.
   10                DEFENDANT PURDY: Yes, Your Honor.
   11                THE COURT: Okay. And then at some point this
   12     morning, there was like a 60-second period where someone else
   13     popped up on WebEx, it was -- was it Lynn Meier? -- Lynn
   14     Meier, who I think is one of the witnesses who is going to
   15     testify remotely.
   16                She may have -- is it a man or a woman?
   17                MR. HANKEY: A woman.
   18                THE COURT: She may have simply been, you know,
   19     checking out the WebEx connection, but she may have
   20     inadvertently gotten into this dialogue. It was only for
   21     about 60 seconds sometime this morning. It showed up on the
   22     screen. Someone noticed it.
   23                I don't know that Ms. Meier heard anything of any
   24     consequence that would relate to her testimony. I'm putting
   25     it on the record. If the parties want to inquire about that
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     1    of her separately, they can do it. But these things happen,
     2    and it was certainly inadvertent and brief. But if that's
     3    going to create an issue, you all know about it and you can
     4    inquire of Ms. Meier about it when we're not in court.
     5               Okay. Anything else the parties need to --
     6               MR. HANKEY: No, Your Honor.
     7               THE COURT: On the ContextMedia document, the -- I'm
     8    sorry, let me find the right exhibit. I don't have the number
     9    right here. The one that you were asking about having come in
   10     for the offered for its truth as opposed to just effect on the
   11     listener.
   12                MR. HANKEY: Yes.
   13                THE COURT: Is that coming up today?
   14                MR. TODISCO: It may, Your Honor.
   15                THE COURT: All right. I'm not letting it in for its
   16     truth. I reviewed that again. It's -- these offhand email
   17     conversations don't bear the indicia of reliability that's
   18     necessary as a business record.
   19                It can come in for the effect on the listener, which
   20     I think the government had no objection to, correct?
   21                MR. HANKEY: Correct.
   22                THE COURT: But it's not coming in for the truth. It
   23     really doesn't have to do with the truth or accuracy of the
   24     representation. It's just not a routine communication, and
   25     for that reason, I'm not admitting it as a business record.
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     1    It can be offered. You can ask for a limiting instruction
     2    when it comes in, and I'll give the appropriate limiting
     3    instruction, but it's not being admitted for its truth.
     4               All right. Let's bring in the jury.
     5               Can Emily hook him in again? Thanks.
     6               COURT SECURITY OFFICER: All rise.
     7          (Jury enters courtroom.)
     8               THE COURT: All right. Please be seated.
     9               You may continue your cross-examination.
   10                MR. HUESTON: Thank you, Your Honor.
   11          JASON KETCHUM, GOVERNMENT'S WITNESS, PREVIOUSLY SWORN,
   12                          CROSS-EXAMINATION (RESUMED)
   13     BY MR. HUESTON:
   14     Q. Mr. Ketchum, I want to just briefly return to something
   15     that you said you might not recall, so let me tee that up.
   16                I think you said you don't recall that you deleted
   17     your Voxer communications relating to Outcome Health?
   18     A. Correct, yeah, I don't recall that.
   19     Q. Okay. So I want to see if I can refresh your recollection
   20     with an FBI memorandum of interview. So I'm going to put one
   21     sentence up, not to be shown to the jury, and I'll have you
   22     read that.
   23                This is from your first session on August 9th, 2018.
   24     And read that sentence and let me know if that refreshes your
   25     recollection.
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     1               THE COURT: It's not there yet.
     2               There we go.
     3    BY THE WITNESS:
     4    A. I still don't really recall. I see it there, but I don't
     5    recall.
     6               MR. HUESTON: At this time, we'd ask the government's
     7    stipulation that we read that single sentence into the record
     8    at this time as a statement recorded by Special Agent Stakem
     9    on August 9th, 2018.
   10                THE COURT: All right. Is the government willing to
   11     do that?
   12                MR. HANKEY: Yes.
   13                THE COURT: Subject to the same objections you made
   14     in the past.
   15                MR. HANKEY: Yes.
   16                THE COURT: All right. Go ahead.
   17                MR. HUESTON: "Ketchum deleted any Voxer
   18     communications relating to Outcome Health, OH, when he left OH
   19     in February 2018."
   20                We may put that down.
   21                THE COURT: All right. And that's simply a
   22     stipulation as to what the agent believes the witness said.
   23     It's not a recording. It's what the agent took down in his
   24     notes about what the witness said.
   25                Stipulated by the government?
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     1               MR. HANKEY: So stipulated, Your Honor.
     2               THE COURT: All right.
     3               MR. HUESTON: Thank you.
     4    BY MR. HUESTON:
     5    Q. All right. Mr. Ketchum, let's go back to ROI, return on
     6    investment. We've been talking about the idea of filters. So
     7    I want to go to another example here. I think we got it teed
     8    up so we can get it up on the screen this time.
     9               MR. HUESTON: Let's go to CX 10166.
   10     BY MR. HUESTON:
   11     Q. Okay. And there it is. And now, this is a document, it
   12     says from Mr. Mons to Shradha Agarwal, cc: Rishi Shah. And
   13     the subject is AZ Crestor ROI research process, 2012.
   14                Do you see that?
   15     A. I do.
   16     Q. And you're not on the email, but, again, you recognize
   17     that as Crestor, and you testified about Crestor, right?
   18     A. Yes.
   19     Q. Okay. Let's go to page 4 of this document, and you see
   20     the beginning of this PowerPoint says research discussion with
   21     Crestor, right?
   22     A. Yes.
   23     Q. And the date is January 15th, 2013, right?
   24     A. Yes.
   25     Q. And if we go to page 5, and at the top, it says,
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     1    "Process," right? Do you see that?
     2    A. I do.
     3    Q. And then it lists bullets of process below. Do you see
     4    that?
     5    A. I do.
     6    Q. And the very first one says: "IMS Health receives a list
     7    of physicians whose patients are exposed to the promotion in
     8    our offices." Right?
     9    A. Yes.
   10                MR. HUESTON: Okay. And we can put that aside.
   11     BY MR. HUESTON:
   12     Q. Separate from this document, you understood Crestor was a
   13     big client for Outcome Health, right?
   14     A. Yes.
   15     Q. All right. And you recall that Outcome's own clients
   16     acknowledged that the most important thing about ROI studies
   17     was to learn as much as possible about how advertising
   18     affected different types of offices. You remember that,
   19     right?
   20     A. I'm not -- I'm not entirely sure what I'm trying to --
   21     what I'm supposed to recall here.
   22                MR. HUESTON: All right. Let's go to CX 10062.
   23     BY MR. HUESTON:
   24     Q. And this is a March 4, 2013 email from Bob Mons to
   25     Mr. Shah and Ms. Agarwal, subject: Feedback from Earl re:
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                                   Ketchum - cross by Hueston
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     1    Crestor, and Michelle's issue, high priority. You're not
     2    copied on this email, right?
     3    A. Correct.
     4    Q. But you know that Mr. Black is at Zenith Media. That's
     5    the client -- Crestor client rep, right?
     6    A. I believe so, yes.
     7    Q. Okay. And in the email below on the second half of the
     8    page, Mr. Black writes: "The most important thing is to learn
     9    as much as possible about how the advertising affected
   10     different types of offices."
   11                That's what he wrote, right?
   12     A. Yes, I see that.
   13     Q. All right. Now let's go do Government Exhibit 8, which
   14     was already presented. Let's look at some of the other
   15     filters.
   16                So this is a January 27, 2012 email from Mr. Shah to
   17     Matt Coppola, you and Travis Kemp. You looked at that last
   18     week. Do you remember that?
   19     A. Yes.
   20     Q. I realize there are a lot of documents.
   21     A. I do.
   22     Q. Okay. And Mr. Shah looked for a complete list of filters
   23     for Novo research. Do you remember that?
   24     A. Yes.
   25     Q. So, first, sir, you'll agree that Mr. Shah is asking
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     1    Mr. Coppola for the list of filters that are applied, right?
     2    A. Yes.
     3    Q. And you've described Mr. Coppola as a warehouse manager;
     4    right?
     5    A. Yes, I believe so.
     6    Q. Okay. You would agree that these filters used at Outcome
     7    Health, it wasn't something secret inside Outcome Health.
     8    Here's the warehouse manager talking about it, right?
     9    A. Correct.
   10     Q. And some of the filters Mr. Shah describes includes
   11     removing DVD offices, removing offices with compliance issues,
   12     and removing offices without full-time physicians. Right?
   13     A. Yes.
   14     Q. And we're going to get back to some of these in a moment.
   15     I want to focus on what's not included in this list.
   16                You'd agree there's no filter for only offices that
   17     had high sales, right? That's not listed as a filter?
   18     A. Correct.
   19     Q. And you talked a bit last week about physician decile
   20     rankings. Do you remember that?
   21     A. I do.
   22     Q. And you'd agree that decile is a ranking for physicians on
   23     how much of a particular drug that they write, right?
   24     A. Yes.
   25     Q. Okay. And nowhere here in this list of filters is he
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     1    saying filter for just the highest decile prescribers and
     2    remove the doctors we know don't write a lot of them, right?
     3    You don't see that?
     4    A. I don't.
     5    Q. And, in fact, you recall that Outcome's studies actually
     6    controlled for decile between the test group and the control
     7    group, to make sure it was apples and apples, right?
     8    A. Yes.
     9               MR. HUESTON: All right. And let's just, you know,
   10     pull up a document to show that, CX 10059.
   11     BY MR. HUESTON:
   12     Q. First at page 1 that says: Research discussion with Novo.
   13     Do you see that?
   14     A. I do.
   15                MR. HUESTON: And let's go to page 3 to see what was
   16     discussed with Novo.
   17                And if we highlight here the one that says decile,
   18     third bullet down.
   19     BY MR. HUESTON:
   20     Q. IMS then builds a control group of physicians nearly
   21     identical to the test group except for this promotion, they
   22     control for a number of factors including, and there's a list
   23     there, and you can see the word -- we'll highlight it --
   24     decile. Do you see that?
   25     A. I do.
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                                   Ketchum - cross by Hueston
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     1               MR. HUESTON: All right. So we can put that down.
     2    BY MR. HUESTON:
     3    Q. So let's go through some of these filters here. We'll
     4    start with full-time physicians, okay?
     5    A. Oh, yes. Sorry.
     6    Q. All right. And, again, you've said you're not a data guy,
     7    but you do know that there were legitimate analytical reasons
     8    why Outcome needed to exclude part-time doctors from the test
     9    list to get accurate results, to get apples to apples, right?
   10     A. I'm not entirely sure I understand the -- how that relates
   11     to part-time.
   12     Q. Okay. Well, let's see if we can explore that. Let's --
   13     let's try to bring it down to a more basic level.
   14                You do understand that to conduct an accurate study,
   15     you need the test group of the Outcome-exposed physicians to
   16     be nearly identical, right, to the control group in every way
   17     other than the fact that they saw Outcome advertisements,
   18     right?
   19     A. Yes.
   20     Q. They have to be the same in every way?
   21     A. Ideally, yes.
   22     Q. Okay. And so there needs, to put this in lay terms, there
   23     needs to be a match for every physician in the test group to
   24     the corresponding physician in the control group except one
   25     saw the ads and one did not, right, to make it apples to
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                                   Ketchum - cross by Hueston
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     1    apples?
     2    A. Yes.
     3    Q. Okay. And if there's something that was -- that Outcome
     4    included in the test group that couldn't be replicated in the
     5    control group, that's when you not -- you no longer have
     6    apples to apples, right? That's when you could have results
     7    thrown off, right?
     8    A. Yes.
     9    Q. All right. So let's, with that in mind, let's go to GX
   10     286.
   11                And here we have an August 28, 2013 email from
   12     Mr. Desai to you, and the subject is part-time physicians for
   13     Novo study. Do you see that?
   14     A. I do.
   15     Q. And he's forwarding an email to you from Jeremy Mittler at
   16     Crossix.
   17                MR. HUESTON: Let's just show that.
   18     BY MR. HUESTON:
   19     Q. Do you see that there?
   20     A. Yes.
   21     Q. And you recognize Crossix as another company that is kind
   22     of similar to IMS. They conduct ROI studies.
   23     A. Yes.
   24     Q. Yes. And in the bottom email, Mr. Desai asks Crossix:
   25     "Quick question on prescriber list. In the past we have
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     1    pulled part-time physicians from the test group as they tend
     2    to skew results. Does Crossix have the ability to identify
     3    part-time physicians? Or should just send a list with
     4    full-time in our network?" Do you see that?
     5    A. I do.
     6    Q. Okay. So you'd agree with me the question here is if
     7    there are part-time physicians in the test group, are you
     8    going to be able to find a match in the control group, right?
     9    It's got to be apples to apples.
   10     A. Yes.
   11     Q. And let's look at Crossix's response.
   12                Then they write back, Jeremy Mittler at Crossix, he
   13     says: "We do not have a way to explicitly identify part-time
   14     physicians. We would need to make assumptions based on the
   15     number of patients we see for each physician. I would
   16     recommend pulling these from the file." Right?
   17     A. Yes. I see that.
   18     Q. Pulling the part-time physicians out?
   19     A. Yes.
   20     Q. Filtering out the part-time physicians?
   21     A. I see that, yes.
   22     Q. Okay. And that's Crossix. They're an expert third-party
   23     entity like IMS, right?
   24     A. Yes.
   25     Q. That's not Mr. Shah telling them to do it.
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     1    A. No.
     2    Q. All right. And, sir, without -- I realize no academic
     3    training in this area, you testified at trial it was improper
     4    cherry-picking to remove offices that had part-time
     5    physicians, right? That was your impression?
     6    A. That was my impression, yes.
     7    Q. Okay. But here you're being told by a subject matter
     8    expert at Crossix that they had approved of this filter for
     9    full-time doctors as a recommended practice, right?
   10     A. Yes.
   11     Q. Okay. And --
   12                MR. HUESTON: Okay, we can put that aside.
   13     BY MR. HUESTON:
   14     Q. And not only this, sir, you're aware that Mr. Shah
   15     actually disclosed this very practice to Outcome clients,
   16     aren't you?
   17     A. I was not.
   18     Q. Okay. Let's look at CX 10063. And this is a July 11,
   19     2012 email from Mr. Shah to David Colin at J3. Do you see
   20     that? You're on this email, too, on the cc: line.
   21     A. Yeah, I see that.
   22     Q. Okay. J3, you recognize that. That's the agency for
   23     Johnson & Johnson, right?
   24     A. Yes.
   25     Q. And you can see below, let's look at what Mr. Colin asked,
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     1    from Johnson & Johnson: "Hey, Jeana and Rishi. As the brand
     2    is trying hard fighting to get funds for 2013, they are trying
     3    to perform an ROI in offices with TV versus without. Right
     4    now to be candid, they are not seeing the lifts they hoped and
     5    believe a big cause is that the control group that they are
     6    using contains offices that at one point were in the network."
     7    Do you see that?
     8    A. Yes, I do.
     9    Q. Okay. So you'd agree this relates to what we have been
   10     just talking about, that if the control group and the test
   11     group are not nearly identical in every way other than
   12     exposure to the promotion, you might have an inaccurate study,
   13     right?
   14     A. This -- can I ask a clarifying question? Am I allowed to
   15     ask clarifying question?
   16     Q. Well, just try to answer my question. You would agree to
   17     that proposition, sir?
   18     A. Is this related to the part-time physicians, full-time
   19     physicians, or is this a different --
   20     Q. We'll get -- it does -- this does go into part-time
   21     physicians.
   22     A. Okay.
   23     Q. Okay?
   24     A. Okay.
   25     Q. All right. So you would agree again that if the control
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     1    group and test group are not nearly identical in every way
     2    other than exposure to promotion, then you'll have an
     3    inaccurate study, right? We've agreed to that earlier.
     4    A. Yes.
     5    Q. Okay. So Mr. Shah responds here, quote -- let's go to it:
     6    "Hi David, a quick question: Are they limiting the test group
     7    being measured to physicians practicing full-time in RHN
     8    locations? The reason I ask is if PT" -- you understood that
     9    to be part-time, right?
   10     A. Yes.
   11     Q. "If part-time physicians are being included in the test
   12     group, it will dilute the impact since only a segment of the
   13     patients they see have access to the promotion." Right?
   14     A. Yes.
   15     Q. And so Mr. Shah, you understood him to be explaining why
   16     it leads to a more accurate result in this instance in
   17     filtering out part-time physicians, right?
   18     A. Yes.
   19     Q. Okay. And by the way, I think you've admitted in your
   20     direct exam, you actually didn't have a whole lot of insight
   21     into who the most important customers were during the 2011 to
   22     2013 time period; but I think you did identify J & J's Simponi
   23     brand as one of two of the big customers that you have been
   24     able to remember, right?
   25     A. I don't recall that during my direct testimony.
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     1    Q. Okay.
     2    A. Possible --
     3    Q. But that's --
     4               THE COURT: One at a time.
     5               MR. HUESTON: Sorry.
     6    BY MR. HUESTON:
     7    Q. Does that sound familiar? It was one of the big clients
     8    that you can remember?
     9    A. I recall Simponi being a client. I don't recall the size
   10     of it.
   11     Q. Okay. And this is an email to the J & J client about
   12     Simponi, right?
   13     A. Yes.
   14     Q. All right. Now, let's move on to another filter that you
   15     did talk about in your direct. You testified that it was
   16     cherry-picking to use a filter to remove offices where
   17     competitor systems were also installed, right?
   18     A. Yes.
   19     Q. Okay. And, sir, the reason that one might remove those
   20     offices is that if an office already had a competitor system
   21     installed that had impacted the doctors' prescribing, then it
   22     might be hard to tell if Outcome's system also had an effect,
   23     right?
   24     A. Depends on the context.
   25     Q. Could be a conflating factor?
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     1    A. It could be.
     2    Q. So to give kind of an easy example, let's say I want to
     3    assess the effect of caffeine on a person after they drink a
     4    cup of coffee, okay? You got that?
     5    A. Yes, I believe so.
     6    Q. All right. So if someone drinks an energy drink with a
     7    lot of caffeine before they drink a cup of coffee, that might
     8    throw things off, right?
     9    A. Yes, sure.
   10     Q. Hard to measure the impact that the energy drink provided,
   11     for instance, because maybe coffee had done the same thing
   12     already, right?
   13     A. Yes.
   14     Q. Okay. Now, sir, this supposed cherry-picking here, are
   15     you aware that this was not only fully disclosed to IMS but
   16     also disclosed directly to Outcome clients. Were you aware of
   17     that?
   18     A. I was -- in this context, I was not.
   19     Q. Okay. Let's go to GX 10197, and this is a February 14,
   20     2013 email from Lynne Sperling at IMS to Mr. Shah, you, and
   21     Ms. Agarwal. Subject: Crestor control list. Do you see
   22     that?
   23     A. Yes.
   24     Q. And we can see below Mr. Shah writes: "Hi, Lynne. We
   25     asked our Crestor client for a list of all physicians that
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     1    were exposed to in-office activity."
     2               And she replied with the following: "We are able to
     3    do this but we first -- but first we need IMS as a
     4    sub-vendor." Right? Do you see that?"
     5    A. Yes.
     6    Q. So Mr. Shah here, he's actually got the list of physicians
     7    exposed to other competitors' programs directly from the
     8    client. Do you see that?
     9    A. Yes.
   10     Q. All right. And he is sharing this process with IMS.
   11     That's what he's saying here, right?
   12     A. Can I just have a quick moment to read it?
   13     Q. Yep.
   14     A. Thank you.
   15                Okay. I read it.
   16     Q. Yeah, and he's saying we've got to get IMS as a sub-vendor
   17     to be a part of this, right?
   18     A. Yes.
   19     Q. It's being shared with IMS, right?
   20     A. Yes.
   21     Q. Now, before we move on to the next allegation, let's pull
   22     back up 10063, and this is Mr. Shah's email to the J & J
   23     client about Simponi, right? You remember this email?
   24     A. Yes.
   25     Q. Okay. And in the bottom paragraph, he writes: "Just
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     1    thought we would offer this in case it's one of the issues
     2    that may be muddying things." Do you see that?
     3    A. I do.
     4    Q. "There's also a lot of nuance to the control selection
     5    process." Do you see that?
     6    A. I do.
     7    Q. And, sir, you don't dispute that there is, in fact, a lot
     8    of nuance to the process of defining the proper test and
     9    control lists, right?
   10     A. No.
   11     Q. You don't dispute that?
   12     A. I don't.
   13     Q. Okay. And, sir, let's move on to another subtopic here.
   14                You testified last week about an instance related to
   15     the Crestor study where Mr. Shah edited the PowerPoint
   16     presentation. Do you remember that?
   17     A. Yes.
   18     Q. Okay. But you acknowledge, sir, that Mr. Shah actually
   19     did frequently find errors and mistakes in IMS's work, right?
   20     A. I believe that had happened in the past, yes.
   21                MR. HUESTON: So let's take a look at some of those
   22     examples. Let's go to GX 15. That was already admitted. You
   23     looked at it last week. Let's put it up.
   24     BY MR. HUESTON:
   25     Q. Okay. First paragraph, do you see that Mr. Shah states
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     1    here: "Please note that the IMS email below is incorrect on
     2    the test period." Do you see that in, like, the third line
     3    there?
     4    A. Yes, I do.
     5    Q. Okay. "It assumes the Levemir program ran across the
     6    entire year." Right?
     7    A. Yes.
     8    Q. That's an example of him spotting an error, right?
     9    A. Yes.
   10     Q. Needs to be corrected, right?
   11     A. Yes.
   12                MR. HUESTON: Okay. Let's go to CX 10065.
   13                There we go.
   14     BY MR. HUESTON:
   15     Q. And this is a February 12, 2013 email from Mr. Shah to
   16     you, subject: Crestor II. Do you see that?
   17     A. Yes, I do.
   18     Q. And if we look below, Mr. Shah writes about IMS: "Thanks,
   19     Jay. She did provide an ETA when we sent list? I was on
   20     calendar yesterday. The meeting is next Thursday which got me
   21     a little nervous since we don't have the study yet and in the
   22     past, IMS has made some mistakes we've needed a few days to
   23     fix."
   24                That's what he wrote, right?
   25     A. Yes.
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     1    Q. To you?
     2    A. Yes.
     3    Q. On multiple occasions, you witnessed IMS's mistakes
     4    firsthand, right?
     5    A. Yes.
     6               MR. HUESTON: Let's go to another example. CX 8284.
     7    BY MR. HUESTON:
     8    Q. And this is an email from you to Mr. Desai, Mr. Shah and
     9    Ms. Agarwal, subject: Forward Levemir analysis update. Do
   10     you see that?
   11     A. Yes.
   12     Q. And you write, at the top: "Ashik, attached is the
   13     original Levemir study from IMS. Let me know if you have any
   14     questions. This isn't the first deck they sent us. Rishi and
   15     I caught an error in the original, so this is the most
   16     accurate deck." Right?
   17     A. Yes.
   18     Q. You and Mr. Shah made a fix to the IMS deck to make it
   19     more accurate, didn't you, sir?
   20     A. It appears so, yes.
   21     Q. Right. And so based on the error that you and Mr. Shah
   22     caught, the deck became more accurate, right?
   23     A. That's what it looks like, yes.
   24     Q. And by the way, some of these errors are not little --
   25     it's not like a missed period. Some of these errors are
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     1    pretty serious, right?
     2    A. I'd have to see the context, but possibly.
     3               MR. HUESTON: Let's go to CX 10066. Here we go.
     4    BY MR. HUESTON:
     5    Q. This is an email from you to Mr. Shah, copying
     6    Ms. Agarwal. Subject: Crestor NBRx reanalysis, sent on
     7    March 14, 2013. Do you see that?
     8    A. Yes.
     9    Q. And Mr. Shah notes to you: "FYI, talked Lynne about this
   10     on the phone, and she sent a note to the programmers in China.
   11     Looks like they just made a mistake somewhere."
   12                Do you see that?
   13     A. Yes.
   14     Q. And, sir, you recall that this issue came to light because
   15     Mr. Shah spotted a problem in the data that you had sent him,
   16     right?
   17     A. Yes.
   18     Q. And then you responded: "This is what I figured. Scary.
   19     They are supposed to be the experts."
   20                Do you see that?
   21     A. Yes.
   22     Q. That was a scary mistake that you found, right?
   23     A. Yes.
   24     Q. IMS was supposed to be the experts, but Mr. Shah was
   25     catching their mistakes, right?
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     1    A. In this instance, yes.
     2    Q. Okay. And, sir, not only were IMS's errors -- we can put
     3    that down -- concerning to you, but you yourself actually
     4    expressed a need to doublecheck IMS's work, right?
     5    A. Yes.
     6    Q. And let's look at that.
     7               10068, a February 7, 2012 email from you to Mr. Shah.
     8    Subject: Followup.
     9               Here it is.
   10                And you wrote: "Rishi, sounds like we should be
   11     pretty darn good to go here. If they get me that test list,
   12     like it sounds like they might, we can be even more sure. My
   13     only concern goes back to what you mentioned before, which is
   14     mistakes on their end. I'd love to doublecheck their work."
   15                That's what you wrote, right?
   16     A. Yes.
   17     Q. You were concerned enough about their mistakes you wanted
   18     to doublecheck it, right?
   19     A. Yes.
   20     Q. And, sir --
   21                MR. HUESTON: We can put that down.
   22     BY MR. HUESTON:
   23     Q. -- as we covered earlier, the first time you spoke to the
   24     government about this issue, you told them that the changes
   25     Mr. Shah made to the IMS decks were based on logic that
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     1    Mr. Shah believed was more accurate. Remember I reviewed that
     2    with you?
     3    A. You did.
     4               MR. HUESTON: Okay. We can put that aside.
     5    BY MR. HUESTON:
     6    Q. Let's talk more about Crestor. One of the allegations
     7    relating to Crestor is that there was a shortfall in installed
     8    locations as of the go-live date in the campaigns and that
     9    Outcome supposedly did not tell AstraZeneca about the
   10     shortfall, right?
   11     A. Yes.
   12     Q. Are you remembering that?
   13     A. Yes.
   14     Q. All right. And I think you also testified that in the
   15     Crestor campaign, you said the proper unit of measurement for
   16     that campaign was offices, not screens, right?
   17     A. I'd have to doublecheck the emails related specifically to
   18     that campaign. We talked about a lot of campaigns.
   19     Q. I know. You did go across a lot of that.
   20                Well, let's look at whether the Crestor campaign was
   21     based on offices versus screens. And to do that, again,
   22     because there was a lot of testimony about it --
   23                MR. HANKEY: Objection, narrative.
   24                MR. HUESTON: It's a transition.
   25                THE COURT: It's still a narrative.
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     1               MR. HUESTON: Okay.
     2               THE COURT: Just ask a question.
     3    BY MR. HUESTON:
     4    Q. You'll agree with me there were two separate Crestor
     5    contracts, right? The 420 sites starting about July 1, 2012,
     6    and then one for the additional 188 sites starting on
     7    October 1st, right?
     8    A. Yes, that sounds right.
     9    Q. Okay. Let's go to the first contract period. Let's start
   10     with that.
   11                And let's go to CX 7160. And this is an email from
   12     yourself to Mr. Shah, subject: Crestor match. And then down
   13     below where you write to Mr. Shah, going to direct your
   14     attention to the middle of the second line, you write: "My
   15     understanding is we are looking at 419 screens." Correct?
   16     A. I see that.
   17     Q. You used the word screens, right?
   18     A. I did.
   19     Q. Okay. And let's put that down and move on to CX 8596.
   20                Okay. And you recognize this as an October 2nd,
   21     2020 -- I'm sorry -- 2012 email from you to Mr. Mons and
   22     Ms. Agarwal, right?
   23     A. Yes.
   24     Q. Okay. And Mr. Mons down below, he asks for key numbers
   25     and dates, including for the July 12th go-live date. Do you
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     1    see that?
     2    A. Give me just a moment?
     3    Q. Sure.
     4               See the first -- the second kind of indent, key
     5    numbers and dates, and the first one is July 2012 --
     6    A. Yes.
     7    Q. -- CM match for go live?
     8    A. Yes, sir.
     9    Q. Okay. Great.
   10                And in response, let's look at your response, you
   11     write: "Hi guys, at launch we had 419 screens live."
   12                You used the word screens, right?
   13     A. I did.
   14     Q. Okay. And let's now go to -- this is towards the
   15     beginning, right, of this time period, right, October 2012?
   16     A. Yes, I believe so.
   17                MR. HUESTON: Okay. Let's go further in time now.
   18     Let's go to CX -- okay. One moment here.
   19                Let's go to CX 8596.
   20     BY MR. HUESTON:
   21     Q. Okay. And here at the top, you said: Hi guys, at launch
   22     we had 419 screens live. For October, we are at 585," right,
   23     "installed or in process." Do you see that?
   24     A. Yes.
   25     Q. And that's all after you say 419 screens live, for
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     1    October, we're at 485, you're still talking in terms of
     2    screens, right?
     3    A. Seems so, yeah.
     4    Q. And we know from your testimony last week, October was the
     5    jump from the 420-screen contract to the 608-screen second
     6    contract. Remember that?
     7    A. I believe so, yes.
     8    Q. Okay. But right here at the start of October, you're
     9    reporting you're well above 420 screens. You're at 585,
   10     right?
   11     A. Screen count, yes --
   12     Q. Yes.
   13     A. -- looks like. Installed or in process.
   14     Q. Sure.
   15                So if Outcome is measuring in screens, it's
   16     over-delivering at this point, right?
   17     A. You know, again, we covered a lot of testimony. Is it
   18     possible to pull up the numbers that were contracted for that
   19     time period just so I can --
   20     Q. I will get to that.
   21     A. Okay.
   22     Q. But just go with me for a moment.
   23     A. Sure.
   24     Q. If the unit of measurement is screens, by your report
   25     here, it's going above 420, right?
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     1    A. Yes. Yeah, yeah.
     2    Q. Okay. So now let's go to Government Exhibit 43. That's
     3    already been admitted and reviewed.
     4               Let's go down to your comment at the bottom of the
     5    page. On August 8th, you said: "We have 459 Crestor screens
     6    right now. Considering we started out with 401 at the outset,
     7    we have clearly done pretty well. Since July 1, we have added
     8    58 screens. Above and beyond the contract, we are currently
     9    plus 40 screens."
   10                Those are words that you wrote, right, sir?
   11     A. Looks like that, yes.
   12     Q. And you are talking about the contract requirement in that
   13     email, aren't you?
   14     A. It appears so, yes.
   15     Q. And you're measuring -- in this email here, you're
   16     measuring the contract requirement in terms of screens, right,
   17     sir?
   18     A. Yes, that looks to be accurate.
   19     Q. And not only that, you're explicitly making the connection
   20     that Outcome is over-delivering on the contract. That's what
   21     you're saying here, right?
   22     A. That's -- that's what this email says, yes.
   23     Q. It's your email, right?
   24     A. Yes, yeah.
   25     Q. Your words at the time, right?
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     1    A. Yes.
     2    Q. Before you got an immunity deal, right?
     3    A. Correct.
     4               MR. HUESTON: Okay. We can take that one down.
     5    BY MR. HUESTON:
     6    Q. So let's take a look at the contract now. Let's go to GX
     7    36, and, sir, here's the contract, and I'm happy to let you
     8    look through the other pages.
     9               Do you see anything here on this page in terms of
   10     references to offices?
   11     A. I do not.
   12     Q. There's no reference here at all, right?
   13     A. No.
   14     Q. And I believe you testified that the contract should say
   15     offices, right?
   16     A. Yeah. It would typically indicate one way or the other.
   17     Q. Okay. This isn't showing it.
   18     A. That's correct.
   19     Q. Okay. Let's go on to the second contract period here.
   20                The next contract, sir, I think you said you had an
   21     understanding that Outcome had contractual obligations to
   22     deliver offices under that contract, the second contract, by
   23     October 1st, 2012. Do you remember that?
   24     A. I believe that was correct, yes.
   25     Q. Okay. So now let's go to GX 50, and this is an October 3,
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     1    2012 email chain between you, Mr. Shah, and Ms. Agarwal,
     2    right?
     3    A. Yes.
     4    Q. Okay. And while discussing a potential campaign for
     5    aspirin, Ms. Agarwal writes: "JK ran the numbers for our
     6    Crestor meeting today, and we had just under 600 matches sites
     7    including pipeline."
     8               Do you see that?
     9    A. I do.
   10     Q. Okay. And, sir, it's your understanding that Outcome was
   11     obligated to have a total of 608 sites for Quarter 4, 2013,
   12     right?
   13     A. Yes, I believe that's the way the math works out.
   14     Q. Okay. And I think you testified last week you thought
   15     that this email showed that Outcome missed its projection
   16     deadline of October 1st, right?
   17     A. Yes, I believe so.
   18     Q. Okay. But, sir, do you know that the extension contract
   19     was not even in place on October 1st? Do you know that?
   20     A. No.
   21     Q. Okay. Sir, are you aware that on September 20, 2012, two
   22     weeks before this email we're looking at, Zenith Media had
   23     told Mr. Mons that the Quarter 4 deal was dead because Crestor
   24     wasn't going to get any incremental dollars for Quarter 4.
   25     Are you aware of that?
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     1    A. I was unaware of that.
     2    Q. Okay. And so you were not aware of that when you told the
     3    government --
     4               MR. HANKEY: Objection, Your Honor.
     5               THE COURT: Pardon me?
     6               MR. HANKEY: The witness has already testified he
     7    isn't aware of these things he's being asked about.
     8               THE COURT: Well, let's -- complete the question.
     9               MR. HUESTON: I'm just going to move on.
   10                THE COURT: All right.
   11     BY MR. HUESTON:
   12     Q. Let's go to CX 7142, and this is a September 20th email
   13     from Mr. Mons to Matthew Ubriaco at Zenith, copying
   14     Ms. Agarwal. Subject: AZ Crestor and Symbicort, ContextMedia
   15     Q4 incremental dollars for additional sites. Do you see that?
   16     A. I do.
   17     Q. Let's go to the bottom of page 1, and this is Mr. Mons
   18     asking Mr. Ubriaco for a status on the Q4 incremental
   19     proposal, right?
   20     A. Yes.
   21     Q. And let's look at Mr. Ubriaco's response. He writes:
   22     "Hey, Bob, I think they're both dead. From what I'm hearing,
   23     we won't be getting Q4 incremental dollars."
   24                Do you see that?
   25     A. I do.
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     1    Q. And you're not copied on this email, right?
     2    A. I'm not.
     3    Q. Okay. Let's now go to CX 7121. And this is a
     4    September 26, if we look at the top, first email from Mr. Mons
     5    to Mr. Ubriaco and others regarding the Crestor Quarter 4
     6    campaign, right?
     7    A. Yes, it looks that way.
     8    Q. Okay. And Mr. Ubriaco writes to Mr. Mons: "Hey, Bob, it
     9    appears Crestor may again get Q4 incremental dollars.
   10     However, that would only be for November and December." Do
   11     you see that?
   12     A. Yes.
   13     Q. Okay. And, sir, just, you know, to make sure the
   14     perspective is clear, this is the first time you're seeing
   15     this, right?
   16     A. Yes.
   17     Q. So when you testified earlier about what you were drawing
   18     from other emails, you didn't have this for context, right?
   19     A. I did not.
   20     Q. Okay. So, actually, sir, sitting here now, you'd admit
   21     you don't know what dates were covered by the contract when it
   22     was eventually finalized, right?
   23     A. Based on this email, it looks as though the contract did
   24     not -- was not live for October for the additional sites.
   25     Q. Okay. And that's different than what you were assuming
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     1    earlier, right?
     2    A. Yes.
     3    Q. Okay. So let's go to Government Exhibit 49. And this is
     4    the insertion order you looked at last week for the
     5    incremental campaign.
     6               So if we go to the top of page 1, you see that this
     7    is for Crestor, right?
     8    A. Yes.
     9    Q. And at the bottom of the page lists the dates of
   10     October 15, 2012 through December 16, 2012, right?
   11     A. Yes.
   12     Q. Okay. And, sir, let's go to page 2. This is the second
   13     contract now.
   14                Now this says the order is -- there is a reference
   15     here. Let's go pull out order number, date, and now here in
   16     the second contract, we do see -- now we see units/offices,
   17     right?
   18     A. Yes.
   19     Q. So you'd agree units/offices, that's units or offices,
   20     right?
   21     A. Yes.
   22     Q. And, sir, no one pointed this out to you before you were
   23     testifying about this second contract, right?
   24     A. No.
   25                MR. HUESTON: Okay. Let's put that down.
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     1    Let's go now to GX 39 page 3. That's already admitted.
     2               And Mr. Demas here, this was something that was shown
     3    to you. When Mr. Demas asks you for a count of how many
     4    offices are matched up, let's just see if we can find that
     5    language.
     6               I think it should be on page 3.
     7    BY MR. HUESTON:
     8    Q. Okay. Let's go to your July 25, 2012, 8:33, Mr. Demas,
     9    down below. Below that, you write: Hi, guys, preliminary
   10     number looks to be 441 screens." Right?
   11     A. Hold on, I'm trying -- oh, I see it. Okay, yes.
   12     Q. We'll pull that out. You're using the word screens here,
   13     right?
   14     A. Yes.
   15     Q. And above, if we go higher, you continue to use the word
   16     screens, right?
   17     A. Um --
   18     Q. Let's go higher. There we are again.
   19     A. Yes.
   20     Q. Yeah.
   21                So, sir, with this in mind, the contract said units
   22     or screens, and you were continually using the word screens in
   23     your discussions at the time --
   24                MR. HANKEY: Objection, Your Honor. That
   25     mischaracterizes the evidence and what's in the contract. It
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     1    said units/offices.
     2               MR. HUESTON: Well, I'm citing what he said as --
     3               THE COURT: Why don't you rephrase.
     4               MR. HUESTON: Okay.
     5    BY MR. HUESTON:
     6    Q. Let's go -- with your recent testimony in mind, let's go
     7    to Government Exhibit 68.
     8               And here's the -- this one you did review last week.
     9    It's November 12, 2012, from you to Ms. Agarwal. Subject:
   10     High priority list of Crestor sites we are running on. Do you
   11     see that?
   12     A. Yes.
   13     Q. Now, let's go to page 3. And Mr. Mons asks: "Can you
   14     push me an Excel with the list of 608 sites we currently
   15     running Crestor spots." Do you see that?
   16     A. Yes.
   17     Q. Okay. And after an exchange with Ms. Agarwal, you answer
   18     up top --
   19                MR. HUESTON: Let's go to your answer up top at
   20     page 2, and -- oops, that's not -- there it is. It's the
   21     higher one, at top.
   22     BY MR. HUESTON:
   23     Q. You write: "We actually have 589 locations and 671
   24     screens," right?
   25     A. Yes.
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     1    Q. Okay. So, again, if the correct unit of measurement is
     2    screens as your own emails are reflecting here, then less than
     3    a month into the campaign, Outcome is again over-delivering on
     4    the 608-unit promise, right?
     5    A. It appears so.
     6    Q. Okay. So now let's go to Exhibit 10173.
     7               And so this was -- we're now overlaying what the
     8    government walked you through when they used -- you remember
     9    the red Xs were the offices that they plotted out, right?
   10     A. Yes.
   11     Q. And they showed that to you to illustrate the point that
   12     you guys weren't quite hitting the mark, right?
   13     A. Yes.
   14     Q. What I've just gone through, sir, were screens that we've
   15     just reviewed at different points of time. Do you see the
   16     blue Xs?
   17     A. I do.
   18     Q. And if the proper unit is screens, you would agree the
   19     blue Xs are showing performance above what was contracted for,
   20     right?
   21     A. Yes.
   22                MR. HUESTON: Okay. Let's put that down.
   23     BY MR. HUESTON:
   24     Q. Okay. Let's now move to your claim that Outcome didn't
   25     disclose the use of projections. Again, we have the two
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     1    contracts, so we're going to divide them up here.
     2               Let's go first to Government Exhibit 1109, and this
     3    is an April 6, 2012 email, so you'd agree to get the timing in
     4    frame, April is a few months before July, right?
     5    A. Yes.
     6    Q. Before the July 1 contract for 420 screens, right?
     7    A. Yes.
     8               MR. HUESTON: Okay. And let's go straight to page 2,
     9    the middle email. Oh, there we are.
   10     BY MR. HUESTON:
   11     Q. And there is an email from Robert Goode at Zenith Media,
   12     and we've already covered, I think you've said -- you've
   13     identified Zenith Media is, in fact, the agent representing
   14     Crestor, right?
   15     A. Yes.
   16     Q. Okay. And you reviewed on direct Mr. Goode's statement
   17     that: "The client has expressed interest in running in the
   18     496 offices that are guaranteed from your list match that you
   19     provided to our planning team," right? You remember reviewing
   20     that.
   21     A. Yes.
   22     Q. And then but was "very hesitant about committing to the
   23     full proposal you sent over since those offices are still in
   24     question."
   25                Do you remember looking at that language?
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     1    A. Yes.
     2    Q. Okay. And looking at that language, you testified that
     3    the client wanted to purchase only what was currently
     4    installed. Do you remember that?
     5    A. Yes, I believe so.
     6    Q. Okay. And the person whose email that we're looking at
     7    here, sir, that's Robert Goode, right?
     8    A. Yes.
     9    Q. And you're not on this email, right?
   10     A. No.
   11     Q. And, sir, if I represented to you in all your emails that
   12     Mr. Goode never sent you a single email, you'd have no reason
   13     to doubt that, right?
   14     A. No, I wouldn't.
   15     Q. Okay. So you're interpreting this intent off what was
   16     forwarded to you, right?
   17     A. Yes.
   18     Q. Okay. Now, from these emails, I think you testified that
   19     you were able to conclude throughout the communications with
   20     the client about the Crestor campaign, you said you saw
   21     nothing from Mr. Shah showing that he wanted to be transparent
   22     and honest with the client about what was included in the list
   23     match, right?
   24     A. Correct.
   25     Q. Okay. So I want to demarcate here, this is April 6, 2012,
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     1    right?
     2    A. Yes.
     3    Q. And the parties are still negotiating, right? Nothing's
     4    been agreed to yet, right, sir?
     5    A. Correct.
     6    Q. Okay. And we know that there are more negotiations to
     7    come because you testified that the parties ultimately agreed
     8    to a contract with 420 sites, right?
     9    A. Yes.
   10     Q. But here you're talking about still a number of 496,
   11     right?
   12     A. Yes.
   13     Q. Negotiations are coming. There was no contract for 496,
   14     right?
   15     A. I believe -- yeah, I believe that's correct, yes.
   16     Q. Okay. All right.
   17                So let's get some greater context here. Let's go --
   18                MR. HANKEY: Object to the narrative.
   19                MR. HUESTON: Let's --
   20                THE COURT: Please ask questions.
   21                MR. HUESTON: Yeah.
   22                Let's go to DX 5655.
   23                THE COURT: Take this down.
   24                MR. HUESTON: Oop, sorry. Take this down. Sorry
   25     about that. That is a mistake.
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     1    BY MR. HUESTON:
     2    Q. Sir, you will -- you'll admit you weren't the primary
     3    point of contact for Crestor Pharma, right?
     4    A. No, I was not.
     5    Q. Okay. So your understanding that the Crestor Pharma
     6    didn't want to buy projections, that's based on information
     7    you happened to receive whenever someone decided to copy you
     8    or forward some information, right?
     9    A. That's correct.
   10     Q. In fact, you'll admit you didn't talk to pharmas during
   11     the 2012-2013 timeframe, right?
   12     A. No.
   13     Q. You didn't, right?
   14     A. I did not.
   15     Q. Good.
   16                And, in fact, in the exhibit we just showed you, you
   17     got looped in only when Mr. Mons decided to forward you his
   18     emails with the client, right?
   19     A. Yes.
   20     Q. All right. So let's go back -- let's go to GX 1109 at 2.
   21                Okay. And we're at page 2 of this document. And
   22     further below there's a larger group in the email that
   23     includes Mr. Mons and Mr. Shah. Do you see that --
   24     A. Yes.
   25     Q. -- and others?
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     1    A. Yes.
     2    Q. And you're not cc'd on this email, right?
     3    A. No, I'm not.
     4    Q. He -- you would agree that Mr. Mons appears to be
     5    forwarding you a broader chain once it might be relevant to
     6    your more narrow role, right?
     7    A. Yes.
     8    Q. Okay. And you'd also agree that Mr. -- you didn't cc:
     9    Mr. Mons on every email you were sending while at Outcome
   10     Health, right?
   11     A. No.
   12     Q. And you would also admit that in a business organization,
   13     sir, not every email is going to be relevant to everyone else,
   14     right?
   15     A. That's correct.
   16     Q. So just because someone's left off doesn't mean there's a
   17     nefarious or evil reason for that, right?
   18     A. That's true.
   19     Q. Okay. Now, in addition to not being on many of these
   20     emails and you said not talking directly to any pharma in 2012
   21     and 2013, I believe you testified last week that your work on
   22     the sales side of Outcome was about 1 percent of your work
   23     during this period, right?
   24     A. It was small, yes.
   25     Q. I think you said 1 percent. Do you remember that?
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     1    A. That sounds about right, yeah.
     2    Q. Yeah. 99 percent was you working in doctors' offices.
     3    A. Yeah, yes.
     4    Q. Okay. And that 1 percent includes the sales part, right?
     5    So doctors' offices, that's 99 percent?
     6    A. Yes. When you say sales, you mean the sponsorship sales?
     7    Q. Yes.
     8    A. Yes.
     9    Q. So there's just -- you would admit, there's just a lot on
   10     the sales side that you just weren't participating in at that
   11     time, right?
   12     A. Yes.
   13     Q. Okay. A lot of emails you didn't see?
   14     A. Yes.
   15     Q. A lot of meetings you didn't attend on that, right?
   16     A. Yes.
   17     Q. Okay. Let's go to an email you were on, DX 6221. And
   18     this is a February 17, 2012 email from Mr. Shah to Mr. Mons,
   19     Ms. Agarwal, and yourself, subject: Crestor list match. Do
   20     you see that?
   21     A. Yes.
   22     Q. And you can see from below that Mr. Mons is forwarding a
   23     request for a Crestor list match from Zachary Santucci at
   24     Zenith Media, right?
   25     A. Yes.
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     1    Q. And, again, Zenith Media, that's Crestor's advertising
     2    agency, right?
     3    A. Yes.
     4    Q. And Mr. Shah responds, "The match won't take us too long,
     5    but since we don't have a cardio network, I imagine we won't
     6    match to many Crestor targets. Maybe the story we can tell is
     7    we've studied the list and we're confident we could penetrate
     8    X number, 500 or a thousand, of the highest decile offices,
     9    within Y time period, six months or a year, plus we already
   10     have Z number, less than a hundred, in our network through
   11     other vertical properties." Do you see that?
   12     A. Yes, I do.
   13     Q. Okay. So what he's saying here is we can tell them two
   14     things, right? One, that we've looked at the list and we
   15     could get to a certain type of number over a period of time,
   16     right?
   17     A. Yes.
   18     Q. We can tell them that, and then he says, plus, right, we
   19     can tell them we already have a small number already, right?
   20     A. Yes.
   21     Q. Okay. And so you would agree, Mr. Shah is saying disclose
   22     to the client that this campaign would be based at least in
   23     part on projected growth, right?
   24     A. Yes.
   25     Q. Okay. And now last week, sir, you testified you'd seen
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     1    nothing showing that Mr. Shah wanted to be clear or honest.
     2    The first email right here, he's telling the pharma rep that
     3    there would be growth, right?
     4    A. In this email, he's telling Bob, Shradha and myself, but
     5    it seems to indicate that he wants that communicated to the
     6    client, yes.
     7    Q. Thank you. Let's move to GX 1110.
     8               This is now March 15, 2012, and it's an email from
     9    Mr. Shah to you. Subject: List match Crestor. Do you see
   10     that?
   11     A. Yes.
   12     Q. And Mr. Shah starts by noting that this is the list of
   13     doctors from Crestor they'd like you to run a match on, right?
   14     A. Yes.
   15     Q. And now let's go down to the section that says objectives.
   16     Do you see that?
   17     A. I do, yes.
   18     Q. So let's blow that out. And at No. 2, he writes:
   19     "Segment their list so we can go back with a proposal to build
   20     a Heart Health Network around a set of highest volume
   21     cardiologists," right, sir?
   22     A. Yes.
   23     Q. The words "proposal to build," you understood that to mean
   24     projected growth, right?
   25     A. Yes.
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     1    Q. Okay. Let's now go to CX 7096.
     2               This is four days later, right? Now we're at
     3    March 19th?
     4    A. Yes.
     5    Q. Okay. You send -- the subject is summary of the Crestor
     6    match. Do you see that?
     7    A. Yes.
     8    Q. Okay. And you're sending Crestor list-match results to
     9    Mr. Mons, and you copy Mr. Shah here, right?
   10     A. Yes, looks that way.
   11     Q. Okay. And what you write then is: "Attached is a summary
   12     of the match that was completed with a breakdown by decile,"
   13     right?
   14     A. Yes.
   15     Q. Okay. And then you write: "For the office match, it is
   16     important to take into account the number of unique addresses
   17     versus the total number of address matches. The address match
   18     total means that there are multiple prescribers at each
   19     address location." Right?
   20     A. Yes.
   21     Q. All right. And then continuing below, you write: "The
   22     office match may seem disproportionately high because of the
   23     duplicates." Right?
   24     A. Yes.
   25     Q. And you say: "And reality is roughly 10 percent based on
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     1    unique addresses," right?
     2    A. Yes.
     3    Q. And so since there are multiple prescribers per facility,
     4    you want to look at the total office match. That's what
     5    you're writing here, right?
     6    A. Yes.
     7    Q. In fact, that's your quote in the last line there, right?
     8    A. Yes, that's correct.
     9    Q. Okay. So let's turn to the attachment here because there
   10     was an attachment to your email, and you summarize the results
   11     in a spreadsheet table.
   12                MR. HUESTON: Let's get it up.
   13                Okay. Here we are.
   14     BY MR. HUESTON:
   15     Q. Do you see this spreadsheet?
   16     A. Yes, I do.
   17     Q. Okay. And you summarized this in the table as having
   18     527 -- if you look at down starting at line 14 there, you
   19     summarize below 527 address matches, right?
   20     A. Yes.
   21     Q. And 136 unique address matches, right?
   22     A. Yes.
   23     Q. Okay. Now, you talked last week about how the final
   24     contract you believe did not include low decile subscribers,
   25     right?
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     1    A. I believe that's true, yes.
     2    Q. Okay. But at this stage in the negotiations, that concept
     3    from what we're seeing here hadn't been introduced, right?
     4    You're looking at all decile prescribers here --
     5    A. Yes.
     6    Q. -- if we can roll up?
     7               Okay. Good.
     8               And before we move on, let's go to the cover email.
     9               You noted in the cover email to Mr. Mons that -- you
   10     told Mr. Mons that the right number to look at is 527 total
   11     matches, right?
   12                MR. HUESTON: Let's get that up. We'll have to find
   13     the right language.
   14     BY THE WITNESS:
   15     A. I did -- I saw something to that effect.
   16     BY MR. HUESTON:
   17     Q. Yeah, we just have to get the right -- it is important to
   18     take into account the number of unique addresses versus total
   19     number of addresses, and I've managed to just completely block
   20     it out.
   21                Ah, I've cleared it.
   22                Okay. You were telling him to look at the total
   23     offices, right, not the unique offices?
   24     A. Yes.
   25     Q. And the total from that attached spreadsheet is 527,
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     1    right?
     2    A. Yes, I believe that's -- yes.
     3               MR. HUESTON: Okay. We can take that down.
     4               Let's go to CX 10072.
     5    BY MR. HUESTON:
     6    Q. Okay. And this is -- moving forward in time here, this is
     7    another email chain between you, Mr. Mons and Mr. Shah. It's
     8    now April 6, right?
     9    A. Yes.
   10     Q. And now this is the revised Crestor HHN 202 cost template,
   11     right?
   12     A. Yes.
   13     Q. Okay. Let's go to page 3.
   14                And there's a recap here. Mr. Mons is summarizing,
   15     he says: "Hi, Earl, pardon" -- sorry. Let's go to the top of
   16     that email where it says: "Hi, Earl, pardon the lengthy
   17     email. I want to recap my discussion with Reese from Monday."
   18                Do you see that?
   19     A. Yes.
   20     Q. And do you understand he's summarizing his discussions
   21     with the client about the proposal, right?
   22     A. Yes.
   23     Q. Okay. And, again, you weren't on this original email,
   24     right?
   25     A. I was not.
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     1    Q. Okay. And he proposed a match based on growth up to a
     2    thousand sites that will be operational by July 1st. That's
     3    what he says here, right?
     4    A. Can I just have a quick moment to read it?
     5    Q. Sure.
     6    A. Thank you.
     7               Okay. Sorry, what was your question?
     8    Q. Sure. He is here proposing a match based on -- this is,
     9    you know, an April email projected growth of up to a thousand
   10     sites operational by July 1st, right?
   11     A. Yes.
   12     Q. Okay. And then below that, he notes that the initial 496
   13     sites matched against a network built with cardio/diabetes
   14     profile. Do you see that?
   15     A. Yes.
   16     Q. Okay. So you'd agree this is a proposal for growing to a
   17     thousand sites by July 1st, but there's this subset of 496
   18     sites already installed, right?
   19     A. It does look that way, yes.
   20     Q. And that's kind of matching what Mr. Shah laid out
   21     earlier, right? Let's think about something growing from A to
   22     B and then said, but we'll have this smaller number of already
   23     installed, right?
   24     A. Yes.
   25     Q. Okay. And, sir, again, in your early interview with the
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     1    FBI, you said, as we covered, that this was the proper way to
     2    do sales, right? To disclose what the initial match was and
     3    to separately make clear what the projected growth was. That
     4    would be the right process, right?
     5    A. Yes.
     6    Q. Okay. And, in fact, those 496 sites represented as the
     7    initial match is actually lower than the 527 matched locations
     8    you said was the correct number to look at in that earlier
     9    email, right?
   10     A. Yes.
   11     Q. Okay.
   12                MR. HUESTON: Okay. We can put that -- we can put
   13     that down.
   14                Let's go now to 10072. Yeah, go to the second page.
   15     BY MR. HUESTON:
   16     Q. And this is the April 6th email, where Mr. Goode says:
   17     "The client doesn't want the whole proposal, only the
   18     guaranteed sites." Do you see that?
   19     A. Yes.
   20     Q. Okay. So now in context, sir, what was left out --
   21                MR. HANKEY: Objection.
   22                MR. HUESTON: Okay. Well, let's -- let me just --
   23     I'll rephrase the question.
   24     BY MR. HUESTON:
   25     Q. What we've just gone through, you'd agree, shows that
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     1    Outcome was clearly dividing a proposal, right, into existing
     2    offices on the one hand, the 596 or what you said was the 528,
     3    and another proposal for growth to a thousand by July 1st,
     4    right?
     5    A. Yes.
     6    Q. Okay. And there's no contract right now at this time.
     7    It's April 6th, right? We've covered that.
     8    A. Yes.
     9    Q. So this what you were shown and testified to earlier, this
   10     is the pre-April 6th context to what we just went through,
   11     right?
   12     A. Yes.
   13     Q. Okay. And in even just the next message up here, sir, I
   14     want to point out that Mr. Mons forwards this communication
   15     internally and asks about ways to "go back to them to consider
   16     buying what I have matched against the top 5 deciles by -- and
   17     installed by July so we can increase the size of the deal."
   18     Right?
   19     A. Yes.
   20     Q. So, again, sir, Mr. Mons is telling you and Mr. Shah that
   21     he will go back to the client to negotiate a deal for a
   22     particular set of prescribers that will be installed by July,
   23     right?
   24     A. Yes, looks that way.
   25     Q. All right. And so he's saying -- he's a salesman. He's
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     1    going to make another attempt at selling projected growth to
     2    the client, right?
     3    A. Yes.
     4    Q. Okay. Let's go to page 1. And now Mr. Shah responds:
     5    "We should internally look at this as two deals." Right? Do
     6    you see that?
     7    A. Yes.
     8    Q. "Existing network and expansion." And he writes that "If
     9    we are only going to sell them our existing network, here are
   10     a couple of observations that could add value to the contract:
   11                "1, I'm sure with the growth of the past several
   12     weeks, we now have over 500 screens that match against their
   13     list." Right?
   14     A. Yes.
   15     Q. And, again, Mr. Shah here is discussing delivery in terms
   16     of screens, right?
   17     A. Yes.
   18     Q. All right. And by the way, you don't remember anyone
   19     correcting him on these email chains saying it's not screens,
   20     Mr. Shah. Remember, it's offices. Nothing like that, right?
   21     A. Not that I recall.
   22     Q. Right. And you were using the word screens as we've
   23     showed, right?
   24     A. Yes.
   25     Q. And we've even showed a contract with no mention of
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     1    offices, right?
     2    A. Yes.
     3    Q. And one that said offices or units, right?
     4    A. Yes.
     5    Q. Okay. And let's go to page 2, and he writes: If -- "If
     6    we included all of our sign-ups to be installed in the next
     7    month, the list may actually be closer to 550 or even 600. We
     8    had 75 sales last month and about that number the month
     9    before, many of which are in the process of installation, and
   10     thus I don't believe were included in the initial match."
   11     Right?
   12     A. Yes.
   13     Q. And let's look at your response to this, front page.
   14     There you are.
   15                In your response, you don't correct Mr. Shah and say,
   16     look, there's an error in your understanding about Outcome's
   17     network growth, right?
   18     A. I do not.
   19     Q. You just say: "Absolutely. I'll have it ready Monday
   20     morning." Right?
   21     A. Yes.
   22     Q. And then after that email, as Mr. Mons indicated he would,
   23     let's go back, Outcome went back to the client. You can put
   24     the email aside.
   25                You remember that Outcome went back to the client to
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     1    negotiate a campaign set to begin with devices that were
     2    projected to be installed by July 1?
     3    A. Yes.
     4               MR. HUESTON: So let's go to CX 7113.
     5               THE COURT: And please slow down when you're reading.
     6               MR. HUESTON: Thank you, Your Honor. That is a
     7    tendency.
     8    BY MR. HUESTON:
     9    Q. Here we are at 7113, and this is an email from Mr. Shah to
   10     Mr. Mons, copying you and others. Subject: Crestor revised
   11     costs template. Do you see that?
   12     A. I do.
   13     Q. And Mr. Shah writes: "Hi, Bob, we just had a thorough
   14     discussion about where we stand right now on Crestor matched
   15     offices, where we'll be by July 1 and also our by 12/31 -- our
   16     growth by 12/31." Do you see that?
   17     A. Yes.
   18     Q. And he writes: "The conclusion is we'll have 604 Crestor
   19     matched offices by July 1, and 448 offices of them will be in
   20     categories 1 and 2."
   21                Do you see that?
   22     A. Yes.
   23     Q. And, in fact, sir, you can see below, Mr. Mons had himself
   24     initiated his discussion with his own ramp schedules, right?
   25     Do you see the reference to ramp?
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     1    A. Can I just have a quick moment just to review?
     2    Q. Sure. It's in the line 1 there and 2.
     3    A. Okay. Yes, I see it.
     4    Q. Okay. By the way, ramp, that's ramp up, that's
     5    anticipated growth, right?
     6    A. Yes.
     7    Q. Okay. So he's expressly referencing ramp or growth right
     8    here, right?
     9    A. Yes.
   10     Q. And you are aware, sir, that these ramp schedules, they
   11     were repeatedly communicated to clients to ensure there was no
   12     ambiguity. Are you aware of that?
   13     A. No.
   14     Q. Okay. But you did attend some meetings where ramp
   15     schedules were discussed. Do you remember that?
   16     A. Yes, I believe so.
   17     Q. Okay. Let's go to CX 7115. And the top email is from
   18     Mr. Mons to Mr. Shah and Ms. Agarwal, Crestor status. This is
   19     April of 2012, right?
   20     A. Yes.
   21     Q. And you're not included on this.
   22     A. No.
   23     Q. But you can see below. Let's look. Mr. Mons is
   24     forwarding communications. Let's look below.
   25                Mr. Mons is forwarding a communication from a Tim
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     1    Rafferty at Zenith Media, right?
     2    A. Yes.
     3    Q. And you've already told us that Zenith Media is the client
     4    rep for Crestor, right?
     5    A. Yes.
     6    Q. Okay. So top -- let's go to top of page 2.
     7               And there's an email from Mr. Mons that says, and
     8    this is to Zenith Media folks, right?
     9    A. Yes.
   10     Q. "Thank you for spending time with Rishi, Jason" -- that's
   11     you, right?
   12     A. Yes, it is.
   13     Q. -- "and myself to get on the same page. I'm sorry we
   14     couldn't turn it around faster, but we needed to delve into
   15     our member services installation pipeline to be certain there
   16     is no ambiguity in our ramp forecast."
   17                That's what he said, right?
   18     A. Yes.
   19                MR. HUESTON: And we can put that down.
   20     BY MR. HUESTON:
   21     Q. You weren't on that email, so I'll just ask. You are
   22     aware, or maybe you weren't aware, that, in fact, Mr. Mons and
   23     Mr. Shah continued to have conversations with the client to
   24     ensure there was no confusion.
   25                Are you aware of that one way or the other?
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     1    A. No, I was not.
     2    Q. Okay. Let's go to CX 7116. And this is a June 1st email
     3    from Mr. Mons to Mr. Shah, and June 1st, that's, like, four
     4    months into the negotiations, right?
     5    A. Yeah, that sounds about right.
     6    Q. Okay. And the subject Crestor buy, right?
     7    A. Yes.
     8               MR. HUESTON: Let's go to page 2 -- that doesn't look
     9    very good. There we go. There's -- it should be Mr. Mons'
   10     note to the client.
   11                Yes. There we go.
   12     BY MR. HUESTON:
   13     Q. There's something -- there's a note here to a Zak, right?
   14     Do you see that at the top?
   15     A. Yes.
   16     Q. "Zak, there was some confusion in the process that can
   17     be -- that can easily be explained and resolved. I knew our
   18     ramp schedule may be a source of confusion. For this reason,
   19     I showed the ramp by month, category and cost, and structured
   20     it so that you would pay only for what we delivered."
   21                Do you see that?
   22     A. Yes.
   23                MR. HUESTON: Okay. And we can put that down.
   24     BY MR. HUESTON:
   25     Q. And, sir, following these lengthy negotiations in early
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     1    June, you recall that Crestor Pharma and Outcome did enter a
     2    contract for the third quarter of 2012, right?
     3    A. Yes.
     4    Q. Third quarter is July, August, September, right?
     5    A. Yes.
     6    Q. All right. And as you went over I think last week, the
     7    first Quarter 3 contract was for 419 sites, right?
     8    A. Yes.
     9    Q. And you knew that that Q3 contract had a go-live date of
   10     July 1st, right?
   11     A. Yes.
   12     Q. Okay. And go live in a contract was the date when pharmas
   13     expected a certain number of offices to be installed, right?
   14     A. For the advertisement to start playing, yes.
   15     Q. Okay. That's right.
   16                And, in fact, sir, a go-live date is also -- you have
   17     said that a go-live date is when pharmas expected a certain
   18     number of offices to be installed pursuant to their contracts,
   19     right?
   20     A. A certain number of locations for the advertisement to be
   21     playing in by that date, yes.
   22     Q. Okay. Good.
   23                MR. HUESTON: Let's go to GX 1067. Let's look at
   24     this email on June 5, 2012, and we'll go down to page 2 where
   25     you email Mr. Shah.
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     1    BY MR. HUESTON:
     2    Q. And you say: "Rishi, hope you are on the mend. I am
     3    rerunning everything and making sure we have DHN IDs lined up
     4    for the go-live date." Right?
     5    A. Yes.
     6    Q. And, sir, just pausing here for a moment, because this is
     7    a campaign with a go-live date of July 1, you'd agree that not
     8    every single device needed to be installed when you're writing
     9    this email as of June 5th, 2012, right?
   10     A. Correct.
   11     Q. Okay. Because this is almost a month before the contract
   12     was set to start, right?
   13     A. Yes.
   14                MR. HUESTON: So we can put that down.
   15     BY MR. HUESTON:
   16     Q. So you would agree, sir, just to clarify any confusion, as
   17     of June 6th, which is weeks before July 1 go-live date,
   18     there's no shortfall to report, right? Because your contract
   19     starts July 1st, right?
   20     A. That's correct.
   21     Q. All right. So, sir, let me make sure I have followed the
   22     testimony correctly here.
   23                So I think we've covered Outcome and Crestor had a
   24     month's long negotiation discussing ramped growth and a
   25     go-live date of July 1st. Fair?
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     1               MR. HANKEY: Objection, Your Honor, asked and
     2    answered, and this is pure narrative.
     3               THE COURT: Yeah, sustained. Just ask more questions
     4    on new subjects.
     5               MR. HUESTON: Okay.
     6    BY MR. HUESTON:
     7    Q. And so we've covered that the date to look for then was
     8    the July 1 go-live date, right?
     9    A. Yes.
   10     Q. All right. Now let's go to the fourth quarter of 2012,
   11     and that was the contract for 188 sites. Do you remember?
   12     A. That sounds right, yes.
   13     Q. Okay. And, again, fourth quarter, I always think of a
   14     football game, but in a calendar it's October, November,
   15     December, right?
   16     A. Yes.
   17     Q. And for this campaign, you also testified, I believe, that
   18     there was an understanding that Outcome would be using numbers
   19     based on only what was currently available in the network,
   20     right? You remember testifying to that?
   21     A. That sounds right.
   22     Q. And so let's go to GX 42.
   23                And this is an August 8, 2012 email from Mr. Shah to
   24     you, Ms. Agarwal, and a Ms. Lynn Jones, subject: AZ/Crestor
   25     additional Quarter 4 money priority, right?
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     1    A. Yes.
     2    Q. Let's go to page 3, and at page 3, we can see that
     3    Mr. Mons is receiving a message from Matthew Ubriaco at
     4    Zenith, right?
     5    A. Yes.
     6    Q. And, again, you're not the one directly communicating with
     7    the client or the client rep, right?
     8    A. I am not.
     9    Q. And Mr. Ubriaco writes to Mr. Mons: "I'm back on AZ now.
   10     We may have some incremental dollars coming for Quarter 4.
   11     Has ContextMedia acquired any additional offices from the
   12     AZ/Crestor list match that was previously executed? If so,
   13     please provide aggressive costs to run four spots per hour in
   14     Quarter 4, estimated impressions for both age 18-plus, age
   15     50-plus and an office location list," right?
   16     A. Yes.
   17     Q. And right above that, pull out, Mr. Mons emails you and
   18     Mr. Shah, and he says: "J," that's you, right?
   19     A. Yes.
   20     Q. "Can you pull together all incremental Crestor sites
   21     beyond the initial match we did for Q3." Do you see that?
   22     A. Yes.
   23     Q. And then he says: "I can show everything installed and in
   24     pipe for October go live." Right?
   25     A. Yes.
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     1    Q. So to be clear, sir, it's Mr. Mons, the person who's been
     2    communicating with the client rep for months, who's suggesting
     3    showing projected numbers here, right?
     4    A. Yes.
     5    Q. And he doesn't say that he just wants to show projections
     6    or maybe that Outcome should show projections. He says I can
     7    show everything installed and in pipe for October go live.
     8    That's his words, right?
     9    A. Yes.
   10     Q. And, again, Mr. Mons had many conversations with the
   11     client that you were not privy to, right?
   12     A. Yes.
   13     Q. And let's look at Mr. Shah's response to you: "Jay, you
   14     may have my authority to project robustly for Quarter 4. Now
   15     that we have been calling on the Crestor list for over a
   16     month, I expect many of the new sales generated in August and
   17     early September to be from the Crestor list."
   18                So I want to pause in the latter part of what he's
   19     saying there, Mr. Ketchum. So by Mr. Shah telling you that
   20     the call team has been focused on Crestor, you'd agree that
   21     Mr. Shah is providing you with a good reason why he believes
   22     that Outcome can project robustly, right?
   23                MR. HANKEY: Foundation.
   24     BY MR. HUESTON:
   25     Q. That's how you interpreted it, right?
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                                   Ketchum - cross by Hueston
                                                                                     1303

     1               THE COURT: If he knows.
     2    BY THE WITNESS:
     3    A. Yes.
     4    BY MR. HUESTON:
     5    Q. So then he continues: "Even the client says aggressive
     6    costs, ha, so let's go deep and throw it up there."
     7               And so Mr. Shah is conveying to you that the
     8    instruction to project robustly is responsive to the request
     9    from the client below. It's following the request from below,
   10     right, sir?
   11     A. Yes.
   12     Q. And let's go to your response on page 1.
   13                When you respond to him, sir, you don't say: "Hey, I
   14     think you're misreading the client's request," right?
   15     A. No.
   16     Q. And you didn't say: "Look, I think aggressive costs, that
   17     has some meaning other than what you seem to be looking into
   18     it, Mr. Shah." You don't say that, right?
   19     A. No.
   20     Q. And by the way, in terms of putting the time straight,
   21     these emails are being sent at the beginning of August about
   22     what sites will be available October 1st in the future, right?
   23     A. Yes.
   24     Q. Okay. And you would agree that there will always be some
   25     uncertainty in the forecasting about what might be available
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                                   Ketchum - cross by Hueston
                                                                                     1304

     1    two months out, right?
     2    A. Yes.
     3    Q. All right.
     4               THE COURT: We're going to break about 3:00 for the
     5    afternoon break, so you've got about 10 more minutes unless
     6    you're entering a new subject.
     7               MR. HUESTON: No, no, this is good. Thank you, Your
     8    Honor. That's just what I needed.
     9    BY MR. HUESTON:
   10     Q. All right. Let's now go here to page 1 here. You say you
   11     have full confidence, sir, at the top here, after replying to
   12     Mr. Shah, you say you have full confidence that Outcome would
   13     have this number installed or nearing installed by October 1,
   14     right?
   15     A. Yes.
   16     Q. "Sales goal is well over 200 between now and then, and
   17     they will blow the goal out of the water." Those are your
   18     words, right?
   19     A. Yes.
   20     Q. And then you describe the projection. You say: "This is
   21     a great projection." Right?
   22     A. Yes.
   23                MR. HUESTON: Okay. You can put that down.
   24     BY MR. HUESTON:
   25     Q. And by the way, you testified last week that you did
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     1    believe that Outcome would hit that number and deliver for the
     2    client. It was your good-faith belief, right?
     3    A. I believe so, yes.
     4    Q. And Outcome Health was making good-faith efforts, as we've
     5    shown here, to get to a correct projected number for Crestor,
     6    right? That's what those emails reflect.
     7    A. Seems so, yes.
     8    Q. And it was your job to run the projections, right?
     9    A. As instructed, yes.
   10                MR. HUESTON: Okay. And let's go to the final email
   11     in that exchange. I did ask to put it down, but the final
   12     email in that exchange, if we put it back up. I think that's
   13     GX 42. Yeah.
   14     BY MR. HUESTON:
   15     Q. And right at the top, right, Mr. Shah says: "Please speak
   16     to Bob and give him the incremental number." Right?
   17     A. Yes.
   18     Q. And as I think we've covered, incremental, that signifies
   19     that there's projected growth. That's what increment means,
   20     right?
   21     A. Depends on the context. In this instance, I believe
   22     that's the case, yes.
   23     Q. Okay. And Mr. Shah is actually telling you to communicate
   24     this information about the incremental to Mr. Mons, right?
   25     A. Yes.
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                                   Ketchum - cross by Hueston
                                                                                     1306

     1               MR. HUESTON: All right. Let's now go to GX 45.
     2    BY MR. HUESTON:
     3    Q. And this is an August 8th, 2012 email from you to
     4    Mr. Mons, copying the entire sponsorship team, right?
     5    A. Yes.
     6    Q. Subject: Crestor incremental for October, right?
     7    A. Yes.
     8    Q. And you wrote: "Attached is the incremental growth for
     9    Crestor. The screen growth is 194. That is an additional 194
   10     screens on top of their original buy, live by October."
   11     Right?
   12     A. Yes.
   13     Q. You see that?
   14     A. Yes.
   15     Q. And you wrote "live by October," not already installed,
   16     right?
   17     A. Yes.
   18     Q. Okay. And you knew, we've just covered, that Mr. Mons
   19     started this email chain by asking you for a projection,
   20     right?
   21     A. Yes.
   22     Q. Okay. And since you said this was a great projection of
   23     what would be installed by October 1st, and since Mr. Mons is
   24     explicitly asking you for projection, there's nothing wrong
   25     here, right, sir?
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     1    A. It looks as though I was -- yeah, fulfilling the request
     2    as it was requested.
     3    Q. Yeah, as best you could, right?
     4               Okay. And Mr. Mons, were you aware Mr. Mons
     5    continued to meet with the client to discuss the campaign and
     6    provide information about Outcome's network even after sending
     7    this email?
     8    A. No.
     9    Q. You were not aware of that?
   10     A. No.
   11     Q. Let's go to CX 8596. We move forward in time to
   12     October 2, 2012, and it's an email from you to Mr. Mons, copy
   13     Ms. Agarwal, subject: AZ meeting Wednesday. Do you see that?
   14     A. Yes.
   15     Q. And separate from this, you know AZ is AstraZeneca, right?
   16     A. Yes.
   17     Q. And you know AstraZeneca is the manufacturer of Crestor?
   18     A. Yes.
   19     Q. Okay. And we look below. Mr. Mons asks for key numbers
   20     and dates to prep for the Crestor meeting and then lists them
   21     out. Do you see that? Key numbers and dates?
   22     A. Yes.
   23     Q. Okay. And the purpose of the meeting he tells you is to
   24     discuss 2012-2013 and to give some color on our progress
   25     against their match. Do you see that?
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                                                                                     1308

     1    A. I do.
     2    Q. And looking at the topics, the topics include:
     3    November '12, November 2012 forecasted match installed, right?
     4    A. Yes.
     5    Q. And go down below. What does that say, No. 4?
     6    A. December 2012 forecast.
     7    Q. Forecast, right?
     8    A. Yes.
     9    Q. Sir, Mr. Mons is literally telling you he's going to give
   10     the client color on progress into November and December
   11     forecasts, right?
   12     A. Yes.
   13     Q. Okay. And, again, forecasts, not already installed
   14     offices, right?
   15     A. Correct.
   16                MR. HUESTON: All right. Your Honor, I am moving
   17     into a different subtopic at this point.
   18                THE COURT: All right. Ladies and gentlemen, it's
   19     about 2:54. We'll break for 15 minutes. Please don't discuss
   20     the case among yourselves or with anyone else. Mr. Santiago,
   21     you can also take a break.
   22                COURT SECURITY OFFICER: All rise.
   23           (Jury exits courtroom.)
   24                THE COURT: All right, sir, you can leave the stand
   25     for 15 minutes. Please don't discuss your testimony with
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     1    anyone.
     2               THE WITNESS: Yes, Your Honor.
     3               THE COURT: All right. Is it off?
     4               THE LAW CLERK: She's cutting it now.
     5               THE COURT: Okay. You can have a seat.
     6               Okay. We're just in the courtroom. Anything we need
     7    to address? First the government?
     8               MR. HANKEY: Yes, Your Honor. We can -- are we on
     9    the record?
   10                THE COURT: Yes.
   11                MR. HANKEY: We can continue objecting every time
   12     that there's a narrative statement or Mr. Hueston is, you
   13     know, testifying essentially through his questioning, but, you
   14     know, the Court has told Mr. Hueston not to do that
   15     repeatedly, yet it continues, and --
   16                THE COURT: Yeah, I mean, there's a fine line between
   17     testifying or an extensive summary and just bringing a jury's
   18     attention to a particular subject matter, and that's a
   19     situational objection.
   20                Mr. Hueston, it's your habit. Try not to do it.
   21     You've -- when I've sustained the objection, you move right
   22     into the question. I don't think the effectiveness of
   23     pointing the jury to where you're going has been diminished in
   24     any way.
   25                MR. HUESTON: Yeah, I think the only thing that I --
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     1    it's hard for me to get out of a habit of, and I think it's
     2    proper in the evidence, is to headline and say, now, let's
     3    move now, we've covered this period of time. Let's now move
     4    to 2013.
     5               THE COURT: If that's all you did, I'd be fine.
     6               MR. HUESTON: Okay.
     7               THE COURT: But what you're saying now we've just
     8    covered that you've done X, Y, Z.
     9               MR. HUESTON: Okay. I'll stop that. I did. Look,
   10     in some courtrooms, that's fine. I hear you, and I'm not
   11     doing that anymore, but I will do some topic transitions.
   12     That's fair game.
   13                THE COURT: As long as it's limited to that. And
   14     some courtrooms don't give you a chance for interim
   15     statements, and you've got them here.
   16                MR. HUESTON: True. Thank you, Your Honor.
   17                THE COURT: Use your time for interim statements to
   18     make those comments.
   19                Anything else from defense?
   20                MR. HUESTON: No, Your Honor, thank you.
   21                MR. BLEGEN: No, Your Honor.
   22                MS. BELL: No, Your Honor.
   23                MR. POULOS: No, Your Honor.
   24                THE COURT: Okay. See you in 15 minutes.
   25           (Brief recess; change of reporters.)
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     1
     2          (Jury enters.)
     3               THE COURT: All right. Please be seated.
     4               You may continue your cross-examination.
     5               MR. HUESTON: Thank you, Your Honor.
     6    BY MR. HUESTON:
     7    Q. Mr. Ketchum, I want to talk about one more thing on the
     8    Crestor campaign that has to do with the ROI calculation.
     9               And I think you testified on direct that it's your
   10     understanding that IMS studied a sample of about 126
   11     physicians to measure the efficacy of the program. Does that
   12     sound right?
   13     A. That sounds right.
   14     Q. Okay. And I think you expressed that it was your view
   15     that to get a true representation of ROI on Crestor's 608 site
   16     program, all 608 sites should have been measured, right?
   17     A. Yes.
   18     Q. Okay. So no sampling, IMS needed to study all 608?
   19     A. Yes.
   20     Q. You're not a data guy, a stats guy?
   21     A. No.
   22     Q. Right. Okay. Well, let's explore that.
   23                Sir, you would admit that you were not capable of
   24     running an IMS analysis on your own without the help of
   25     experts, right?
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     1    A. No -- yes, I would agree with that. No, I am not.
     2    Q. Okay. And so you're not aware, sir, that it would not
     3    have been possible to run an IMS study that measures every
     4    single office in a campaign? Are you aware of that?
     5    A. No.
     6    Q. Okay. Back in 2013, dealing with this in realtime, you
     7    knew that IMS typically had reliable data on only about
     8    30 percent of physicians. Do you remember that?
     9    A. I do not.
   10     Q. Okay. Let's go to CX 10081.
   11                And at the bottom of this e-mail, this is dated
   12     September 5, 2012.
   13                Do you see that?
   14     A. I do.
   15     Q. And what I want to do is get to -- okay. "I wonder when
   16     IMS will provide us how many of the 757 physician locations
   17     that IMS have claims data for measurement."
   18                Do you see that?
   19     A. I do.
   20     Q. That was the question, right?
   21     A. Yes.
   22     Q. And let's look at how you answered it. Above, Bob Mons
   23     first: "My recollection is they typically get approximately
   24     30 percent reliable reporting on claims data. Can you confirm
   25     or get a specific answer on the 757 we matched so I can
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     1    respond to?"
     2               You see that?
     3    A. Yes.
     4    Q. And then at the top, what did you write here?
     5    A. Would you like me to read it?
     6    Q. Sure.
     7    A. "Correct, Bob, the hit rate is typically 30 percent."
     8    Q. 30 percent of the total, right?
     9    A. Yes.
   10     Q. In terms of getting reliable data, right?
   11     A. Yes.
   12     Q. Okay. You didn't remember that in testimony last week,
   13     right?
   14     A. No.
   15     Q. Okay. So you would agree then, let's take that
   16     30 percent. IMS -- send IMS a list of 600 physicians in a
   17     campaign, take about 30 percent, you and I both didn't major
   18     in math, but that's maybe 180 would come out at 30 percent,
   19     right?
   20     A. Sure.
   21     Q. Sounds about right --
   22     A. Yeah.
   23     Q. -- in terms of what you would expect based on reliable
   24     numbers that you could look at from IMS, right?
   25     A. Sure, yes.
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     1    Q. Okay. So with that in mind, this e-mail, refreshing your
     2    recollection, you would agree, sir, that the suggestion that
     3    all 608 sites should have been in the IMS study, that just
     4    doesn't comport with what you guys were thinking of and
     5    understood at the time, right?
     6    A. That's correct.
     7    Q. All right. Let's go to GX 167. And this is a
     8    February 22, 2013, e-mail from you to Mr. Shah, Mr. Purdy,
     9    subject: Crestor deck.
   10                You see that?
   11     A. Yes.
   12     Q. Let's go to page 9. And this is the slide that you did
   13     talk about last week, right?
   14     A. Yes.
   15     Q. And you said -- I think -- something along the words of
   16     Mr. Shah deleted this and he shouldn't have, right?
   17     A. I don't recall.
   18     Q. Okay.
   19     A. I recall that it was removed, yes.
   20     Q. Okay. Good enough.
   21                And because the other information in this graphic
   22     from the lower two bars, you see this has three bars in it?
   23     A. Yes.
   24     Q. That appears on other slides. You saw that, right?
   25     A. Yes.
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     1    Q. So Mr. Shah, by dropping this slide, is only deleting the
     2    top fact, that 126 physicians participated in the digital
     3    interoffice programming for Crestor, right?
     4    A. Yes.
     5    Q. Okay. And I think as you testified last week, I think you
     6    said that Mr. Shah didn't want the client to see the very top
     7    row, revealing that the list that Outcome sent to IMS to study
     8    only had 126 patients on it, right?
     9    A. Yes.
   10     Q. And if that were true, it would have shown some
   11     cherry-picking, right?
   12     A. Yes.
   13     Q. Okay. Now, though you were testifying to this 126
   14     doctors, I don't think we saw in your direct exam the actual
   15     list, right, the overall list of what was sent to IMS, right?
   16     A. I don't believe so.
   17     Q. And let's go to CX 10082.
   18                MS. DOMINIAK: Can you repeat that?
   19                MR. HUESTON: Let's look at that list.
   20     BY MR. HUESTON:
   21     Q. And, in fact, this is January 29, 2013, Crestor physician
   22     set, right?
   23     A. Yes.
   24     Q. It's from you, right?
   25     A. Yes.
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                                   Ketchum - cross by Hueston
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     1    Q. You remember being shown this by the government at any
     2    time?
     3    A. No.
     4    Q. Okay. And the attachment says Crestor prescriber for IMS
     5    study, right? And this is the attachment. You said -- well,
     6    let's cover this first. "Lynn, here is the set of physicians.
     7    Please let me know if you need anything else."
     8               Right?
     9    A. Yes.
   10     Q. You were sending it on, right?
   11     A. Yep. Yes.
   12     Q. Let's see how many you sent. Let's go to the attachment,
   13     the Excel sheet. And there's a list here of doctors and
   14     addresses, right?
   15     A. Yes.
   16     Q. And next to everyone on the list -- this is kind of Excel
   17     101 -- as you go down, it gives you the number of people,
   18     right, so I don't have to -- you and I don't have to count
   19     them all up?
   20     A. Correct.
   21     Q. All right. So if we go get to the bottom of this, let's
   22     go, let's go, we're already over a hundred, we're over 200,
   23     500. What do we got?
   24     A. It looks like 594.
   25     Q. 500 -- it goes all the way -- you're right, 595 entries;
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     1    but one of them is not a doctor, so 594 doctors, right, or
     2    offices?
     3    A. Yeah, because I think there's a header, header row.
     4    Q. There's a header there. So 594, right?
     5    A. Yes.
     6    Q. And now we talked about this 30 -- you've been refreshed
     7    on 30 percent, this is usually about all they can pull from an
     8    overall list of data provided to them, right?
     9    A. Yes.
   10     Q. So now seeing all this, let's try to reconstruct. So you
   11     sent a list of 584 to IMS, right?
   12     A. Yes.
   13     Q. And then, sir, does the math sound right: IMS ended up
   14     finding 126 of them in the IMS prescriber database. Does that
   15     sound about right?
   16     A. I'm not a mathematician, but yeah, I believe so.
   17     Q. Let's go to -- in fact, let's go to GX 169 to check that.
   18     169, now, that's an e-mail from Mr. Shah, to Mons, Purdy, and
   19     yourself. And there's an attachment here. Let's go to --
   20     this is the Crestor promotion evaluation, and we go to 169 at
   21     page 8. Control group selection is the sub -- it may not be
   22     page 8. One moment. Here we go. I misspoke. It's page 9.
   23     You see it says control group selection?
   24     A. Yes.
   25     Q. And it says 100 -- oh, there we are. "126 potential test
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                                   Ketchum - cross by Hueston
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     1    physicians were matched to the IMS health prescriber universe
     2    to identify potential control physicians based on the
     3    following criteria."
     4               Right?
     5    A. Yes.
     6    Q. Okay. And then IMS, sir, apparently made a mistake by
     7    putting the same number in for the potential test group,
     8    right? They described this amount that came out as the whole
     9    potential test group, right?
   10     A. Can you pull the prior slide up just one more time?
   11     Q. Sure.
   12     A. Sorry. I believe so, but I just want to double-check.
   13                MR. HANKEY: Your Honor, I'm going to object on
   14     foundation here.
   15                MR. HUESTON: This is what he testified about last
   16     week.
   17                THE COURT: Was this exhibit put up in front of him
   18     last week?
   19                MR. HUESTON: No, it wasn't, but this is an e-mail
   20     attachment to his own e-mail.
   21                THE COURT: Could I see the original e-mail, the
   22     first page?
   23                MR. HUESTON: From Jason Ketchum.
   24                THE COURT: All right. Objection overruled.
   25     BY MR. HUESTON:
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     1    Q. Okay. So this is the prior slide, right?
     2    A. Yes.
     3    Q. So you would agree, sir, look at that first entry, when it
     4    says 126 physicians participated in the digital in-office
     5    programming for Crestor, well, that was inaccurate because we
     6    showed 594 were participating, right?
     7    A. Yes.
     8    Q. You just hadn't seen that spreadsheet that you've had,
     9    right?
   10     A. Yes.
   11     Q. And so this was a mistake in the slide. In fact, the 126
   12     is what IMS then kicked back, right?
   13     A. Yes.
   14     Q. All right. We can put that down and move on.
   15                Let's go on another topic. Another area of your
   16     testimony for orientation is you testified about different
   17     stages of the process by which Outcome sold advertising space
   18     to clients, right?
   19     A. Yes.
   20     Q. All right. Let's go to GX 1128. And I think, again, you
   21     recognize this, right?
   22     A. Yes.
   23     Q. And you testified that this slide shows the key activities
   24     of sponsorship sales, right?
   25     A. Some of them. It's not an exhaustive or, hyperspecific,
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     1    but yeah, generally.
     2    Q. Okay. That's fair. And the first stage you list there is
     3    list match, right?
     4    A. Yes.
     5    Q. And just to reorient us, the list match is the process
     6    where Outcome would take a list of doctors provided by the
     7    client that the client was interested in and match it for a
     8    proposed Outcome campaign, right?
     9    A. Yes.
   10     Q. Okay. And we saw that sometimes Outcome just sent back to
   11     the client a number of physicians matched, right?
   12     A. Yes.
   13     Q. Other times Outcome would send a list of physicians back,
   14     typically in Excel, right?
   15     A. Yes.
   16     Q. And you testified last week you believe you may have
   17     deceived clients when you performed the list matches, right?
   18     A. Yes.
   19     Q. And the reason that you thought the list matches you
   20     performed were possibly not truthful is because they sometimes
   21     included projections, or didn't include projections, right?
   22     A. Yes.
   23     Q. Okay. I think you said the match included projections,
   24     that that's what made them misleading, right?
   25     A. Yes.
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     1    Q. All right. Now, to be clear, you're not saying that there
     2    would be anything deceptive about including projections if
     3    Outcome told the clients the list match included projections,
     4    right?
     5    A. Correct.
     6    Q. Okay. And, in fact, the first time you spoke to the
     7    government, you said you did believe that Mr. Shah,
     8    Ms. Agarwal did communicate to pharmas that there were growth
     9    projections, right?
   10     A. Yes.
   11     Q. All right. And we reviewed this briefly before, but you
   12     said you thought they separately communicated two separate
   13     numbers to the client, one number of what was already
   14     installed and then another of what was projected for growth,
   15     right?
   16     A. Yes.
   17     Q. All right. And we've already covered that 99 percent of
   18     your time was in doctor's office, the rest of the 1 percent is
   19     giving you some limited insight here, right? You didn't talk
   20     to the pharma companies yourselves?
   21     A. Correct.
   22     Q. Now, even before the list match occurred, you would agree
   23     you know that there were conversations between Outcome
   24     salespeople and the prospective client, right?
   25     A. Yeah, sure.
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     1    Q. And typically you're not privy to that unless somebody
     2    happens to forward you an e-mail, right?
     3    A. Correct.
     4    Q. Okay. So let's look at some of the communications that
     5    happened before that list match process.
     6               So let's go to DX 6206. And this is a July 20, 2012,
     7    e-mail from Outcome salesman Bob Mons to Carol Lansen at
     8    MEC Global.
     9               Do you see that?
   10     A. Yes.
   11     Q. You recognize MEC Global. That's an ad agency, right?
   12     A. I believe so, yes.
   13     Q. And the subject line is Amgen/Enbrel, 2013 ContextMedia
   14     program terms and cost, next steps, right?
   15     A. Yes.
   16     Q. And there's a copy to Mr. Shah, Ms. Lynn Jones,
   17     Ms. Agarwal, to Amgen employees and yourself, right?
   18     A. Yes.
   19     Q. And let's look at what Mr. Mons was writing here: "Hi,
   20     Carol, thanks for making time to visit with Rishi and myself?"
   21                Right?
   22     A. Yes.
   23     Q. And you weren't in that meeting with Amgen, right?
   24     A. No, I don't believe so.
   25     Q. You do know that Amgen is a huge pharma company, right?
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     1    A. Yes.
     2    Q. Yeah. And Mr. Mons continues: "Attached is the deck we
     3    reviewed today along with the 2013 program terms and cost. As
     4    discussed, we will initiate our dermatology network build in
     5    the fall and average 1200 sites or more in 2013."
     6               Do you see that?
     7    A. Yes.
     8    Q. And that's an e-mail sent in July 2012, right, sir?
     9    A. Yes.
   10     Q. And you would agree Mr. Mons here, he's explicitly
   11     disclosing that Outcome will build its network starting in the
   12     future, right, in the fall?
   13     A. Yes.
   14     Q. And would grow it so that it would average 1200 sites in
   15     2013, right?
   16     A. Yes.
   17     Q. Okay. So let's go to page 12 of the PDF.
   18                MR. HUESTON: And I think we got to go two more
   19     pages. Through 2013. I may have the wrong -- one moment.
   20     There we go. Okay.
   21     BY MR. HUESTON:
   22     Q. And this says at the second bullet here: "Through 2013,
   23     we are expecting to build out our dermatology health network
   24     from 300 sites, fourth quarter 2012, to over 1200 sites across
   25     the U.S."
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     1               Right?
     2    A. Yes.
     3    Q. That's talking about building and projections, right?
     4    A. Yes.
     5    Q. And right below, Outcome notes that this is the network
     6    that will be in place by 2012, right?
     7    A. Can you repeat your question? I'm so -- I'm sorry.
     8    Q. Sure. The second bullet says through 2013. They're
     9    projecting forward into 2013, right?
   10     A. Yes.
   11     Q. I know this is a long time ago, but I think we started,
   12     this is a July 2012 e-mail, right?
   13     A. Yes.
   14     Q. They're projecting into the future, right?
   15     A. Yes.
   16     Q. All right. Okay. So we can -- so, sir, you would agree,
   17     this is a time, by the way, 2012, 2013, the company is much
   18     smaller, right?
   19     A. Yes.
   20     Q. This is a time where Mr. Shah was actually in the room
   21     with clients. This isn't 500 employees years later, right?
   22     A. Correct.
   23     Q. So you would agree here it is early on, 2012, back when
   24     Mr. Shah was in the room with the clients, Outcome is
   25     explicitly disclosing how many sites it is currently in and
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     1    what it projects to be in the future, right?
     2    A. Yes.
     3    Q. Okay.
     4               MR. HUESTON: We can take that down.
     5    BY MR. HUESTON:
     6    Q. We've talked about this a bit, but another way that
     7    Outcome included projected growth in campaigns was with the
     8    use of a weighted average, right? You've talked about that a
     9    bit. Yes?
   10     A. Yes. Sorry.
   11     Q. You have to say "yes" for the record.
   12     A. No, no, sorry. I wasn't sure if you were done with your
   13     question. Yes.
   14     Q. Okay. Fair enough. And you explained last week that
   15     weighted average meant that the campaign started with a lower
   16     number of devices and grew over the course of the campaign to
   17     get to a higher number, right?
   18     A. Yes.
   19     Q. That's the idea, to try to get to a weighted average
   20     projection, right?
   21     A. Yes.
   22     Q. Okay. And typically the weighted average would hopefully
   23     be the middle of that projection?
   24     A. Theoretically, yes.
   25     Q. Yeah. Now, I think you testified that from what you saw,
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     1    documents you saw, that Outcome didn't always inform
     2    salespeople or clients that Outcome wanted to use weighted
     3    average type understandings?
     4    A. Correct.
     5    Q. Okay. Let's go to CX 10106. We just saw one, by the way.
     6    The last exhibit I showed you talked about an average. It a
     7    was weighted average reference, right?
     8    A. Yes.
     9    Q. That was to Amgen, a huge client, right?
   10     A. Yes.
   11     Q. Okay. Let's go to this one. This is January 24, 2012, so
   12     we're in early days still, small company, right?
   13     A. Yes.
   14     Q. From Jeana Loewe to Mr. Mons, copying Mr. Shah and
   15     Ms. Agarwal, right?
   16     A. Yes.
   17     Q. Okay. Now, you're not on this e-mail, right?
   18     A. Correct.
   19     Q. Okay. And we'll just look below. Mr. Mons, let's go down
   20     below to Mr. Mons' e-mail. And he asks: "Hi, Jeana, I know
   21     you have a keen eye for detail and quality. I was hoping you
   22     could review the attached DHN/RHN presentations."
   23                Do you see that?
   24     A. Yes.
   25     Q. "And give me some help."
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     1               Right?
     2    A. Yes.
     3    Q. And from the e-mail he's sending the RHN deck back, right?
     4    Or she's sending it back above. Sorry.
     5    A. Yes, that appears to be the case.
     6    Q. Okay. Great. So let's go to page 2 of the exhibit. It
     7    says, "ContextMedia's rheumatoid health network overview for,"
     8    and then there's a blank, "sponsor logo here," right?
     9    A. Yes.
   10     Q. And stepping away from this document, it's an example of a
   11     template, right?
   12     A. Yes.
   13     Q. A template would be we make a structure for a
   14     presentation, and, you know, if we're going to use it multiple
   15     times, then we can put in a different -- you know, a different
   16     company, use it over and over again, right?
   17     A. Yes.
   18     Q. Okay. It looks like this is a template, right?
   19     A. It does.
   20     Q. Okay. And let's go to page 9 to see Mr. Mons' template
   21     for these sponsor presentations. And the slide says, "RHN
   22     sponsorship program opportunity" at the top, right?
   23     A. Yes.
   24     Q. And let's look at what it says for network overview. It
   25     says, "2012 monthly weighted average reach."
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     1               Right?
     2    A. Yes.
     3    Q. So this template for the entire year is disclosing that
     4    the campaign will grow over the course of the year, right?
     5    A. Yes.
     6    Q. And, sir, in presentations like this, a presentation to
     7    the client, that would typically be at the beginning they're
     8    being shown here's what we're going to do for you, right?
     9    A. Yes.
   10     Q. They're being shown at the beginning, we're going to be
   11     using weighted average, right?
   12                A JUROR: Your Honor?
   13                THE COURT: Yes.
   14                A JUROR: I need to step out.
   15                THE COURT: You need to get some water? Sure. Or
   16     step out? Go ahead.
   17                We'll take a brief recess. Everyone can stand up and
   18     stretch if you'd like.
   19           (Off the record.)
   20                THE COURT: Okay. Please have a seat.
   21                And you may continue.
   22                MR. HUESTON: Thank you, Your Honor.
   23     BY MR. HUESTON:
   24     Q. Okay. Let's go to CX 10107. Let's go to another example.
   25     This is an October 11, 2012, e-mail from Ms. Agarwal to
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     1    Mr. Shah, subject: Niaspan and the Heart Health Network,
     2    right?
     3    A. Yes.
     4    Q. Okay. And forwarded below is an e-mail from Mr. Crandall
     5    to Jennifer at Target Health.
     6               Do you see that?
     7    A. Yes, I do.
     8    Q. Okay. And you understand that Target Health is a media
     9    company, right?
   10     A. Agency, yes.
   11     Q. Agency, right, a buyer on behalf of pharmas?
   12     A. Yes.
   13     Q. Thank you.
   14                And you understand that it also, it's a buyer on
   15     behalf of -- they have multiple clients, right?
   16     A. Yes.
   17     Q. Multiple pharmaceutical clients?
   18     A. Yes.
   19     Q. And then below that is an e-mail from Mr. Svec to Leah
   20     Sallen and Emily Morris at Mindshare copying Mr. Crandall.
   21                Do you see that?
   22     A. Yes, I do.
   23     Q. Just separate from this e-mail, you know that Mindshare,
   24     that's another media company, right?
   25     A. Agency, yes.
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     1    Q. Agency that represents pharma companies?
     2    A. Yes.
     3    Q. Okay. And the note says, "Hello, Leah, Emily, thanks for
     4    your time and input today. You are already aware of our
     5    diabetes health, but as we discussed, we have expanded rapidly
     6    to create a Heart Health Network which we recommend for
     7    Niaspan in 2013."
     8               Do you see that?
     9    A. Yes.
   10     Q. Words rapid expansion are used there, right?
   11     A. Yes.
   12     Q. Second paragraph says, "Attached please find a brief
   13     summary of our Heart Health Network opportunity with a
   14     weighted average of 1600 screens for 2013."
   15                Do you see that?
   16     A. Yes.
   17     Q. So the words used here, weighted average, right?
   18     A. Yes.
   19     Q. And by the way, this is a time period even before you were
   20     brought into the process, sir, right, October 2012?
   21     A. I can't speak to that, but I believe so.
   22     Q. Okay. And let's look at the top. Mr. Shah says at the
   23     top --
   24                MR. HUESTON: Oh, before we get to her, Mr. Shah's,
   25     there he is. The second one in there, Wednesday October 10th,
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     1    there it is.
     2    BY MR. HUESTON:
     3    Q. And he says, "Good e-mail, Matthew."
     4               Right?
     5    A. Yes.
     6    Q. And Ms. Agarwal says above that, "By the way, I'm pretty
     7    sure Matthew ghostwrote the original e-mail to MS, very clear,
     8    concise and confident."
     9               Do you see that?
   10     A. I do.
   11     Q. Okay. Let's go to CX 10108. This is an August 25, 2013,
   12     e-mail from Mr. Shah to Ms. Agarwal, subject: Recent
   13     proposals, right?
   14     A. Yes.
   15     Q. And let's just go to the bottom of this e-mail. And at
   16     the bottom, Ms. Agarwal asks Mr. Svec for the Onglyza
   17     proposal.
   18                Do you see that?
   19     A. I do.
   20     Q. And separate from this, you understand that Onglyza is a
   21     diabetes brand from AstraZeneca?
   22     A. Yes.
   23     Q. And Mr. Svec responds: "Here it is, but I only have it on
   24     Adobe. We put it together on Rishi's computer in his hotel.
   25     If you need it in PowerPoint, Rishi should have it."
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     1               Do you see that?
     2    A. I do.
     3    Q. And then above, Mr. Shah sends the deck to Ms. Agarwal
     4    which he says is from July, right?
     5    A. Yes.
     6    Q. Okay. And then if we go to page 4, we see three proposals
     7    outlined, right, program options: option 1, option 2, option
     8    3. Do you see those?
     9    A. I do.
   10     Q. And each proposal is marked as a quote-unquote, weighted
   11     average proposal, right? Weighted average, weighted average,
   12     weighted average?
   13     A. Yes.
   14     Q. Okay. Option 3 which ends in June instead of December is
   15     only for 900 screens instead of a thousand, right?
   16     A. Yes.
   17     Q. Okay. Like the ones that run through December?
   18     A. Yes.
   19     Q. Okay. And we can put that down.
   20                And, sir, separately, you did observe that clients
   21     were often well aware of the use of projections in Outcome
   22     campaigns. You saw that, right?
   23     A. I saw some e-mails about that, yes.
   24     Q. Okay. Let's go to CX 10104 and look at an example from
   25     October 2012. And this is an e-mail chain between you,
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     1    Ms. Agarwal, and Mr. Shah dated October 8, 2012. And it's
     2    regarding Simponi 2012 live screens rollup.
     3               Do you see that?
     4    A. Yes.
     5    Q. Okay. And, again, Simponi, that's a rheumatoid arthritis
     6    medication manufactured by Johnson & Johnson?
     7    A. Yes.
     8    Q. Okay. And at the bottom of page 1, there's a beginning of
     9    an e-mail from a Kelly Hart at UMJ3, or JJJ. And you
   10     understood that to be Johnson & Johnson's advertising agency,
   11     right?
   12     A. Yes.
   13     Q. And at the top of page 2, if you go to what Ms. Hart is
   14     writing: "Attached you will find the rollup of screens/full
   15     year forecast on a monthly basis. For January through
   16     September, this should include the total screens that were
   17     approved/live. For all months moving forward, it should be
   18     the counts that you forecast that will be approved/live by the
   19     end of that month."
   20                Do you see that?
   21     A. I do.
   22     Q. And so the client here is acknowledging that the campaign
   23     involved forecasts, right?
   24     A. Yes.
   25     Q. And that those forecasts, they, in fact, can change
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     1    throughout the term of a contract, right?
     2    A. Yes.
     3    Q. And Ms. Agarwal then forwards this to you and says:
     4    "Projections for October through December remain the same for
     5    these purposes - 450."
     6               Right?
     7    A. Yes.
     8    Q. And then she continues: "RS, unless there's a reason for
     9    us to show actual growth that will happen independent of their
   10     contract? My hesitation is that they'll come back and tell us
   11     not to grow if they can't fund."
   12                Do you see that?
   13     A. I do.
   14     Q. So you understood her concern wasn't that Outcome wasn't
   15     going to go grow enough to meet projections. Her concern was
   16     that Outcome might actually grow too much, beyond what they
   17     could afford, right?
   18     A. Yes.
   19     Q. All right. Let's go to GX 64. And this is November
   20     of 2012, November 9, 2012, between you, Mr. Shah, and
   21     Ms. Agarwal, subject: Symlin pipeline results.
   22                Do you see that?
   23     A. Yes.
   24     Q. And Symlin is a diabetes medication manufactured by
   25     AstraZeneca?
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     1    A. Yes.
     2    Q. And turning to page 3 of this, you write: "RS and SA -
     3    the attached file has the match with Symlin's pivot tables and
     4    ours."
     5               Do you see that?
     6    A. Yes.
     7    Q. And then below, you wrote: "Next steps are to project out
     8    utilizing the overlay lists like Rishi instructed, but I need
     9    to know the target number of offices we are looking to be in
   10     so I can pull the correct number of prescribers and
   11     corresponding offices."
   12                Right?
   13     A. Yes.
   14     Q. You needed to know the target number, right?
   15     A. Yes.
   16     Q. And bottom of page 1, you go to bottom of page 1 after
   17     some back and forth between you and Mr. Shah, Mr. Shah
   18     summarizes what you'd come up with, writing: "Here are the
   19     final stats on the current match."
   20                Right?
   21     A. Yes.
   22     Q. Okay. And the match is broken down into two categories,
   23     right?
   24     A. Yes.
   25     Q. Current match, then current, and projected match, right?
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     1    A. Is there -- does that go into the next page -- no.
     2    Q. Yeah, there it is. Let me give you the full context.
     3    A. Thank you.
     4    Q. All right. So we got current match, right?
     5    A. Yes.
     6    Q. And then current plus projected, right?
     7    A. Yes.
     8    Q. And that here, this document, this is also perfectly
     9    consistent with your recollection in that first meeting with
   10     the FBI that Mr. Shah and Ms. Agarwal reported two numbers to
   11     pharma, one with current installs and one including growth,
   12     right?
   13     A. Yes.
   14     Q. Okay.
   15                MR. HUESTON: We can take that down. Let's go to DX
   16     6217.
   17     BY MR. HUESTON:
   18     Q. And this is a November 19, 2012, e-mail between
   19     Ms. Agarwal and Steve Svec, right?
   20     A. Yes. I'm sorry.
   21     Q. Sorry. I'm sorry. Symlin cross-reference list.
   22                Do you see that?
   23     A. Yes.
   24     Q. Okay. And what's being forwarded here, if you look below,
   25     it's a conversation between Outcome salesman Steve Svec and
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     1    representatives at the Scout advertising agency.
     2               Do you see that?
     3    A. Yes.
     4    Q. And if we go to the bottom of page 4, top of page 5,
     5    Mr. Svec writes: "Jane and Raffi, we have completed your list
     6    match, and we are currently matching 695 physicians in 463
     7    locations."
     8               Do you see that?
     9    A. Yes.
   10     Q. And, sir, let's compare the current match results
   11     disclosed to the client here with what Mr. Shah confirmed with
   12     you in GX 64; okay?
   13     A. Yes.
   14     Q. And let's put them up side by side. Okay. So we can see
   15     on the right -- there we are. And do those numbers match?
   16     A. Yes.
   17     Q. They're exactly the same, right?
   18     A. Yes.
   19     Q. Okay.
   20                MR. HUESTON: And then let's go back to DX 6217.
   21     Let's continue here.
   22     BY MR. HUESTON:
   23     Q. Mr. Svec writes: "With our current pipeline, we project
   24     reaching 1475, 1,475 of these physicians in 1100 locations
   25     over the course of 2013?"
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     1               Do you see that?
     2    A. Yes.
     3    Q. "My impression is that you're looking more short-term with
     4    this, but I want you to know that we will be growing
     5    through 2013 and beyond if you have the opportunity to give it
     6    a long-term look!"
     7               Right?
     8    A. Yes.
     9    Q. He is, again, expressly disclosing this is a projection,
   10     right?
   11     A. Yes.
   12     Q. And the projection of 1,475 physicians in 1,110 locations
   13     that is passed along to the client, again, that's the exact
   14     proposed match that you and Mr. Shah discussed internally on
   15     that other exhibit, right, GX 64?
   16     A. Yes.
   17     Q. Okay. So here back when Mr. Shah and Ms. Agarwal were
   18     closely involved, right, early days of the company, I've shown
   19     you examples here where Outcome is explicitly disclosing the
   20     projected pipeline and that it will be growing through the
   21     contract term, right?
   22     A. Yes.
   23     Q. Okay. Let's go to CX 10105. And now we're on a
   24     February 11, 2013, e-mail between you, Mr. Shah, Ms. Agarwal,
   25     subject: Novo match.
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     1               Do you see that?
     2    A. I do.
     3    Q. Okay. Let's go to page 2 in the middle. And you can see
     4    that you wrote that the list match was for Novo's Victoza and
     5    insulin medications, right?
     6    A. Yes.
     7    Q. All right. And at the bottom of page 1, you wrote: "RS
     8    and SA (with your fake out of office) what are you guys
     9    thinking as far as projection goes? Should we send them the
   10     true match with MS and the latter stages of outreach? To
   11     Rishi's point, we are on pace."
   12                Do you see that?
   13     A. Yes.
   14     Q. And up above, let's see what Mr. Shah says. And Mr. Shah
   15     says, "Can you tell me what the match looks like if we use the
   16     later stages of outreach (stuff where we think there's a good
   17     likelihood it will come in.)"
   18                Do you see that?
   19     A. Yes.
   20     Q. "I think the best option may be to give them this limited
   21     set of matches and let them know this is a match on the
   22     diabetes network for which Novo has contracted a weighted
   23     average of 1800 screens."
   24                Do you see that?
   25     A. Yes.
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     1    Q. Okay. So to try to unpack that, Mr. Shah, you would
     2    agree, isn't asking for an unrealistic projection; he's asking
     3    for offices that only have a good likelihood of coming in,
     4    right?
     5    A. Yes.
     6    Q. And he's saying the best option is to disclose that match
     7    involves a weighted average, right?
     8    A. Yes.
     9    Q. So Mr. Shah asks for a reasonable projection, then said
   10     the best course of action is to tell the client that the match
   11     involves growth, right?
   12     A. Yes.
   13     Q. Okay. We can put that down.
   14                Let's go to CX 10158. February 6, 2012, e-mail chain
   15     from Mr. Shah to you, Mr. Svec, Ms. Agarwal, subject: Revised
   16     PowerPoints.
   17                Do you see that?
   18     A. Yes.
   19     Q. And let's go to the bottom e-mail on the first page,
   20     Mr. Svec asks: "Guys, here's an urgent request from AZ" --
   21     that's AstraZeneca, right?
   22     A. Yes.
   23     Q. -- "regarding the list match. Any chance of getting these
   24     numbers to me ASAP?"
   25                Do you see that?
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     1    A. Yes.
     2    Q. And then Mr. Shah replies above: "Steve, one of the
     3    slides lists a percentage figure for the offices that matched.
     4    In order to calculate the number of offices by decile, you
     5    should apply the percentage against our weighted average of
     6    1200 offices."
     7               Right?
     8    A. Yes.
     9    Q. So Mr. Shah receives a question about a list match and
   10     again explains to the salespeople that the match is based on a
   11     weighted average.
   12                Do you see that?
   13     A. Yes.
   14     Q. So you're seeing this is giving additional context, sir,
   15     on this issue that you testified last week, right?
   16     A. Yes.
   17     Q. And you're seeing, sir, that there's a lot of
   18     communications that you weren't shown before, right?
   19     A. Yes.
   20     Q. That show that there were conversations between Outcome
   21     and the client about disclosures of projections, right?
   22     A. Yes.
   23     Q. All right. So you were shown a few e-mails last week
   24     involving list matches that included projections, and you were
   25     asked, well, did Mr. Shah give you explicit instructions to
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     1    disclose that number, that the number included projections.
     2    Do you remember those questions?
     3    A. Yes.
     4    Q. But what we never saw, sir, was Mr. Shah telling you not
     5    to tell a client that the list match included projections,
     6    right?
     7    A. Correct.
     8    Q. Not a single instance of that, right?
     9    A. No, we did not see that.
   10     Q. Okay. Let's move on to another topic. Let's talk about
   11     the different types of contracts. You testified a little bit
   12     about different types of contracts at Outcome Health that you
   13     were familiar with, right?
   14     A. Yes.
   15     Q. Okay. Let me put up a couple of demonstratives that the
   16     government showed to orient us here.
   17                MR. HUESTON: So let's put up GX 1133L, side by side
   18     with GX 1133J.
   19     BY MR. HUESTON:
   20     Q. Okay. And the one on the right was showing delivery
   21     against, if there was a requirement that all offices be
   22     installed as of a go-live date, right?
   23     A. Yes.
   24     Q. Okay. And I think while -- you testified that while
   25     weighted average might be a little closer, Outcome failed to
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     1    deliver under either scenario, either weighted average or
     2    ultimate outcome, right?
     3    A. Yes.
     4    Q. We'll talk about that in more detail in a minute. But
     5    just so -- and weighted average is on the left, right?
     6    A. Yes.
     7    Q. Okay. I just said left-right, but these are two different
     8    types of contracts that were talked about, right?
     9    A. Yes.
   10                MR. HUESTON: So we can take those down.
   11     BY MR. HUESTON:
   12     Q. But, in fact, those weren't the only two contract types
   13     that Outcome had, right?
   14     A. No.
   15     Q. Sometimes clients just bought access to the whole Outcome
   16     network and not a specific set of offices, right?
   17     A. Yes.
   18     Q. And sometimes a campaign instead had what was referred to
   19     as a build goal. Do you remember that?
   20     A. Yes.
   21     Q. And in a build goal, the only number that matters to the
   22     client is the final number, right?
   23     A. It depends on the client, but I believe that's -- yes.
   24     Q. But generally that's right, you're building to a goal,
   25     right?
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     1    A. Yes.
     2    Q. Okay.
     3               MR. HUESTON: And to illustrate the build goal idea,
     4    let's go to DX 10182. And I'll just put this up as a
     5    demonstrative.
     6    BY MR. HUESTON:
     7    Q. And so let's just take the Pradaxa example, right? You've
     8    talked a lot about the -- you know, 18 -- 1,819 office goal.
     9    Remember?
   10     A. Yes.
   11     Q. And so to run out a scenario here where you just surpass
   12     that goal in the last month, if that's what a contract was to
   13     get there as a build goal in the last month, it might look
   14     like something like that, right?
   15     A. Yes.
   16     Q. So you could go under, under, under, under, under, but if
   17     you get over the line in the last month, you build to that
   18     goal, you're good, right?
   19     A. Yes, to the build goal, yes.
   20     Q. Okay.
   21                MR. HUESTON: And we can take that down.
   22     BY MR. HUESTON:
   23     Q. And there are -- were other ways you understood, sir, that
   24     you might not hit delivery numbers but still not violate the
   25     contract, right?
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     1    A. Yes.
     2    Q. So, for example, Outcome could miss a delivery but provide
     3    a make good, right?
     4    A. Yes.
     5    Q. And the make good might take the form of a credit issued
     6    to a client, right?
     7    A. Yes.
     8               MR. HUESTON: So let's go, again, to show this
     9    visually, let's go to the next slide of an example of a make
   10     good. We'll go to slide 2.
   11     BY MR. HUESTON:
   12     Q. So let's say, for instance, this is a contract that's
   13     going in April, May, June, and July, and they're hitting
   14     the -- the X's are below the line.
   15                Do you see that?
   16     A. Yes.
   17     Q. And it looks like they're not going to hit the line at
   18     all.
   19                Do you see that?
   20     A. Yes.
   21     Q. And one way they could provide a make good would be to
   22     provide an extension of the campaign, run it more at no cost
   23     for a few months, right?
   24     A. Yes.
   25     Q. And by doing that, that would satisfy the contract, right?
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     1    A. Yes.
     2    Q. Okay.
     3    A. It could.
     4    Q. It could. And just to be clear, in fairness to you, I
     5    mean, at Outcome, I think you've testified you didn't have
     6    insight as to when or how make goods were provided?
     7    A. That's correct.
     8    Q. Not really part of what you did?
     9    A. Correct.
   10     Q. Okay. But from your own experience in sales --
   11                MR. HUESTON: We can take that down.
   12     BY MR. HUESTON:
   13     Q. -- in 2016, there were two main programs you recall being
   14     involved with that had shortfalls, Eisai's weight loss drug,
   15     and the diabetes drug Contour. Does that ring a bell?
   16     A. Yes.
   17     Q. And, sir, in both instances, are you aware that, you know,
   18     Outcome approved refunds or make goods to the brands for
   19     hundreds of thousands of dollars?
   20     A. Yes.
   21     Q. Okay. And, in fact, I think you told the FBI in those
   22     sessions you believe that issuing those make goods, that was
   23     the right thing to do, right?
   24     A. Yes.
   25     Q. So from your limited time in sales, sir, it's fair to say
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     1    you have first-hand experiences that under-delivery on a
     2    campaign doesn't mean necessarily you violated the contract,
     3    right?
     4    A. Correct.
     5    Q. Let alone committed fraud, right?
     6    A. Correct.
     7    Q. Okay. You just have to do a make good, right?
     8    A. Yes.
     9    Q. Okay. And there were even more ways that you're aware of
   10     that missing numbers didn't mean there was any contract
   11     violation; is that right?
   12     A. Yes, correct.
   13     Q. So, for example, there were instances where clients signed
   14     a letter acknowledging that at the end of the campaign,
   15     regardless of any obligations that might have existed in the
   16     contract, they considered the agreement to be complete, right?
   17     A. I was unaware of that.
   18     Q. Okay. Let's go to GX 1386.
   19                MR. HANKEY: Your Honor, I don't believe this is in
   20     evidence.
   21                THE COURT: Let's take it off the screen.
   22                All right. Let's go to sidebar.
   23           (Sidebar.)
   24                THE COURT: All right. What's the objection?
   25                MR. HANKEY: Your Honor, I don't think this is --
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     1               THE COURT: Was this tendered as a defense exhibit
     2    over the weekend?
     3               MR. HUESTON: Not over the weekend, but this is one
     4    of the ones -- let me back up a bit.
     5               This was disclosed earlier today. And this is a
     6    module -- or last night? It was last night. As we prepared
     7    this module late -- and I will say, Your Honor, that the
     8    government, and we haven't complained, has sent e-mails and
     9    stuff, you know, during their exams. He will find it in his
   10     e-mails. So it wasn't in the initial tranche. Oh, actually I
   11     have a note that the government did agree to this list, so
   12     actually the record reflects you agree.
   13                THE COURT: To this exhibit?
   14                MR. HUESTON: Yes.
   15                THE COURT: Or set of exhibits you're going to use in
   16     this area?
   17                MR. TODISCO: Yes.
   18                THE COURT: Do you want to confirm that, Mr. Hankey?
   19                MR. HANKEY: If you don't mind.
   20                THE COURT: Sure. Go ahead.
   21                MR. HANKEY: What's the exhibit number again?
   22                MR. TODISCO: 1836.
   23                THE COURT: You need to speak into the mic.
   24                MR. TODISCO: And we sent it at 10:19 last night.
   25     Then you responded this morning with the one objection on the
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     1    business records issue that Judge Durkin resolved this
     2    morning.
     3               MR. HANKEY: Okay. I don't need to check then. I
     4    must have been mistaken, Your Honor. However, I think the
     5    testimony for Mr. Ketchum is that he did not recall this.
     6               THE COURT: He doesn't recall the type of contract
     7    that allowed for basically the customer saying well, if you
     8    don't give us everything we want, no big deal, which I think
     9    is what the import of this is. He said he didn't recall
   10     anything like that. So you're about to ask him about what he
   11     didn't recall?
   12                MR. HUESTON: Well, I'm just going to -- this
   13     document they've agreed it's admissible. It's a business
   14     record. I'm just going to point out the provision that says
   15     just that and move on. That's all.
   16                THE COURT: All right. Well, that's consistent with
   17     the -- what's been going on all day today and in part what
   18     happened with the -- well, any additional objection?
   19                MR. HANKEY: No, not to that, Your Honor.
   20                THE COURT: Okay. All right. So the -- the document
   21     apparently is admissible or admitted. We'll deal with that at
   22     4:30 about what's in, what's out. But this questioning is
   23     proper. Go ahead.
   24                MR. HUESTON: Thank you.
   25           (End of sidebar.)
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     1               THE COURT: All right. You may proceed.
     2               MR. HUESTON: Okay. So let's go ahead and put the
     3    document up, GX 1836.
     4    BY MR. HUESTON:
     5    Q. And you could see this is a document here, Outcome Health
     6    to Heather Econ, Spark Communications, re: completion of
     7    agreements. And so let's go down further in the paragraph,
     8    and I'm going to highlight the language.
     9               THE COURT: Who is this from? Can you show the last
   10     page --
   11                MR. HUESTON: Sure.
   12                THE COURT: -- so we know who wrote it?
   13                MR. HUESTON: Sure. Yes. Brok Vandersteen on behalf
   14     of ContextMedia, and this is acknowledged and agreed by
   15     Spark Communications, as an agent for and on behalf of
   16     Novo Nordisk Pharmaceuticals.
   17                Okay. So let's go to the first page. Okay. And
   18     there's some initial language here, and then following --
   19     let's go to the following quote, please, following discussions
   20     and mutual agreement. There it is.
   21     BY MR. HUESTON:
   22     Q. "The parties have now determined that the agreements are
   23     complete?"
   24                Right? Do you see that language, sir?
   25     A. Yes.
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     1    Q. Okay. We can put that one aside.
     2               And so we've gone through a number of examples of
     3    different types of contracts that various clients had, right?
     4    A. Yes.
     5    Q. Okay. There are differences in the campaigns, right?
     6    A. Yes.
     7    Q. Let's go to GX 1130 which is something that you looked at
     8    on direct exam, and I think you testified about this as a
     9    sample contract, right?
   10     A. Yes.
   11     Q. And you recall that this is a January 30, 2013, contract
   12     for Humira, correct?
   13     A. I believe so, yes.
   14     Q. And if you look at the column titled quantity paid, "QTY
   15     paid"?
   16     A. Yes.
   17     Q. And we kind of blow that out, I think the numbers are very
   18     small. There are different -- the contract calls for a
   19     different quantity each month as you go down, right? That's
   20     65, and there are different quantities below that.
   21                MR. HUESTON: Let's pop it back out.
   22     BY MR. HUESTON:
   23     Q. You see there's 65, and I could even see it from here,
   24     110, 95, 80, right?
   25     A. Yes.
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     1    Q. Okay. So even in this model contract, Mr. Ketchum, when
     2    Outcome's CFO sent it over to you, even he said it was a
     3    little confusing. Do you remember that?
     4    A. I don't.
     5               MR. HUESTON: Let's go to the beginning of the
     6    e-mail, GX 191 at 1.
     7    BY MR. HUESTON:
     8    Q. "Jay, this contract is a little confusing?"
     9               Do you see that?
   10     A. Yes.
   11     Q. And now you've previously identified this Humira contract
   12     where we've been talking about here as an incremental
   13     contract, right?
   14     A. Yes.
   15     Q. Okay. And I think you've said that special rules apply to
   16     a contract designated incremental, including that an
   17     incremental contract typically would be an exception to what
   18     you said is the rule, that everything needed to be actually
   19     installed as of the precise dates in the contract, right?
   20     A. I don't recall if that's exactly what I said, but I think
   21     the gist of it.
   22     Q. All right. Okay. That's fair. But this model contract,
   23     what you call the model contract, that actually shows there
   24     are exceptions to the rule about how contracts are interpreted
   25     and executed, right?
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     1    A. Yes.
     2    Q. Okay. So let's go back to GX 1133J. This is the original
     3    slide that the government showed you demonstrating the Pradaxa
     4    campaign. That's what we're going to be talking about now,
     5    was behind in August, okay?
     6    A. Yes.
     7    Q. Now, we've just reviewed and you've just stated that
     8    because there's under-delivery at a point in time that doesn't
     9    necessarily mean that Outcome is yet violating contractual
   10     provision, right?
   11     A. It's possible, yes.
   12     Q. Okay. You first have to dig into the details, right, and
   13     figure out, well, is this a campaign with a strict go-live
   14     date or not; that's an important detail, right?
   15     A. Yes.
   16     Q. Or you have to figure out does it have a build goal,
   17     right?
   18     A. Yes.
   19     Q. Or is it an incremental campaign, right?
   20     A. Yes.
   21     Q. Or a weighted average contract, right?
   22     A. Yes.
   23     Q. You might also want to know, gosh, if something is
   24     happening here with performance, does it have anything to do
   25     with the client, is the client responsible for some issue in
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     1    performance; that's a factor, right?
     2    A. Sure, yes.
     3    Q. Okay. And you'd want to know before you concluded there
     4    was a violation whether there was a make good, right?
     5    A. Yes.
     6    Q. And you'd also want to know, like in the contract I just
     7    showed you, whether even if there is a miss that the client
     8    said at the end of the day we're going to view this as
     9    completed, you would want to know that too, right?
   10     A. Yes.
   11     Q. And so, sir, you would agree that these delivery charts
   12     that you testified about last week, that's like the beginning
   13     of the story. There were a lot of other details that matter,
   14     right?
   15     A. Yes.
   16     Q. All right. So let's now get into Pradaxa. That's a heart
   17     health medicine, right? That's what Pradaxa was?
   18     A. Yes.
   19     Q. And that's manufactured by a pharma company called
   20     Boehringer Ingelheim, right? BI it's often referred to?
   21     A. Yes.
   22     Q. So let's briefly put back up GX 1133J and G 1133L and put
   23     them side by side. Okay. There's 1133J on the left, 1133L on
   24     the right.
   25                So 1133J, the one on the left there, that's what you
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     1    described as Outcome's delivery on the Pradaxa campaign as you
     2    understood through what was shown to you last week as
     3    Outcome's contractual obligations, right?
     4    A. Yes.
     5    Q. Okay. And then it was your understanding that Outcome had
     6    an obligation I think you said to deliver 1,009 screens right
     7    from the onset of the campaign, right?
     8    A. That sounds correct, yes.
     9    Q. Okay. And then on the right side, that's what you
   10     describe what delivery would look like if Pradaxa had been a
   11     weighted average campaign, right?
   12     A. Yes.
   13     Q. Okay. And, again, the difference is if this is a weighted
   14     average campaign, then Outcome -- it's okay if Outcome is
   15     missing early as long as it makes up later, right?
   16     A. Yes.
   17     Q. And you explained that to satisfy the weighted average
   18     contract, you do just need to make that up at some point
   19     during the contract, right?
   20     A. Yes.
   21     Q. All right. Now, the chart -- let's see. If you look at
   22     1133J now, let's just look at that alone. I notice here the
   23     X's that you went through with Mr. Hankey, that stops there in
   24     August, right?
   25     A. Yes.
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     1    Q. And I think you testified that you believe it would have
     2    been unlikely, at least based on the trajectory of those X's,
     3    that Outcome was going to actually grow in those later months
     4    of the year, right?
     5    A. Correct.
     6    Q. Okay. And by the way, those X's were all charted in terms
     7    of offices, not screens, correct?
     8    A. I believe so, yes.
     9    Q. Okay. But either way, you do agree that without knowing
   10     the total delivery for the full year, you can't actually
   11     conclude if the weighted average number was even met, right?
   12     You really need to know the other end of the equation, right?
   13     A. Yes.
   14     Q. Okay. But I think you testified you just hadn't been
   15     shown anything to suggest that Pradaxa was, in fact, a
   16     weighted average contract, right?
   17     A. Correct.
   18     Q. All right. So let's go to GX 88. You were shown this
   19     exhibit last week. And this is where Ms. Agarwal says, and
   20     we'll pull it out: "We have to race to 1,819 screens there by
   21     midyear and believe only have a third of those already."
   22                Do you remember that?
   23     A. Yes.
   24     Q. And Mr. Shah is copied on this e-mail, right?
   25     A. Yes.
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     1    Q. And in her e-mail, Ms. Agarwal is describing Outcome's
     2    obligations in terms of screens, right?
     3    A. Yes.
     4    Q. And I think you testified, sir, this e-mail indicated that
     5    Ms. Agarwal is under the belief there's a weighted average for
     6    the contract, right?
     7    A. Yes.
     8    Q. And just to be clear, for the record, you're not saying
     9    Ms. Agarwal didn't genuinely believe, right, at this time that
   10     this was a weighted average or wasn't a weighted average
   11     campaign; it's just that based on your review of the contract,
   12     she was mistaken, right?
   13                MR. HANKEY: Foundation, Your Honor. Speculation.
   14                THE COURT: Sustained.
   15                MR. HUESTON: Okay.
   16     BY MR. HUESTON:
   17     Q. You have no basis to say this wasn't a genuine belief,
   18     right?
   19                MR. HANKEY: Objection. Same objection.
   20                THE COURT: Yeah, you're asking him -- it is
   21     speculation. The objection is sustained.
   22                MR. HUESTON: Well, let me try one more thing.
   23     BY MR. HUESTON:
   24     Q. Did you have conversations with her at the time about
   25     this, the race to 1819 screens?
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     1    A. Not that I really recall.
     2    Q. Okay. Then I'll move on.
     3               And, again, you understand a mistake is not
     4    necessarily fraud, right?
     5    A. Correct.
     6               MR. HANKEY: Objection. Mischaracter- --
     7    argumentative.
     8               MR. HUESTON: Well --
     9               THE COURT: Well --
   10                MR. HANKEY: Legal conclusion.
   11                MR. HUESTON: This is --
   12                THE COURT: Hang on. It's this witness's perception.
   13     He already testified to things he believed occurred that were
   14     fraudulent so he can properly inquire about things that might
   15     not be. So objection overruled.
   16                MR. HUESTON: Okay. So we can put this down.
   17     BY MR. HUESTON:
   18     Q. And you testified last week that Outcome's CFO Jim Demas,
   19     that he handled quite a bit and maybe even a majority of
   20     Outcome's contracting, right?
   21     A. Yes.
   22     Q. So that means he, to your understanding, would take what
   23     the parties agreed to and try to put it in a contract. That's
   24     one of his roles, right?
   25     A. I can't speak too confidently to that.
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     1    Q. Okay. But he was mostly involved in the contracting,
     2    right?
     3    A. Yes.
     4    Q. All right. So let's go to GX 195. And this is an e-mail
     5    from Mr. Demas to Mr. Purdy and the senior management team
     6    responding to one of your MS weekly reports; is that right?
     7    A. Yes.
     8               MR. HUESTON: And at this time we'd ask that this be
     9    admitted as a hearsay exception for effect on the listener.
   10                THE COURT: Ladies and gentlemen, this is going to be
   11     admitted for that purpose. It's not admitted for the truth.
   12     In other words, the factual statement here is not being
   13     admitted as something you can take as truthful or as proof of
   14     the -- what's represented in the e-mail, but it is admitted
   15     for the limited purpose of the effect on the listener, the
   16     people who were party to this e-mail.
   17                MR. HUESTON: Okay. And let's go to the bottom of
   18     page 2.
   19     BY MR. HUESTON:
   20     Q. And we see here that this is the report where you note
   21     that there were 800 Pradaxa screens, right?
   22     A. Yes.
   23     Q. So you're using the word "screens," right?
   24     A. Yes.
   25     Q. All right. And by the way, sir, you mentioned that you
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     1    were rerunning the match to get any new additions. You see
     2    that?
     3    A. Yes.
     4    Q. And you would agree, sir, at the time you would only be
     5    doing that if at that time you were also under the impression
     6    that this was a campaign that included growth, right?
     7    A. I can't really speak to that.
     8    Q. Okay. At the time, sir, you're rerunning a match to get
     9    new additions scheduled. That's talking in terms of growth,
   10     scheduled additions?
   11     A. That's not necessarily growth pertaining to a contract.
   12     That's just growth of the network in general, I believe.
   13     Q. Okay.
   14                MR. HUESTON: And let's go to page 1.
   15     BY MR. HUESTON:
   16     Q. Mr. Purdy asks: "SA/RS, I thought we started the year
   17     with more Pradaxa screens than that."
   18                And, again, he's talking in terms of screens, right?"
   19     A. Yes.
   20     Q. And then he continues: "What were the numbers you
   21     remember? What is the go-live commitment?"
   22                Do you see that?
   23     A. I do.
   24     Q. And as you discussed last week, there's only a strict
   25     go-live commitment if the contract is not weighted average,
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     1    right?
     2    A. Correct.
     3    Q. Okay. Weighted average is the exception where you can
     4    start under the contracted-for number, right?
     5    A. Yes.
     6    Q. And then Mr. Demas, again, is who you described as the one
     7    most responsible for contracting, right?
     8    A. Yes.
     9    Q. He replies and says, "Pradaxa was sold on a weighted
   10     average of 1,819 screens."
   11                Right?
   12     A. Yes.
   13     Q. And this e-mail is sent to the senior management team
   14     ListServ?
   15     A. Yes.
   16     Q. And that senior management team ListServ, that includes
   17     Mr. Shah, right?
   18     A. Yes.
   19     Q. And Ms. Agarwal, right?
   20     A. Yes.
   21     Q. So you agree Mr. Shah is receiving this information from
   22     Mr. Demas as well, right?
   23     A. Yes.
   24     Q. And so when you testified last week, you weren't shown
   25     this last week, were you?
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     1    A. No.
     2    Q. So when you testified last week that you didn't see
     3    anything indicating that Pradaxa was a weighted average
     4    contract, you hadn't seen this e-mail, right?
     5    A. That's correct.
     6    Q. And you weren't part of the Pradaxa contracting process,
     7    were you?
     8    A. No.
     9    Q. It would have been helpful to have this as part of context
   10     for you?
   11                MR. HANKEY: Objection, Your Honor. He wasn't on
   12     this e-mail.
   13     BY MR. HUESTON:
   14     Q. Would you have --
   15                MR. HUESTON: It's a separate question.
   16                MR. HANKEY: Objection to the narrative.
   17                THE COURT: All right. Re-ask your question.
   18                MR. HUESTON: Sure.
   19     BY MR. HUESTON:
   20     Q. Do you agree that seeing this e-mail would have provided
   21     you with some helpful context to your testimony?
   22     A. Yes.
   23     Q. Okay. And by the way, Mr. Demas also describes the
   24     delivery obligations in terms of screens. He uses the word
   25     "screens," right?
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     1    A. Yes.
     2    Q. All right. Let's go to GX 247, already admitted, and look
     3    at one more example. This is an e-mail you looked at last
     4    week between you and Mr. Shah. And you will recall that
     5    Mr. Shah asked you down at the bottom of page 1 for
     6    information about the Pradaxa campaign, including terms of the
     7    their buy.
     8               Do you see that?
     9    A. Yes.
   10     Q. Okay. And you had noted that, "Shradha indicated they
   11     purchased a weighted average."
   12                Do you see that?
   13     A. Yes.
   14     Q. So Mr. Shah is asking you about terms of the buy because
   15     presumably he doesn't know, right? Is that how you interpret
   16     that?
   17     A. Yes.
   18     Q. Okay. And the information that Mr. Shah is given is that
   19     this is a weighted average campaign. That's what this
   20     appears, right?
   21     A. Yes.
   22     Q. And you're not saying that Mr. Shah should have
   23     disbelieved this information you were providing, right? You
   24     have no basis to disbelieve what you're saying here, right?
   25     A. Correct. Sorry. I was a little confused in the way you
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     1    were asking your question.
     2    Q. Thank you. I clarified.
     3               And, again, you testified that Mr. Demas prepared the
     4    invoices for Outcome, right?
     5    A. Yes.
     6    Q. And so let's go to GX 1095. And I think on direct exam
     7    you did identify this as an invoice from Outcome for the
     8    Pradaxa campaign, right?
     9    A. Yes.
   10     Q. All right. And the invoice is billing for "Pradaxa
   11     advertising content on 1,819 ContextMedia health screens
   12     during the month of April."
   13                See that?
   14     A. I do.
   15     Q. Okay. Again, mentioning screens, right?
   16     A. Yes.
   17     Q. And if we flip through to pages 2, 3, and 4, it's flipping
   18     as you go. It's pretty much the same. It's 1,819 screens
   19     each time that's mentioned, right?
   20     A. Yes.
   21     Q. And regardless, I think you testified on direct you
   22     thought it should be offices, right?
   23     A. Yes, I believe so.
   24     Q. Okay. But regardless of whether you think it should have
   25     been in offices, we've shown now person after person
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     1    referencing this in screens, right?
     2    A. Yes.
     3    Q. And now I'm showing you every invoice says screens, right?
     4    A. Yes.
     5    Q. And you would agree in this invoice Outcome is telling the
     6    client it's based on screens?
     7    A. Yes.
     8    Q. Okay. And, sir, you're not a Certified Public Accountant,
     9    right?
   10     A. No.
   11     Q. Never been a CFO of a company, right?
   12     A. No.
   13     Q. Okay. And you've seen others with reference to the words
   14     weighted average campaign, right, including from Mr. Demas?
   15     A. Yes.
   16     Q. And that was told by Mr. Demas to Mr. Shah and
   17     Ms. Agarwal, right?
   18     A. Yes.
   19     Q. So Mr. Demas, these are his invoices, right?
   20     A. Yes.
   21     Q. It's fair to say with the knowledge that Outcome is
   22     currently below 1819 screens, Mr. Demas is reporting a
   23     weighted average number on the invoice, right?
   24                MR. HANKEY: Objection. Speculation. Foundation as
   25     to knowledge.
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     1               THE COURT: Sustained.
     2               MR. HUESTON: Okay.
     3    BY MR. HUESTON:
     4    Q. You saw earlier he was talking about this as a weighted
     5    campaign, right?
     6    A. Yeah, in the e-mail, yes.
     7    Q. Okay. And he's putting out these invoices, right?
     8    A. Yes.
     9    Q. And the weighted campaign was for 1,819 screens?
   10     A. Yes.
   11     Q. And each invoice says 1,819 screens from Mr. Demas, right?
   12     A. Yes.
   13     Q. Across time, right?
   14     A. Yes.
   15     Q. And if it were a weighted campaign, that would be
   16     appropriate because you're getting billed for the weighted
   17     number across time, right?
   18     A. Yes.
   19     Q. Okay. You can put that down.
   20                MR. HUESTON: If I can just have one minute,
   21     Your Honor.
   22                THE COURT: All right.
   23                MR. HUESTON: Maybe do a stretch break just --
   24                THE COURT: Sure.
   25                MR. HUESTON: Thanks.
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     1               THE COURT: We've got about five minutes left anyway.
     2               MR. HUESTON: Okay. All right. Actually, if I
     3    could -- I promise I'm going to reduce what I have, if maybe
     4    we can cut five minutes early.
     5               THE COURT: In other words, if we break now --
     6               MR. HUESTON: Yeah.
     7               THE COURT: -- you'll take less time tomorrow?
     8               MR. HUESTON: I will. I promise.
     9               THE COURT: Those are the magic words, ladies and
   10     gentlemen, that every lawyer uses toward the end of a day.
   11                MR. HUESTON: Yeah.
   12                THE COURT: So I'll give you -- I'll grant that
   13     request.
   14                Ladies and gentlemen, I do want to talk to you about
   15     one thing. We conducted today's proceeding with the consent
   16     of the parties with one of the jurors being unable to be here
   17     because of illness. Happily he believes he will be back
   18     tomorrow. He's feeling better, and I expect he'll be back
   19     tomorrow.
   20                Being in the courtroom, as you can tell, is an
   21     essential part of any jury trial, of course, and I made a very
   22     limited exception to that today. It's the exception, not the
   23     rule. In fact, I doubt I will allow it again. We need you
   24     all here. And I want to compliment you on doing so, for all
   25     of you to come every day in a timely way. You've had to wait
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     1    for us. We've never had to wait for you, and I appreciate
     2    that very much.
     3               I don't want to discharge anyone or delay the trial
     4    if a juror can't be here, so please continue your good
     5    attendance, your timeliness. I don't expect we will follow
     6    this procedure again in the future. So I would like to again
     7    compliment you on your efforts, and we'll take Mr. Hueston up
     8    on his comment that he's going to reduce what he has to do by
     9    working on it overnight.
   10                With that, we'll let you go for tonight. Please
   11     don't discuss the case among yourselves or with anyone else.
   12     We'll see you tomorrow morning at 9:00, and we'll start
   13     promptly then. Thank you all.
   14                COURT SECURITY OFFICER: All rise.
   15           (Jury exits.)
   16                THE COURT: Okay. Please be seated.
   17                Sir, you are released. You can come back tomorrow
   18     morning at 9:00. Please don't discuss your testimony with
   19     anyone as you are on cross-examination.
   20                THE WITNESS: Yes, Your Honor.
   21                THE COURT: Thank you.
   22                We'll make sure our remote juror is no longer
   23     connected.
   24                LAW CLERK: She removed the juror from Webex.
   25                THE COURT: Okay. He's no longer on.
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     1               Okay. A couple of things I want to raise on the
     2    record.
     3               One of the problems, concerns I have, is that we were
     4    not able to observe that juror, and that's -- part of a trial
     5    isn't just them looking at you, it's you looking at them.
     6               I want to confirm on the record with each defendant
     7    that they're waiving their ability to have observed that juror
     8    today. If they want a moment to talk to their counsel, they
     9    can because if you're not going to waive it, I'm going to
   10     discharge the juror and he will not come back tomorrow. So
   11     I'll give you all -- we'll go off the record for a minute, let
   12     each of you talk to your client because I'm going to ask each
   13     client if they had a full conversation with their lawyers
   14     about this situation. And this is the reason I'm likely not
   15     to do this again.
   16           (Off the record.)
   17                MR. HUESTON: Your Honor, I can begin. We discussed
   18     this already at another time, and my client is prepared on the
   19     record to make that waiver.
   20                THE COURT: All right. Mr. Shah, you understand that
   21     you had a right to have the absent juror in the courtroom. We
   22     could have either discharged him where he wouldn't have heard
   23     testimony today, or delayed the trial for a day for him to
   24     come back tomorrow. The decision was made by the parties to
   25     allow this to proceed in the matter it did, but one thing you
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     1    didn't get to do is watch that juror, his reaction to
     2    evidence, make sure he was being attentive, which I'm sure he
     3    was, but you have that ability with the screen and such that
     4    we could have watched him, but it is not the preferred way of
     5    proceeding with a trial. Have you had a chance to discuss
     6    this with your lawyers and are you waiving any objection you
     7    have to the procedure we conducted today?
     8               DEFENDANT SHAH: I have, and I do, Your Honor.
     9               THE COURT: All right. As to Ms. Agarwal, have you
   10     had a chance to talk this over with your lawyers, and do you
   11     agree to the procedure we followed today which I have just
   12     outlined?
   13                DEFENDANT AGARWAL: Yes, Your Honor.
   14                THE COURT: Okay. And Mr. Purdy?
   15                DEFENDANT PURDY: Yes, Your Honor, I approve.
   16                THE COURT: Okay. All right. Well, then I think is
   17     there any additional colloquy that the government wants me to
   18     conduct with the defendants on this waiver?
   19                MR. HANKEY: No, Your Honor.
   20                THE COURT: Okay. I should note that in the Ninth
   21     Circuit, the case of U.S. v. Edward Knight, which is at 56
   22     F.4th 1231, a Ninth Circuit case, 2023, this exact problem
   23     came up. The Court allowed a juror who was absent to hear
   24     testimony, who was ill to continue to hear testimony as long
   25     as he could see the witness, see the documents, hear the
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     1    lawyers, and the Court confirmed that he could, and the
     2    defendant gave a waiver similar to the one I just obtained
     3    from the defendants, and the Ninth Circuit upheld that
     4    procedure as proper. But going forward, I'm not sure I'm
     5    going to do it. In fact, I doubt it. I think it's not the
     6    best practice. And it was acceptable today because the
     7    parties have agreed to it and consented to it, but I think we
     8    have 19 prospective jurors for a reason. And going forward,
     9    absent something extraordinary, I will likely either recess
   10     the trial to allow a juror to come in the next day if they're
   11     ill or discharge the juror and proceed with the remaining
   12     jurors. We'll address that when it comes up, but that's the
   13     way I'm going to go forward.
   14                Anything else anyone wants to talk about on that
   15     subject?
   16                MR. POULOS: Your Honor, may I just have a moment to
   17     confer with counsel?
   18                THE COURT: Sure.
   19           (Counsel conferring.)
   20                MR. POULOS: Your Honor, could the Court tomorrow
   21     morning conduct a colloquy with this juror just to confirm
   22     that he was able to hear all the testimony, the entire
   23     proceeding, that he watched the entire proceeding, that
   24     throughout that he was able to see all the exhibits?
   25                THE COURT: I have no problem with that.
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     1               Any objection by the government?
     2               MR. HANKEY: No objection.
     3               THE COURT: Okay. I don't want to do that in the
     4    courtroom. And if you're satisfied I conduct that colloquy
     5    outside the presence of the other jurors in the hallway with
     6    him with my law clerk as a witness, I think that --
     7               MR. POULOS: That would be fine, Judge.
     8               THE COURT: If you're fine with that procedure, I'd
     9    rather do it that way. It doesn't need to be on the record.
   10     I'll report to you what I learned on the record, but there's
   11     no need to single out this juror who --
   12                MR. POULOS: Correct.
   13                THE COURT: -- as you all know when we spoke to him
   14     on the phone was very happy that he was being given the
   15     opportunity to participate this way, those of you that went
   16     back to chambers. So this was not a reluctant juror who
   17     didn't want to serve. He wanted to serve and was very unhappy
   18     that he couldn't because of the illness which happily I think
   19     he's over.
   20                MR. POULOS: That was my assessment as well,
   21     Your Honor, on the call, that he wanted to serve and was happy
   22     that the Court accommodated this today.
   23                THE COURT: Okay. Very good. That's all we need to
   24     say on this subject unless anyone else wants to raise
   25     anything?
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     1               Okay. What else do you want talk about now? I think
     2    the -- by the way, my courtroom deputy told him if he took any
     3    notes today to bring them down to court. We'll give him a
     4    stapler or a paper clip so he can attach them to his notepad
     5    and to -- and they'll then remain locked up in the jury room
     6    every night just like all the other jurors' notes.
     7               Okay. There was some back and forth about the
     8    procedure on admitted documents. Ms. Chou sent an e-mail
     9    about a change in the procedure where I had noted that I don't
   10     think it's appropriate to have documents that are although
   11     admitted in evidence were never referred to by the parties go
   12     back to the jury. If you disagree with that, I'll hear your
   13     argument, but my thought would be that we conditionally admit
   14     all the exhibits that you've agreed should come in and then
   15     decide those that go back to the jury later of -- would be
   16     those that actually were presented to the jury in one form or
   17     another.
   18                If you think that the jury can see -- have further
   19     review of documents you never referred to during the case,
   20     that's unusual. I'm not sure I would allow it. But I would
   21     hear argument on why you think it should happen.
   22                MR. HANKEY: Your Honor, that, what you just
   23     described, is generally fine with us. Is it okay if we look
   24     at the -- a written procedure rule and then let you know --
   25                THE COURT: Sure.
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     1               MR. HANKEY: -- either this evening or in the morning
     2    if we have any comments?
     3               THE COURT: Yeah. What I'd like to have happen, as
     4    you know because of the volume of exhibits, is a document
     5    similar to the one prepared by the government which notes the
     6    various exhibits that are admitted, admitted over objection,
     7    or admitted without objection, docketed, and then I would
     8    simply say docket entry 15 reflects the state of the exhibits,
     9    and they're all admitted per that, what is in effect an agreed
   10     statement of admission. But I need to -- I need you to
   11     propose a proposal that works for all of you so that I'm not
   12     having you do unnecessary work. I thought today went very
   13     smoothly compared to other days because we weren't going
   14     through that ritual of seeking admission of exhibits that had
   15     a standing objection or no objection.
   16                And so to the extent we can memorialize that, we have
   17     to. There has to be a record of what's in and what's -- and
   18     there has to be a preservation of objections beyond the
   19     standing objection. But to the extent you could find a way to
   20     memorialize that, then I think that's going to be the way we
   21     have to go forward. And I thought you were getting close to
   22     that.
   23                MS. CHOU: Yes, I think Your Honor's suggestion makes
   24     sense. Conditionally admitted sounds like good language for
   25     that, and so we can continue with the filing. And then just
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     1    in terms of what's actually admitted for purposes of the jury,
     2    we'll exchange those lists at the end of each day as we've
     3    been doing for what's been mentioned. That would be -- those
     4    will be the exhibits admitted into the record.
     5               THE COURT: If you disagree about the idea of the
     6    jury getting exhibits that are admitted in evidence that the
     7    parties ended up not using for whatever reason on cross or
     8    direct, the choice was not to use it because of situations
     9    involving witness answers, if you think those exhibits still
   10     ought to go to the jury, I need to know why and what authority
   11     there is for that.
   12                MR. HUESTON: My position is completely consistent
   13     with what you've set forth.
   14                THE COURT: All right. Because otherwise what's the
   15     point?
   16                MR. HUESTON: We agree.
   17                MR. HANKEY: I agree, Your Honor.
   18                THE COURT: I can't just do a document dump on the
   19     jury when there's never been an examination about it.
   20                MR. HUESTON: Agreed.
   21                MR. POULOS: Judge, I think the way that we've been
   22     handling the process and the way it's evolved is a really good
   23     one.
   24                My only request, Judge, is that the government --
   25     that they be admitted on a witness-by-witness basis as opposed
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     1    to admission now of witnesses that are coming, you know --
     2               THE COURT: I think that you asked for that earlier,
     3    and I heard argument on it and I said that's not necessary.
     4    So it was without prejudice, but it's denied again.
     5               MR. POULOS: Okay.
     6               THE COURT: They're giving you the exhibits for a
     7    week. And I'm confident you all know with some level of
     8    certainty which exhibits are coming in with which witness, not
     9    always, but I'm pretty sure this is not a mystery to you.
   10                MR. POULOS: Your Honor, the reason for that is
   11     simply that we get a list of exhibits with a very short
   12     turnaround time while we're also preparing cross-examinations
   13     and the like and that when you sit down and focus on a witness
   14     four witnesses down the road, you -- they see and discover
   15     other issues. So may we at least, Your Honor, if there -- as
   16     Ms. Chou used the word conditionally admit, I'm fine with
   17     that, but I would like the right to raise any additional
   18     challenges before it is shown to any particular witness.
   19                THE COURT: Well, that's fine.
   20                MR. POULOS: I don't want to waive the issue.
   21                THE COURT: No, but if there's an objection that is
   22     not part of all the things you've agreed to on those charts
   23     that you're providing on Sunday night or Sunday afternoon,
   24     you're free to raise that in court. I'm not cutting anybody
   25     off.
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     1               Let me say one other thing, too, about the course of
     2    the trial. We promised the jury 14 weeks. I don't know if
     3    our first week of jury selection counts as one of them and
     4    we're already in our third week or we're in our second week.
     5               I'm not going to cut off the defense or government
     6    from presenting their cases. That's simply not appropriate,
     7    and you're allowed to do cross-examinations and present your
     8    case without limitation. That's your absolute right.
     9               But my right to conduct the trial includes putting
   10     time limits on closings. I don't want to. I've never done
   11     it, but I will. If this jury doesn't get the case in the time
   12     we've promised them, we are being unfair to the jury. And so
   13     I'm telling this way in advance so that no one is surprised
   14     later if I end up putting time limits on closings to allow for
   15     them to deliberate. And you don't want them, if they pattern
   16     their life around 14 weeks, running into 15 weeks and then
   17     having to deliberate into their 16th week. That's not going
   18     to be good for either side. You want a jury that has the
   19     ability to deliberate within the time period you predicted
   20     this case would last. Now, I know we didn't talk about
   21     deliberations, but they ought to be getting this on the 14th
   22     week, whether we're in our third week or second week right
   23     now. And if I think we're not going to -- it's not going to
   24     happen, I will put time limits on closings so they can get it
   25     in a reasonable time.
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     1               Okay. Anything else from the government?
     2               MR. HANKEY: Yes, Your Honor. We want to be heard on
     3    a couple of things.
     4               So one is the questions by Mr. Hueston about whether
     5    the government showed a certain document or asked certain
     6    questions on direct.
     7               This is a case with many, many documents. I mean,
     8    our database has over a million records in it. We spent two
     9    hours on direct with this witness. We fronted many issues --
   10     sorry, two hours. Two days.
   11                THE COURT: Yeah.
   12                MR. HANKEY: We wish it was two hours. And we
   13     fronted many issues. Of course, we, you know, focused on
   14     documents that Mr. Ketchum was on, things that he was aware
   15     of. If we tried to front every single thing that, you know,
   16     we thought could come up on cross, the testimony would have
   17     doubled in length, at least.
   18                So we -- for a variety of reasons, we didn't do that,
   19     and then we didn't confront things especially that he wasn't
   20     on.
   21                So the questions about whether things were shown on
   22     direct or not suggests that there's some improper reason for
   23     not covering all of this in direct, and we -- you know,
   24     Your Honor, the questions just aren't appropriate.
   25                THE COURT: Okay.
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     1               Response?
     2               MR. HUESTON: Yeah. Thank you.
     3               So No. 1, there were a number of questions by
     4    Mr. Hankey, some of which I quoted: Did you see anything that
     5    indicated Mr. Shah ever tried to honestly disclose X, went
     6    beyond the documents, basically put stuff out there and said
     7    this is an example of these guys committing fraud, right. And
     8    had some very quick summary testimony which, Your Honor, we've
     9    objected to several times, like foundation and it's like,
   10     well, you said we can go at it in cross, and we are now going
   11     at it in cross.
   12                I think what's been revealed with this witness, the
   13     government doesn't like it, but it's the truth, is it's clear
   14     to me, I've spent a lot of time on Mr. Ketchum. He seems like
   15     a pretty nice guy. He was shown some documents. And it's my
   16     view and it's my defense that he was led to believe after
   17     giving some pretty exculpatory positions that with what he saw
   18     over time, okay, this is I guess -- you know, this is what I'm
   19     seeing. And what I'm illustrating is that when context
   20     matters, that's our defense theme. And when you look at other
   21     things, and I'm reminding the jury, it isn't any kind of dig
   22     on the government. It's just a reminder with the witness
   23     like -- and he's acknowledged, like, oh, yeah, now that I see
   24     this, thank you, it's helpful. And he's coming out in a
   25     different way. That is very appropriate, and it's been I
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     1    think critical testimony that is providing the truth.
     2               THE COURT: Okay. No piling on, anything else?
     3    Okay.
     4               Mr. Blegen, anything else?
     5               MR. BLEGEN: I mean, they also asked this witness
     6    various -- several times over objection, well, what did you
     7    conclude or what did you believe someone else meant based on
     8    these things. And, for example, if they left out and never
     9    showed him part of the same e-mail chain that would have
   10     affected his understanding, how do we do it without saying to
   11     him, and you haven't seen this before? Otherwise we're
   12     calling him a liar for something he's not lying about. He
   13     just didn't see it before. I don't think it can be done any
   14     other way.
   15                THE COURT: Yeah, unfortunately I can't think of
   16     another way it can be done either. There's a vast number of
   17     documents you could show him. I don't want you to show him a
   18     thousand documents just so the defense can't get to say you
   19     didn't see this document before.
   20                And I think the phrasing by the defense can be
   21     different. It doesn't have to be the government didn't show
   22     you this document on direct examination. Because if that
   23     happens, I'll just say, the government doesn't have to show
   24     every document in existence just to avoid that question. But
   25     you're certainly allowed to ask, can I show you another
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     1    document different than the one you were -- that puts context
     2    into an exhibit the government -- to an exhibit the government
     3    showed you. I don't know any other way to do it other than
     4    I -- but the criticism of the government, I'll give a curative
     5    instruction if that happens because it's not -- it's not
     6    appropriate. It's -- the universe is too large to require the
     7    government to show a witness every question to avoid that type
     8    of quasi-government misconduct suggestion.
     9               But you're certainly free to point out documents that
   10     are different, have a different -- in some ways contradictory
   11     to some of the documents the government showed. I'm not going
   12     to prevent you from doing that. That's the defense, and
   13     that's appropriate.
   14                But if you suggest the government somehow did this in
   15     a sly or deceiving way, I'll give you a curative instruction.
   16     You're on notice, don't do it that way. It's easy enough.
   17     It's just words. But if you do that, I'll give a curative
   18     instruction that you won't like.
   19                MR. HUESTON: Let me just make sure I understand. So
   20     I get that. I want to just make sure that I'm toeing the
   21     right line here.
   22                With the context here, Your Honor, this isn't just
   23     kind of throwing something out there. Mr. Ketchum has
   24     repeatedly stated in testimony, and it was powerful, he
   25     admitted that, yeah, I did change my testimony when I -- after
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     1    I saw certain e-mails.
     2               And so I can remove the word "government." But I
     3    think it's important at times to say, you know, this is new to
     4    you, right? This is a document you haven't seen before. We
     5    didn't see this on your direct. You don't remember ever
     6    seeing this, before I get to my next question. And I think
     7    that's fair because then he looks at it, and he goes, yeah,
     8    and then he answers it. And then --
     9               THE COURT: All except the part you didn't see it on
   10     direct. It's a new document. You haven't seen this before.
   11     Don't mention direct. Don't mention the government didn't see
   12     fit to show it to you. And I know that's a slight variation,
   13     but I think the government's objection on the score of them
   14     having to show him hundreds of documents to prevent that type
   15     of question which implies government deceptiveness or
   16     government misconduct is a good objection. But you can
   17     certainly say, I'm going to show you a document you haven't
   18     seen before, or have you seen this document before.
   19                MR. HUESTON: Right. Do you remember seeing this
   20     before? Have you seen this before?
   21                THE COURT: That's fine.
   22                MR. HUESTON: Fine.
   23                THE COURT: And, Mr. Hankey, that may not be as far
   24     as you want it to go, but that's as far as I'm going to let it
   25     go. And I think it at least removes the sting, I think the
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     1    unfair sting that the government is somehow hiding documents
     2    from the jury.
     3               MR. HANKEY: It does, Your Honor.
     4               THE COURT: All right.
     5               Okay. Anything else?
     6               MR. HANKEY: Yeah, just one other just brief issue.
     7               There was I think only one, but there was one defense
     8    demonstrative that had defense -- additional defense pieces to
     9    it on top of the demonstrative that we offered last week. It
   10     included our exhibit sticker on it.
   11                THE COURT: Right.
   12                MR. HANKEY: We would just ask that if the defense is
   13     going to do that that they remove our exhibit sticker from it.
   14                THE COURT: Sure. I'm sure they'll do that. This is
   15     the one of the chart that had the projected --
   16                MR. HUESTON: Sure. I mean --
   17                THE COURT: -- screens, and you can just put a
   18     different exhibit sticker on it.
   19                MR. HUESTON: We will. But it would go up first -- I
   20     think it was like a build. So we had to establish first you
   21     saw this, this was the government's thing, and then we showed
   22     what we built on top. Then I think we have to put a new
   23     sticker on it --
   24                THE COURT: Right.
   25                MR. HUESTON: -- to show this is something different,
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     1    and we will do that.
     2               THE COURT: Okay. Yeah. You're not prevented from
     3    using the government demonstrative. They used it so you can
     4    use it to make a point and compare it to a demonstrative you
     5    prepared which is what you're doing, and that's entirely
     6    appropriate.
     7               Anything else from the government?
     8               MR. HANKEY: No, Your Honor.
     9               THE COURT: Okay.
   10                Defendant Shah?
   11                MR. HUESTON: No, Your Honor.
   12                THE COURT: Defendant Agarwal?
   13                MR. BLEGEN: No.
   14                MS. BELL: No, Your Honor.
   15                MR. POULOS: No, Your Honor.
   16                THE COURT: Okay.
   17                Mr. Hueston, how much longer do you think you have?
   18     How many modules do you have and then how many --
   19                MR. HUESTON: You know, I will say, I've gone through
   20     most of my stuff. Of course most is 51 percent. We started
   21     at 10:30 today, Your Honor.
   22                THE COURT: I know.
   23                MR. HUESTON: I actually think I would have been
   24     pretty, you know, kind of rounding the bend there if we had
   25     started at 9:00. So I'm going to go back tonight and see what
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     1    else I can cut. But, you know, I'm always cautious, a couple
     2    of hours, three. You know, the Humira campaign is a big
     3    campaign. I've got to get through that. That's the biggest
     4    chunk.
     5               THE COURT: All right.
     6               MR. HUESTON: But, you know, that's about it.
     7               MR. HANKEY: Your Honor, it would be useful for us to
     8    know when, roughly speaking, understanding that there's a lot
     9    in flex, but roughly when we may be back on redirect. We'll
   10     of course disclose our redirect exhibits.
   11                THE COURT: Well, my next question was Mr. Blegen,
   12     you're doing the cross.
   13                MR. BLEGEN: Yes.
   14                THE COURT: You've been piping up on objections so I
   15     assume you're doing the cross.
   16                MR. BLEGEN: Yes.
   17                THE COURT: How long do you think you'll be?
   18                MR. BLEGEN: Multiple hours.
   19                THE COURT: Okay.
   20                MR. BLEGEN: I'm notoriously bad at gauging how long
   21     I will be, but it's usually longer than I think.
   22                THE COURT: Okay.
   23                MR. BLEGEN: So multiple hours.
   24                THE COURT: Keeping in mind -- and, of course, you're
   25     not going to repeat anything prior counsel did unless it's
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     1    unintentional.
     2               MR. BLEGEN: I'm not intending to repeat anything
     3    prior counsel did, but I still have to wait and see what's
     4    coming.
     5               THE COURT: Sure.
     6               And, Mr. Poulos, are you doing the cross?
     7               MR. POULOS: Mr. Pruitt is.
     8               THE COURT: Mr. Pruitt.
     9               MR. PRUITT: I am, Your Honor. Thankfully
   10     dramatically shorter I think for us.
   11                THE COURT: Okay.
   12                MR. PRUITT: Maybe 30, 35 minutes, I think.
   13                THE COURT: Great. Well, you may get to redirect
   14     tomorrow, so you know. And if it carries over into the night
   15     then you'll finish your redirect Wednesday morning.
   16                MR. HUESTON: Yeah. And we're happy -- I'm always
   17     happy to provide a good faith update at any time, and I think,
   18     you know, Mr. Hankey was kind enough to do that himself.
   19                THE COURT: Sure.
   20                MR. HUESTON: And we'll continue to do that.
   21                THE COURT: Okay. And my rule is, this is not
   22     unusual, but I'm going to try and strict -- try and keep to
   23     the rule, I'm not sure I did with the first witness, but keep
   24     to the rule that redirect cover matters on cross, not raise
   25     new matters, and recross and then the continuous drip of
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     1    re-redirect and re-recross be limited to the questions and
     2    answers that preceded it. And I think in an effort to move
     3    the case along and follow the rules, I may be -- you should
     4    know that will likely be an objection that will be sustained
     5    if it's something I hadn't heard of that's new that doesn't
     6    really have any relation to the earlier cross or direct.
     7               Secondly, too, you should know on redirect, and I
     8    think you know this, redirect doesn't mean you can lead. It's
     9    still direct examination. But you can lead to get to a topic
   10     with substantive testimony. The rules relating to an adverse
   11     witness don't come off the table on redirect because it's
   12     still direct examination essentially.
   13                MR. HANKEY: Yes.
   14                THE COURT: And I think you followed that on the last
   15     witness, but that should be followed throughout the trial.
   16                MR. HANKEY: Yes.
   17                THE COURT: Okay. Anything else?
   18                See you all tomorrow morning. I have a criminal
   19     matter at 8:45. Absent a need to address exhibits coming up
   20     tomorrow, why don't you come here at 8:45, be a little quiet
   21     when you come in because I'll have a matter on the phone. But
   22     if problems arise overnight, watch the e-mails. We may ask
   23     you to come in at 8:30. Otherwise, 8:45.
   24                Thank you.
   25                MR. HUESTON: Thank you.
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     1               MR. HANKEY: Thank you, Your Honor.
     2          (Trial adjourned until 8:45 a.m., 2/7/23.)
     3
     4                                    CERTIFICATE
     5          I certify that the foregoing is a correct transcript from
     6    the record of proceedings in the above-entitled matter.
     7    /s/ Elia E. Carrión                 7th day of February, 2023
                                                           ______
     8    Elia E. Carrión                             Date
          Official Court Reporter
     9
   10     /s/ Joseph Rickhoff                 7th day of February, 2023
                                                           ______
   11     Joseph Rickhoff                             Date
   12
          /s/ Kathleen M. Fennell             7th day of February, 2023
   13                                                      ______
          Kathleen M. Fennell                         Date
   14
   15     /s/ Kelly M. Fitzgerald             7th day of February, 2023
                                                           ______
   16     Kelly M. Fitzgerald                         Date
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